NORTH CAROLINA                                          IN THE GENERAL COURT OF JUSTICE
                                                             SUPERIOR COURT DIVISION
DURHAM COUNTY                                                   20CVS - - - - -

JOHN DOE,                              )
                        Plaintiff,     )
                                       )
       vs.                             )                COMPLAINT
                                       )
DUKE UNIVERSITY                        )
                                       )
                       Defendant.      )


       COMES NOW the Plaintiff, and for his complaint against the Defendant Duke University

alleges as follows:

                                           THE PARTIES

        1.      This suit arises as a result of false allegations that Plaintiff, a male student at Duke

University, sexually assaulted a female Duke University student (hereafter referred to as

"Complainant"). Plaintiff files this suit under the pseudonym "John Doe" to protect the privacy

of both the Plaintiff and the Complainant. He is known to the Defendant and is

referenced/identified in many of the exhibits attached hereto although his name and the name of

the Complainant have been redacted.

       2.       Plaintiff is a citizen and resident of Durham County, North Carolina. At all times

relevant to this action, Plaintiff was a student at Duke University in Durham County, North

Carolina.

       3.       Defendant Duke University (hereafter "Duke") is a nonprofit corporation formed

under the laws of North Carolina, with its primary place of business in Durham County, North

Carolina.




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       4.      This suit challenges the propriety of an action by Duke to suspend Plaintiff for

allegedly violating its Sexual Misconduct Policy. Said policy which was in effect at all times

alleged herein is attached hereto as Exhibit A.

                                      JURISDICTION AND VENUE

       5.      The Superior Court of Durham County has subject matter jurisdiction over this

action because it arises under the common law of North Carolina, and the amount in controversy

exceeds $25,000, exclusive of interest and costs.

       6.      Venue is proper because all parties are residents of Durham County and all of the

events giving rise to these claims occurred in Durham County.


                                       FACTUAL ALLEGATIONS

       7.      At all times herein alleged, Plaintiff was enrolled as a student at Duke, pursuant to

an educational contract ("contract") between Plaintiff and Duke.

       8.      Plaintiff matriculated to Duke in 2017.

       9.      Plaintiff attended Duke on a partial scholarship. While part of the costs of

Plaintiff's attendance was covered by the scholarship, his family paid more $220,218 dollarsto

cover the remaining costs.

        10.    Plaintiff is an accomplished student and has maintained a GPA of3.97.

        11.    While at Duke, Plaintiff also worked as TA in 4 classes

        12.    Plaintiff was in the final steps of becoming a Rhodes Scholar nominee from Duke

University.

        13.    That nomination was suddenly withdrawn after the hearing panel's finding of

responsibility but before the completion of an appeal despite the fact that the student conduct

process at that stage was confidential and not yet final.




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        14.        Except for the allegation noted below, Plaintiff has maintained a clean

disciplinary record while enrolled at Duke.

                                                January 19, 2018

        15.        During the early morning hours of January 19, 2018, Complainant and Plaintiff

engaged in sexual contact and activities.

        16.        At the time, Plaintiff was a first-year student at Duke and the Complainant was a

first-year student.

        17.        Plaintiff and Complainant agree, and there is no dispute that, the following facts

about the encounter between them are true:

              a. The two met a few days prior to the night in question. They met up again at a
                 "pre-game" party on the night of January 18, 2018.

              b. After the "pre-game", Plaintiff and the Complainant went together to Devine's - a
                 local bar. While at Devine's, the two were separated.

              c. Plaintiff left Devine's without the Complainant and returned to his room to go to
                 sleep.

              d. At 12:25 a.m., on January 19, 2018, the Complainant texted the Plaintiff
                 indicating that she was upset that they had been separated at Devine's because she
                 had wanted to hook up with Plaintiff.

              e. The Plaintiff said he was still at Devine's and asked where the Complainant was.
                 She replied that she had left, and she was mad at the Plaintiff because she wanted
                 to hook up with him.

              f.   Plaintiff told the Complainant by text he had returned to his dorm and invited her
                   to join him there.

              h. When Complainant arrived at Plaintiff's room, the two voluntarily engaged in the
                 following consensual, sexual acts: oral sex, vaginal intercourse, and anal
                 penetration of the Complainant.

              1.   Complainant then requested anal intercourse.




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        18.    Plaintiff and Complainant disagree about the exact wording of Complainant's

suggestion to have anal intercourse and that disagreement between them formed the heart of a

Duke Sexual Misconduct case wherein Plaintiff was the respondent. The Complainant asserts

that she said she suggested having anal-penile intercourse and requested that the Plaintiff use

manufactured lubricant. Plaintiff asserts that she requested anal-penile intercourse , but that

there was no discussion of lubricant .


                       Procedural History of Student Disciplinary Proceedings

       19.     While the aforementioned incident happened on January 19, 2018 the disciplinary

process at Duke University was not instituted until over a year later, on February 10, 2018

       20.     On February 10, 2018, Plaintiff received notice from Victoria Krebs asking him to

come in a meet with her. A meeting was scheduled for the following day, February 11, 2018.

       21.     Victoria Krebs is Associate Dean of Students, Title IX Outreach and Response

Coordinator, and at all times alleged herein was an agent of Duke.

       22.     According to the Duke University Sexual Misconduct Policy, the purpose of this

meeting "is to inform the respondent of the University's disciplinary process and possible

outcomes."

       23.     Instead of simply providing information, Dean Krebs began asking the Plaintiff

many questions about the incident that occurred a year earlier. She took extensive notes

throughout that conversation.

       24.     At that time the investigation did not go forward because the Complainant

decided to not participate in the student disciplinary process.

       25.     In May, 2020, over two years after the incident between the Plaintiff and

Complainant, the Complainant decided to reinitiate her complaint from two years earlier. As a




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result of the complaint, Duke assigned two trained investigators to conduct interviews of all the

witnesses the school deemed relevant.

        26.      After all the witnesses deemed relevant were interviewed, an investigative report

was issued by Duke.

        27.      Included in the report was a small section of Dean Krebs' notes from her meeting

with the Plaintiff in February 2018 even though she was never interviewed by the Duke

investigators.

       28.       After receiving the report, Plaintiff asked for and was granted a meeting with

Dean Jenna McCullers, a co-worker of Dean Krebs, to talk about the report and the upcoming

disciplinary hearing.

       29.       At all times alleged herein Jenna McCullers was an agent of Duke.

       30.       That meeting took place on July 31, 2020.

       31.       At that meeting Plaintiff raised his concerns about Dean Krebs' inclusion in his

case. Plaintiff asked Dean McCullers whether Dean Krebs would testify as a witness and he

specifically requested a copy of her complete notes as the investigative report only contained a

very small snippet of the notes. Dean McCullers told Plaintiff that it was unclear whether Dean

Krebs would testify and that Plaintiffs request for Krebs' notes would be considered.

       32.       The disciplinary hearing took place on August 6, 2020. Krebs' notes were never

provided to Plaintiff or his counsel.

       33.       The critical issue to be decided by the disciplinary hearing panel under the

Student Sexual Misconduct policies which is relevant for this suit was: What kind of lubricant

was consented to during the anal sex proposed by the Complainant? See Exhibit B Hearing

Report, p2.




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        34.     In deciding this issue, the hearing panel was required to make a credibility

determination between the Plaintiff and the Complainant. Both parties agreed that the

Complainant suggested having anal sex. However, the Complainant claimed that she asked the

Respondent to use manufactured lubrication and the Plaintiff agreed that she requested anal sex

but didn't say anything about lubricant. At its base, the question was whether the Complainant

told Plaintiff what kind oflubricant to use during anal sex.

        35.     Central to this decision by the hearing panel was the snippet of notes provided by

Victoria Krebs within the investigative report as well her oral testimony before the hearing panel.

The snippet that was set forth within the investigative report quoted Plaintiff as saying to Krebs:

"she said she wanted to have anal sex, so he looked for lube. He had none so he tried with spit.

She said ow and he stopped immediately, and they went back to having vaginal sex." See

Exhibit C. Investigative Report, pp. 36-37.

        36.     A great deal of the questions asked by the panel dealt with this moment in time

and this search for lubricant, and in the findings by the hearing panel, it said that it based its

credibility determination on this moment in time.

        37.     The quoted snippet was contained within a two-page document. The remainder of

the document was entirely redacted and never provided to Plaintiff.

        38.     The Plaintiff was found responsible and given a sanction of a three-semester

suspension along with some required meetings and classes on the concept of affirmative consent.

        39.     Plaintiff appealed the finding of the hearing panel that he violated the Student

Sexual Misconduct Policy on the grounds of procedural error. In that appeal he raised concerns

about Dean Krebs' role in this process, his inability to question her because he did not receive

her notes, as well as other procedural errors.




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        40.    On September 30, 2020, the Plaintiff appeared before the Appeal Board to

amplify the grounds for his appeal. During that meeting, Dean Krebs and Dean Jenna McCullers

were both called to testify to the board.

       41.     Dean McCullers testified that the Plaintiff would have been entitled to Dean

Krebs' notes. However, she stated first that she did not remember meeting with the Plaintiff prior

to the hearing. Then, when she was presented with evidence of her zoom meeting request prior to

the original hearing, she testified that she did not remember what was discussed in that meeting

and did not remember the Plaintiff requesting Dean Krebs' notes.

       42.     Plaintiff then offered to submit affidavits from Joe Cheshire and Catherine

Brown. his two attorneys who were part of that meeting. verifying that they asked for the notes

prior to the hearing. The Appeal Board denied his request to submit those affidavits.

       43.     On October 7, 2020, the appeal was denied by Duke. See Exhibit D

       44.     In the Appellate Panel Decision letter dated October 7, 2020, the Appeal Board

claimed that Dean McCullers denied that the notes had been requested, which was not an

accurate statement. She did not remember the meeting occurring at all and had to be reminded

with a Zoom invite. The Panel also said that Plaintiff had no evidence he had requested the notes.

The Appeal Board failed to mention that it would not allow Plaintiff to present the evidence

corroborating his testimony that the notes had been requested.

       45.     Plaintiff has exhausted his appeals through the Student Sexual Misconduct Policy.


          FIRST CAUSE OF ACTION: FAILURE TO PROVIDE PLAINTIFF WITH
            COMMON LAW FUNDAMENTAL FAIRNESS AND DUE PROCESS


       46.     Plaintiff incorporates all the preceding allegations by reference here.




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   Duke Violated Plaintiff's Due Process Rights by Failing to Allow Him to Review a Key
                     Witness's Notes Prior to or During the Hearing


        47.     As previously noted, prior to the hearing in this matter, Plaintiff was informed

that Dean Krebs might testify. Her testimony would relate to statements made by Plaintiff to

Krebs during their meeting and the snippet of notes included in the investigative report. The

Plaintiff asked for and was subsequently denied the right to review or copy the rest of those notes

which were taken contemporaneously more than a year before.

       48.     Dean Krebs testified before the hearing panel from these notes at the hearing but

refused to share those notes with the Plaintiff.

       49.     Further, unlike any statements during the properly laid out investigative process

mandated by the Duke Sexual Misconduct policy, Plaintiff was not given a chance to review the

notes prior to them being included in the report in redacted form.

       50.     During the regular investigative process conducted by trained investigators, the

complainant and the respondent are given the opportunity to review what the investigator has

documented and if there are errors, they may respond to the errors. If they believe they have been

misquoted or misunderstood they are given the ability to comment on it. Here, the Plaintiff was

not given that right because he was never shown Dean Krebs' notes.

       51.     The Duke Sexual Misconduct Policy gives a respondent the right to pose

questions to witnesses. Those questions are vetted by the hearing panel chair before being asked.

Here, the Plaintiff could not propose questions based on the witness's contemporaneous notes

because he was only given a snippet of those notes despite his request before the hearing.

       52.     The timing of these notes also adds to the fundamental unfairness of withholding

them during a hearing. The incident in this case happened in January 2018. When the Plaintiff




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was interviewed by Duke investigators in May 2020 about the minute details of the encounter

with the Complainant, he often said he did not remember because it had been more than two

years since the event.

        53.      Dean Krebs' informational meeting with the Plaintiff which turned into an

investigative interview occurred more than a year before - in February 2019 - closer in time to

when the events occurred. To deny the respondent the right to his own statements which were

closer in time to the event was fundamentally unfair.

        54.      Included in the investigative report was an exchange between the investigator

Ericka Lewis and the Plaintiff. In that exchanged the investigator claims that Victoria Krebs'

notes say the Plaintiff said that "he was not as nice as he should have been" after the sexual

encounter ended. The notes provided in the report do not include this statement by the Plaintiff.

This means that the investigators had access to more information in the notes than was shown to

the Plaintiff.

        55.      The Office of Student Conduct, often Dean Krebs or one of her coworkers, is the

entity that decides what information is redacted from an investigative report. It is also the entity

that directs the actions of the investigators.

        56.      The end result of this direction and withholding was that Dean Krebs, a witness,

controlled what information she provided to the Plaintiff and what information was included in

the investigative report that went to the hearing panel.

        57.      This was fundamentally unfair and denied the Plaintiff the measure of Due

Process he is entitled to under the Duke Student Sexual Misconduct Policy.


 Duke Violated the Plaintiff's Due Process Rights by Not Recusing Dean Krebs and her Co
  Worker's at the Office of Student Conduct from the Decision-Making Process Once She
                               Became an Important Witness




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        58.    Victoria Krebs and the Office of Student Conduct are tasked with making

relevance determinations and directing the actions of the investigators assigned to investigate

sexual misconduct cases.

        59.    Here, because Dean Krebs was an important witness, she had an interest in what

information was provided to Plaintiff because she knew she would be subject to cross

examination and said notes would be scrutinized by the hearing panel. Krebs arbitrarily and

capriciously chose which section of her notes to provide to investigators. Krebs knew that if the

remainder of her notes were not provided to Plaintiff, then her testimony could not be challenged

or called into question through cross examination.

       60.      It is arbitrary and capricious, fundamentally unfair and a violation of Due Process

for a witness to act as both the gatekeeper of information provided to the investigators (and

hearing panel) and to serve as a factual witness. This allows a witness to insulate herself from

any type of challenging cross examination by denying a respondent basic evidence to which he

was entitled even under Duke's own Sexual Misconduct Policy.

       61.     Had Victoria Krebs acted in accordance with the role laid out for her under the

Duke Sexual Misconduct policy during the initial meeting with the Plaintiff and merely provided

information about his rights during the process she would have been able to make fair

evidentiary gatekeeping decisions. However, she chose to conduct her own investigation. In

doing so she created a conflict which adversely affected the integrity of the hearing process,

thereby denying Plaintiff his right to Due Process.

       62.     The decision on what information was included in the investigative report and

what information was provided to Plaintiff should have been made by a conflict-free individual

with no stake in the outcome of that decision. Accordingly, once Dean Krebs decided to




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interrogate Plaintiff, neither Dean Krebs nor one of her co-workers should have been a part of

the decision of what information would be provided to the investigators.

        63.     A university and its agents are under a common law obligation to not expel or

impose severe discipline without providing fundamental fairness and Due Process.

        64.     Duke failed to adhere to principles of fundamental fairness in its dealings with its

student, Plaintiff.

        65.     Duke did not follow its own internal rules and procedures with respect to the

disciplinary proceedings against Plaintiff.

        66.     Duke did not provide a fair disciplinary process.

        67.     Duke, through the actions of the Office of Student Conduct and Dean Krebs

allowed an interested witness to control if there was a hearing, what information would be

provided during the hearing, and what information was provided to Plaintiff for evaluation and

cross examination.

        68.     The actions of Duke amounted to a denial of Due Process and violated

Defendant's obligation to treat Plaintiff fairly.

      ,, 69.    Plaintiff suffered substantial harm as a direct and proximate result of the

Defendants' actions, including but not limited to, being found guilty of sexual misconduct, being

suspended from school for three semesters, loss of his nomination as Rhodes scholar, and loss of

job opportunities. Plaintiff has been damaged in an amount in excess of $25,000 and is entitled to

recover in excess of $25,000 from Duke for the fundamental unfairness of its Student Sexual

Misconduct hearing process and the denial of Plaintiff's rights to Due Process.

                       SECOND CAUSE OF ACTION: BREACH OF CONTRACT

        70.     Plaintiff incorporates all of the proceeding allegations by reference here.




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        71.     Upon Plaintiffs enrollment, Plaintiff and Duke mutually entered into a

contractual relationship ("the Contract"). The specific, certain, and identifiable terms of the

Contract are set forth in The Duke Community Standard and Undergraduate Policies (see Exhibit

E ), including the specific promised disciplinary procedures, procedural safeguards, appellate

process, and substantive rights of the student, if accused of a violation of the Duke University

conduct requirements. Likewise, the Contract sets forth the rights of Defendant Duke University

with regard to addressing misconduct. The Contract is a binding contract with respect to Duke's

authority to regulate, discipline, punish, sanction, suspend, or expel Plaintiff from Duke, among

other limitations and obligations.

       72.     The Plaintiff and Duke mutually intended to be bound by these terms.

       73.     The Contract requires Duke to act fairly. It states that the purpose of the

undergraduate disciplinary process is to "promote honesty, fairness and respect," and to "provide

a fair and effective mechanism for resolving cases." Moreover, it guarantees an accused student

the right to a fair and impartial hearing in accordance with written policies and procedures.

       74.     The Contract also includes implied terms of good faith and fair dealing.

       75.     Duke's actions as described above violated both the express and implied terms of

the Contract. Dean Krebs and the Office of Student Conduct failed to act in good faith, treat the

plaintiff fairly, and through self-dealing denied him the Contract's guarantee of a fair hearing.

       76.     Duke's actions, as described above, violated the express terms of the Contract,

particularly regarding a student's rights to propose relevant questions during a hearing.

       77.     Here the decision of the hearing panel turned on testimony by Dean Krebs. She

testified from contemporaneous notes she took during an "initial meeting" with Plaintiff.




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        78.    The Duke Sexual Misconduct policy states that during the "initial meeting",

Student Conduct, in this case Dean Krebs, "will inform the respondent of the University's

disciplinary process and possible outcomes." See Duke Sexual Misconduct Policy Exhibit A).

        79.    Dean Krebs instead used that "initial meeting" as an investigative interview where

she sought information from Plaintiff about the incident and then later that night wrote down

what she believes he said in the form of two pages of notes.

        80.    This is not the role laid out for the Title IX Coordinator in the Sexual Misconduct

Policy. In the policy the Title IX Coordinator exists as neutral gatekeeper who provides

information to both parties, determines if complaints meet the evidentiary threshold to proceed to

a hearing, and makes decisions on what evidence is relevant to include in the investigative packet

submitted to a hearing panel.

       81.     Unlike the actual investigators tasked by Duke with looking into the allegations of

sexual misconduct, Dean Krebs did not reduce her impromptu investigation to writing and share

that information with client prior to the hearing giving him a chance to object to any errors.

Instead Dean Krebs unilaterally and arbitrarily refused to disclose her notes to Plaintiff.

       82.     Only two sentences of those notes were provided to Plaintiff. Those two sentences

appear to have formed the basis for the hearing panel's finding of responsibility of a violation of

the Student Sexual Misconduct policy by Plaintiff.

       83.     Without a chance to review the notes prior to Dean Krebs' testimony, Plaintiff

was denied the ability to use the rest of the document to question Dean Krebs about the totality

of her investigation or to refresh his recollection about two-year-old allegations.

        84.    The entity of Duke that denied Plaintiff that information prior to the hearing was

the Office of Student Conduct acting through Duke agents, Dean Krebs or her co-workers.




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        85.        When Dean Krebs stepped outside the role specified in the Contract and became

an investigator and subsequently a witness in this matter, she relinquished her role as a neutral

arbiter and became interested in the outcome.

        86.    Not only was Krebs a witness but she was also part of the body tasked with

deciding what information was included in the hearing packet that the panel read prior to the

proceeding.

        87.    Krebs was the person who presented what the panel considered to be material

evidence of Plaintiff's guilt; however, she was also either the person or part the organization

tasked with deciding if the Complainant met the evidentiary threshold to proceed to a hearing.

       88.     The Sexual Misconduct Policy indicates that the complainant and respondent will

be treated fairly. This implies that the body which controls every aspect of the process will not

favor one side over the other or engage in self-dealing for some other reason.

       89.     The very fact that Dean Krebs stepped outside of her role and became an

investigator indicates a lack of impartiality from the beginning of the process.

       90.     Further, Krebs acted as both a witness and an investigator. Every other witness in

this process was interviewed by the trained investigators. Krebs was not interviewed. She merely

inserted a self-selected portion of her notes into the report and refused to disclose the remainder

which Plaintiff believes, and therefore alleges, were exculpatory.

       91.     Once Krebs took the aforementioned actions it was no longer possible for her to

act impartially.

       92.     Because of Dean Krebs' extra-contractual actions, Plaintiff was denied a neutral

decision maker.




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        93.     Krebs was the person who sponsored the evidence. It follows that she would

believe that her evidence was relevant and should be included.

        94.     Plaintiff was entitled to a fair decision by the Office of Student Conduct after the

investigation was completed on whether, given the information gathered, there should even be a

hearing. However, the person who made that decision, Dean Krebs or one of her co-workers,

could not have been neutral because the evidence came from their office.

        95.    Plaintiff was entitled to a fair decision on what information was provided to him

and included in the packet. Again, he did not receive one because the person deciding what

portion of a witness's testimony was relevant was the witness herself - Dean Krebs.

        96.    In addition, the Duke University Sexual misconduct policy grants students the

right to an appeal in sexual misconduct cases.

       97.     Encompassed in this right is the understanding that he appeal will be judged on its

own merits by the assigned appeal committee. That the decision on an appeal will not be made

prior to the actually appeal hearing.

       98.     The Plaintiff was on track to be a Rhodes Scholar nominee from Duke University.

This nomination requires that the University President certify the candidate. The Plaintiff was in

the final stages of that process. The process began and continued well after the accusation of

sexual misconduct was leveled against the Plaintiff. There was no reason it should not continue

until the full process had completed.

        99.    The next mandated step in the hearing process was the Plaintiff's appeal which

was scheduled for September 30, 2020. However, on September 24, 2020 the Plaintiff was called

into a meeting with the Duke committee in charged on the Rhodes nominations and infomed that

the President of Duke University was refusing to put forward his nomination.




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        100.   As the nomination process had begun and continued during the time that the

misconduct complaint was pending it appears that the President of Duke University and the

Rhodes committee took action at the time they did because the considered the process to be

complete and the result final as of September 24, 2020. At that time the Plaintiff had not yet

received his appeal.

       101.    The Universities actions show that the appeals process in this case was a pre

judged forgone conclusion. The head of the University apparently had confidence before the

appeal was heard that it would be denied. This simply not the process that is mandated in the

Duke community standard.

       102.    As a direct result of the breach of contract by Duke, through its agents, Plaintiff

has been damaged in an amount in excess of$25,000 and is entitled to recover in excess of

$25,000 from Duke for this breach.


                             THIRD CAUSE OF ACTION: NEGLIGENCE

       103.    Plaintiff incorporates all of the preceding allegations by reference here.

       104.    Defendant has engaged in an active course of conduct that created a risk of

foreseeable harm to Plaintiff and, as such, Defendant was required to act reasonably.

       105.    Duke owed a duty of care to Plaintiff in the handling of the allegations against

him and the resulting disciplinary process.

       106.    A special relationship exists between a student and a university where the

university has required the student to submit to an investigation and administrative judicial

process, in this case a quasi-criminal process, for allegations serious enough to have suspension

or expulsion as a consequence.




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        I 07.   In their interactions with Plaintiff, specifically in conducting their investigation

and adjudication of Plaintiffs disciplinary proceedings, Defendant owed Plaintiff a duty to

exercise reasonable care, with regard for the truth, established procedures, fair notice of the

scope of any charged offenses, notice of the procedures used in determining his guilt, and the

important and irreversible consequences of their actions, as well as the Plaintiffs various rights

and interests in general.

        I 08.   Through their acts set forth above, Defendant, on its own and acting through

agents, breached said duty by carelessly, improperly, and negligently performing assigned duties,

recklessly disregarding exculpatory evidence, and violating its own written procedures.

        I 09.   Duke had a duty to hire, retain, supervise, and train administrators who adhere to

the policies of Duke and ensure the fairness of any disciplinary process, particularly one leading

to a default consequence of suspension or expulsion.

       110.     At all relevant times set forth Duke, acting through and by its agents, had a

continuing duty to reasonably, carefully, and continuously secure the services of qualified and

well-trained agents, employees, and/or independent contractors, so as to reasonably assure that

they were well-trained in reasonable methods of investigation, including the need for timely

collection of impartial evidence, the thorough and complete investigation of all relevant

allegations, the interviewing of all relevant witnesses and the need for disciplinary hearings to

provide all the rights to accused students as guaranteed in The Duke Community Standard.

        111.    Duke breached its duty to Plaintiff by hiring, retaining, supervising, and training

administrators whom Duke knew or should have known violated Duke's policies and handled

disciplinary processes unfairly and in violation of accused student's rights.




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        112.   Dean Krebs, as an agent of Duke, owed a duty to Plaintiff to conduct the hearing

in a reasonable manner and in compliance with Duke polices. She breached her duties, and the

breach caused Plaintiff substantial harm. Dean Krebs was negligent in her duties by talcing it on

herself to become an investigator and subsequently a witness in this case. She again breached her

duties when, after becoming an interested witness in this case, by not recusing herself from any

further decisions such as if the evidence warranted a hearing, when that hearing would be, and

what evidence would be provided to Plaintiff before that hearing.

       113.    The Office of Student Conduct and its employees, had a duty to independently

and fairly review both the investigation and any requests by the parties prior to or during the

hearing. Upon information and belief, the Office of Student Conduct and its employees breached

this duty, by failing to recuse itself when a co-worker, Dean Krebs became an interested party to

the hearing. This breach caused Plaintiff substantial harm, and Duke is liable for the negligence

of its Office of Student Conduct.

       114.    Defendant Duke University is vicariously liable for the negligence of its

employees and agents, including but not limited to, the negligence of Dean Krebs, and the

employees in the Office of Student Conduct.

       115.    As a direct and proximate result of the negligence of Defendant, Plaintiff suffered

substantial harm and damages as stated previously and has incurred damages in an amount in

excess of$25,000 and is entitled to recover in excess of$25,000 from Duke for its negligence.



                     PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF

       116.    Plaintiff incorporates all the preceding allegations by reference here.

       117.    Plaintiff, pursuant to N.C. Gen. Stat§ l-A-1, Rule 65, and N.C. Gen. Stat.§ 1-

485, seeks temporary, preliminary, and permanent injunctive relief enjoining Duke from




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suspending or involuntarily withdrawing Plaintiff from Duke, negatively altering Plaintiff's

status as a student enrolled at Duke.

        118.     Duke's conduct deprives or will deprive Plaintiff of his clearly established rights

and will tend to render any judgment in the litigation ineffectual.

        119.     Plaintiff will suffer irreparable harm if Duke is not preliminarily enjoined from

denying Plaintiff rights during the pendency of the lawsuit.

        120.     Plaintiff will suffer irreparable harm if Duke is not preliminarily and permanently

enjoined from suspending him and involuntarily withdrawing him from Duke, negatively altering

Plaintiffs status as an enrolled student.

        121.     In support of this injunctive relief sought, Plaintiff has filed this verified

Complaint and relies on the allegations herein as well as the documents attached hereto as

Exhibits.




       WHEREFORE, Plaintiff prays the Court as follows:

        I.       For an Order preliminarily and permanently enjoining Defendant Duke University

and anyone acting on its behalf from involuntarily withdrawing Plaintiff from Duke University,

de-enrolling him from classes, terminating his on-campus housing, and any other act or omission

authorized by the purported involuntary withdrawals, suspension, or other negative alteration of

the Plaintiffs status as a student enrolled at Duke University.

       2.        For damages in excess of $25,000.00;

       3.        For costs, interest, and attorney fees;

       4.        Fortrialbyjury;and

        5.       For such other relief as the Court deems just and proper.




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This the   7 day of Dm/:Jev   , 2020.




                               By:
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NORTH CAROLINA                              IN THE GENERAL COURT OF JUSTICE
                                                 SUPERIOR COURT DIVISION
DURHAM COUNTY                                       20 CVS - - - -

JOHN DOE,                        )
                    Plaintiff,   )
                                 )
     vs.                         )
                                 )
DUKE UNIVERSITY                  )
                                 )
                    Defendant.   )



                           VERIFICATION FILED UNDER SEAL




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                      ExhibitA




Case 1:20-cv-00996 Document 1-2 Filed 11/02/20 Page 22 of 173
       STUDENT SEXUAL
       MISCONDUCT POLICY
       AND PROCEDURES:
       DUKE'S COMMITMENT
       TO TITLE IX


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        I. INTRODUCTION
        Duke University is committed to encouraging and sustaining a learning and living community that is free from harassment.
        violence, and prohibited discrimination. In that regard and consistent with federal law (e.g., Title IX of the Ed ucation
        Amendments of 1972 and the Violence Against Women Act), Duke has developed this comprehensive Student Sexual
        Misconduct Policy, applicable to all students (undergraduate, graduate. and professional. or any student enrolled in any Duke
        program). Further, Duke conducts extensive education and awareness programs with the goal of preventing and discouraging
        sexual/gender violence and other forms of sexual misconduct.
        As discussed more fully below, this Student Sexual Misconduct Policy prohibits all forms of sex/gender-based harassment,
        sexual/gender violence, sexual exploitation, relationship violence (domestic violence and dating violence), and stalking.
        Collectively, these terms are referred to in this policy as "Sexua l Misconduct." They are defined below under "Prohibited
        Conduct." (Note that non-sex/gender-based harassment is also a violation of university policy, as described under the
        university's Harassment Policy, available at bit.ly/dukeharassment.)
        The Student Sexual Misconduct Policy serves three principal purposes. First. it establishes conduct standards-namely,
        prohibited sexual misconduct-for all Duke students. Note that a violation of this policy may also constitute a crime, which can
        be independently reported to Duke Police, Durham Police, or other appropriate law enforcement agency.
        Second, the Student Sexual Misconduct Policy outlines reporting, investigation, and complaint resolution procedures in cases
        w here it is alleged that a Duke student has engaged in sexual misconduct. This policy refers to the individual w ho is the alleged
        victim of the behavior(s) in question as the "complainant" and the student alleged to have committed the violation of the policy
        as the "respondent." Both the complainant and the respondent will be treated fairly and with respect throughout the process.
        Respondents are entitled to a presumption that there is not a violation of this policy throughout the disciplinary process unless
        and until they are found responsible for a violation of this policy.
        In the paragraphs that follow, the Student Sexual Misconduct Policy specifies to whom violations of this policy should be
        reported, the availability of confidential reporting, administrative actions available to the complainant and the respondent, how
        the university will investigate and resolve alleged violations, possible sanctions, and appeals.
        The Office of Student Conduct is primarily responsible for implementing these procedures: the Office for Institutional Equity
        assists by investigating reports that the Office of Student Conduct refers to it. Anyone with concerns about a possible violation
        of the Student Sexual Misconduct Policy by a student is encouraged to contact the Office of Student Conduct at 919-684-6938,
        conduct@duke.edu, or via studentaffairs.duke.edu/conduct/report-incident.
        Third, the Student Sexual Misconduct Policy describes resources available on campus and in the community to assist
        students in dealing w ith the impact of sexual misconduct, w hether it happened recently or in the past. Such services include,
        for example, the Office of Gender Violence Prevention and Intervention (GVPI) in the Women's Center, Counseling and
        Psychological Services (CAPS), DukeReach, Duke Police (for possible criminal conduct), and administrative actions arranged or
        issued by the Office of Student Conduct. the Office for Institutional Equity, GVPI, and/or the Vice President for Student Affairs (or
        designee). In addition, resources are available to respondents during and, in some cases, after the complaint process.
        Dr. Benjamin D. Reese (919-684-8222, ben.reese@duke.edu), Vice President of the Office for Institutional Equity (oie.duke.
        edu), is the individual responsible for the coordination and administration of Duke's nondiscrimination and harassment policies
        generally. Howard Kallem (919-684-1437, howard.kallem@duke.edu), also in the Office for Institutional Equity, is the Director
        ofTitle IX Compliance (Title IX Coordinator). In this role, Mr. Kallem is responsible for overseeing the university's Title IX
        compliance, including this policy and its complaint-resolution procedures: as such, Mr. Kallem receives comments/concerns
        from students about this policy's implementation. The Office for Institutional Equity is located in Smith Warehouse, 114 S.
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C       Buchanan Blvd., Bay 8, Durham , North Carolina, 27708.
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        CONFIDENTIALITY
~       A student may discuss an alleged violation of this policy without the information being reported to the Office of Student Con-
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        duct w ith those who serve in a professional ro le in which communication is privileged under North Carolina law and to those
:::i
a..     w hom the university has designated as a confidential resource consistent w ith Title IX. Those persons include:
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""CJ        •    Student Health staff
g,
Q                Counseling & Psychological Services (CAPS) staff
OJ
:::i        •    Women's Center staff
a..
""CJ
                 Clergy who are acting as such in their professional role at Duke
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a..              Ombudsperson
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Students should be aware that. with the exception of these confidential resources, all employees w ho become aware of
conduct that might fa ll under this policy are expected to notify the Office of Student Conduct w ith the names of the parties
involved and the details of the report. Students who serve in an ongoing peer-advising role (such as Resident Assistants) are
also expected to file such reports with the Office of Student Conduct.




INFORMATION FOR COMPLAINANTS
Complainants w ill be treated w ith respect before, during , and after the disciplinary process. During an initial meeting, the Office
of Student Conduct wi ll inform the complainant of the university's disciplinary process and possible outcomes. The Office of
Student Conduct w ill communicate substantive and, when warranted, procedural developments regarding an investigation.
Th e alleged conduct may also be criminal in nature, and complainants have th e right to report- or not to report-the conduct
to Duke Police, Durham Police, or other appropriate law enforcement agency. A criminal report does not preclude university
d isciplinary action.
Complainants are strongly encouraged to seek counseling and support available through resources such as Gender Violence
Prevention and Intervention (GVPI) in the Women's Center, Counseling and Psychological Services (CAPS), and Durham
Crisis Response Center (DCRC). For more information on these resources , please see "Support Services and Options for
Complainants" on page 48.
Regardless of whether a complainant pursues a criminal complaint and/or th e university's complaint process through this
policy, the university may investigate the incident(s) in question and will take appropriate responsive action to ensure that the
educational environment is free of harassment and to prevent the recurrence of a hostile environment- and, if appropriate,
remedy the effects of the alleged harassment on the complainant. As discussed later in the policy, remedies available to a
complainant may include, but are not limited to: reasonable academic accommodations. on-campus housing reassignment.
a "no contact" directive between the respondent and the complainant. and disciplinary action against the respondent as
determined through the disciplinary process outlined in this policy. Mediation is not appropriate for any allegation of sexual
violence.
A complainant may request or the university may issue admin istrative actions and supports such as a "no contact" directive and
changes to ac;ademic and living situations through the Office of Student Conduct, GVPI in the Women's Center, and/or the Title
IX Coordinator regard less of w hether a complainant files a formal report. A complainant w ill be notified as to what changes are
reasonably available and/or are being implemented.




INFORMATION FOR RESPONDENTS
Respondents w ill be treated with respect before, during , and after the disciplinary process. During an initial meeting, the Office
of Student Conduct w ill inform the respondent of the university's disciplinary process and possible outcomes. The Office of
Student Conduct w ill communicate substantive and, w hen warranted, procedural developments regarding an investigation.
Note that alleged behavior may also be criminal in nature, and a respondent may be subject to a criminal investigation by the
appropriate law enforcement agency at the same time as an investigation by the university under this policy: the respondent
may w ish to consult w ith a criminal lawyer as the Office of Student Conduct does not provide advice as to the criminal process.
Respondents are entitled to a presumption that there is not a violation of this policy throughout the disciplinary process unless
and unti l t hey are found responsible for a violation of this policy.
Respondents have the right to (and are strong ly encouraged to seek) counseling and support available through resources such
as CAPS, DukeReach, or other university and local resources.
A respondent may request. or the Office of Student Conduct and/or the Title IX Coordinator may change, academic and living
situations and will be notified as to w hat changes are reasonab ly available and/or are being implemented.



II. SCOPE
This Student Sexual Misconduct Policy applies to any instance in which any Duke student (undergraduate, graduate,
professional, or any student enrolled in any Duke program) is alleged to have engaged in sexual misconduct against anyone
(e.g., a student. employee, or third party such as a visiting athlete, guest speaker, or contractor), reg ardless of the complainant's
or respondent's sex, gender, sexual orientation, or gender identity.' The university w ill respond to any complaint of sexual

'The Office for Institutional Equity (Smith Warehouse, Bay 8, 919-684-8222) receives reports and handles complaints alleging
sexual misconduct by employees and all other non-Duke students under the Duke University Harassment Policy, oie.duke.
edu/we-can -help/complaints-and-concerns/harassment.




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     misconduct. including conduct alleged to have occurred during breaks, leaves of absence, or periods of dismissal, whether
     on or off campus. The disciplinary process is available as an option while a respondent remains a student at Duke. With the
     agreement of the Vice President for Student Affairs and the dean of the respondent's college or school, disciplinary action may
     be taken against a student who has graduated and is alleged to have committed a violation w hile a student.



     Ill. PROHIBITED CONDUCT
     Rule. Duke University prohibits all forms of sex/gender-based harassment. sexual/gender violence, sexual exploitation,
     relationship violence (domestic violence and dating violence), and stalking.
     Sex/Gender-Based Harassment. Sex- or gender-based harassment may take two forms:
     One form of harassment is unwelcome verbal or physical conduct based on sex t hat. because of its severity, persistence, and/
     or pervasiveness, creates a hostile environment by interfering significantly w ith an individual's work or education, or adversely
     affecting an individual's living conditions.
     The other form of harassment is a student's use of a position of authority (e.g., as a TA, RA. team captain, or officer in a fraternity
     or sorority) to engage in unwelcome sexual advances, requests for sexual favors, or other verbal or physical conduct of a sexual
     nature when:
         •      subm ission to such conduct is explicitly or implicitly made a term or condition of an individual's employment or
                education: or
         •      submission to or rejection of such conduct is used as a basis for decisions affecting an individual's education or
                employment.
     The conduct alleged to constitute harassment under this policy must be sufficiently severe, persistent, and/or pervasive to
     actually interfere with the complainant's wo rk, education, or living conditions to a significant degree. The severity, persistence,
     and/or pervasiveness of the alleged conduct will also be evaluated from the perspective of a reasonable person similarly
     situated to the complainant and in consideration of the context of the behavior.
     Harassment must be distinguished from behavior that. even though unpleasant or disconcerting, is appropriate to the carrying
     out of certain instructional, advisory, or supervisory responsibilities or to legitimate academic and related discussions.
     Sexual Violence. Sexual violence is a particularly severe form of harassment defined as any physical act of a sexual nature
     based on sex and perpetrated against an individual w ithout consent or when an individual is unable to freely give consent. See
     Section IV of this policy (page 43) for more information about consent.
     Physical acts of a sexual nature include, but are not limited to, touching or attempted touching of an unwilling person's breasts,
     buttocks, inner thighs, groin, or genitalia, either directly or indirectly: and/or sexual penetration (however slight) of another
     person's oral, ana l, or genital opening w ith any body part or object.
     Sexual Exp loitation. Sexual exploitation includes taking sexual advantage of another without consent for one's benefit or the
     benefit of another party.




             Examples of conduct that may constitute sex/gender-based harassment include:
                •   Continued unwelcome questioning about intimate or personal matters
                •    Unwelcome touching, or other physical acts of a sexual nature
                    Severe, persistent, or pervasive comments or jokes of a sexual nature
                    Severe, persistent, or pervasive unwelcome comments or conduct regarding an individual's sexual
                    orientation or gender identity
                •   Sending emails that contain extreme or persistent sexual messages, images, or language
                    Repeated derogatory comments of a non-sexual nature relating to a particular sex/gender generally and
                    targeted to (a) specific individual(s) of that sex/gender
                •   Sex/gender-based violence-non-sexual physical assault of an individual because of the individual's sex or
                    gender
          Harassment may be verbal, nonverbal, or physical and the above list is not exhaustive, but intended only to provide
          general examples of possible prohibited conduct.




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Relationsh ip Violence. Relationship violence is any act of violence or pattern of abusive behavior in an intimate relationship
that is used by one partner to gain or maintain power and control over another partner. Relationship violence can be physical.
sexual, emotional, economic, or psychological actions or threats of actions that influence another person. Relationship violence
includes domestic violence and dating violence (adapted from the Office on Violence Against Women, U.S. Department of
Justice, justice.gov/ovwI domestic-violence).

         Domest ic violence is any act of violence or pattern of abusive behavior committed by a student against the student's
         current or former spouse/cohabitant. person similarly situated under domestic or fami ly violence law, or anyone else
         protected under domestic or family violence law.
         Dating violence is any act of violence or pattern of abusive behavior committed by a student who has been in a social
         relationship of a romantic or intimate nature with the complainant. Whether there was such relationship will be gauged
         by its length, type, and frequency of interaction.
Sex/Gender-Based Stalking. Sex/gender-based stalking is a course of conduct (including cyberstalking) directed at a specific
person that would cause a reasonable person to fear for her, his, or others' safety, or to suffer substantial emotional distress.
Stalking by a student not based on sex or gender is addressed under the Stalking Policy.



RETALIATION
Retaliation is prohibited under Title IX and this policy and is adjudicated under this policy and procedures. Retaliation is defined
as words or acts taken in response to a good-faith reporting of sexual misconduct. or to an individual or group's participation
in Duke's complaint process or the follow up to a Duke complaint. The policy's prohibition against retaliation also protects
individuals w ho oppose through words or actions what they reasonably believe to be sexual misconduct. Retaliation w ill be
a violation of this policy w hen it is sufficiently serious (e.g .. severe, persistent. and/or pervasive) to discourage a reasonable
person from further such activity. The protection against retaliation applies to the parties and to all witnesses. All persons who
believe they have been subjected to m isconduct under this policy are encouraged and have the option to seek support. utilize
available resources, and come forward with their concern or complaint.




     Fear of retaliation should never be an obstacle to reporting an incident of alleged sex/gender-based harassment.
     sexual/gender violence, sexual exploitation, relationship violence, or stalking.




IV. CONSENT
Consent is an affirmative decision to engage in mutually acceptable sexual activity freely given by clear actions and/or words.




     Consent is an informed decision made freely and actively by all parties. Relying solely upon nonverbal                              ,.,
     communication can lead to miscommunication. It is important not to make assumptions: if confusion or ambiguity on                   5
     the issue of consent arises anytime during a sexual interaction, it is essential that each participant stops and clarifies,        i:
                                                                                                                                         a:
     verbally. willingness to continue.                                                                                                  L
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Students should understand that consent may not be inferred from si lence, passivi ty, or lack of active resistance alone.              c0.
Furthermore, a current or previous dating or sexual relationship is not sufficient to constitute consent. and consent to one form
of sexual activity does not imply consent to other forms of sexual activity.                                                            t
                                                                                                                                        i:
                                                                                                                                        C:
Conduct is "without consent " if no clear consent, verbal and/or nonverbal. is given. An individual is "unable to freely give           C
                                                                                                                                        L
consent" w hen the individual is incapacitated (arising, for example, from the use of alcohol or other drugs or w hen the individual    -~
is passed out. asleep, unconscious, or mentally or physically impaired). An individual is also unable to freely give consent            2
when the individual is coerced into sexual activity, such as, for example, through the use of physical force, threat of physical or     5
emotional harm, undue pressure, isolation, or confinement.                                                                              &
                                                                                                                                        (f

The perspective of a reasonable person w ill be the basis for determining whether a respondent knew, or reasonably should               i:
                                                                                                                                        a:
have known, w hether a complainant was able to freely give consent and whether consent was given. Additionally, being                   1;
                                                                                                                                        fj



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       intoxicated or incapacitated does not diminish one's responsibility to obtain consent and wi ll not be an excuse for sexual
       misconduct.




            TNE IMPACT ®F ALCOHOL OR OTH~R DRUGS
            The use of alcohol or other drugs can impair effective communication about sexual activity and san hinder one's
            ability to pick up on danger cues and resist an assault. Alcohol or other drugs can also lower inhibitions and create an
            atmosphere of w nfusion over whether consent is freely and effectively, given.




       V. COMPLAINT RESOLUTION
       A flowchart illustrating the complaint reso lution process can be found on page 52.




       REPORTING
       Students are encouraged to report violations of this policy to the Office of Student Conduct, 200 Crowell Hall. conduct@
       duke.edu, 919-684-6938, studentaffairs.duke.edu/conduct/report-incident.
       Once a report is received, an investigati on and possible immediate and/or interim measures may occur, including adjudication
       through the disciplinary process descri bed below, administrative actions (e.g., a "no contact" directive, trespass from campus,
       interim suspension), reasonable academic or housing modifications, or other measures designed to reasonab ly m inimize the
       possi ble recurrence of, and mitigate the effects of, the alleged conduct.




            The Office of Student Conduct handles an alleged violation of this policy when the person alleged to have committed
            a violation is a student. (The Office for Institutional Equity, Smith Warehouse, Bay 8, 919-684-8222, receives reports in
            w hich the person alleged to have committed a violation is an employee or third party.) Reports involving an alleged
            student respondent may be filed at any time while the respondent remains a student at Duke; prompt reporting can
            aid an investi gation.




       A complainant may request that the Office of Student Conduct not revea l the complainant's identity in responding to a report.
       (In some situations, it may be possible to proceed fu lly w ith an investigation w ithout disclosing the name of t he complainant.) A
       complainant may also request that the university take limited or no action in response to a report.
       A request to preserve the confidentiality of any party involved in a report or that no action be taken should be made to the
1/)    Office of Student Conduct, 919-684-6938, conduct@duke.edu. Staff in the Office of Student Conduct wi ll confer w ith the Title
c0.    IX Coordinator about the request and inform the party of the extent to w hich confidentiality may be maintained. The university
(I)
       w ill attempt to preserve the confidentiality of the complainant and/or respect a request for limited or no action in response to a
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1/)    report except w hen, in the university's j udgment, doing so would jeopardize th e safety of members of the university community
~      (including t he complainant) or w here th e university is required by law to disclose the information (such as in response to a legal
C
~      process).
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C      IMMEDIATE AND/OR INTERIM MEASURES
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lJ     Th e Office of Student Conduct may issue administ rative actions immediately and/or on an interim basis as deemed
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?i'    appropriate, including but not limited to restrictions on contact between the complainant, the respondent, and/or other
<      involved parties; exclusion from areas of campus; and, removal or relocation from residential areas. The Office of Student
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0.     Conduct adjudicates alleged violations of such through its policies and procedures. The Vice President for Student Affairs, or
lJ     designee, may impose an interim suspension.
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 TIME FRAM ES
The Office of Student Conduct seeks to resolve complaints under this policy w ithin 60 business days from receipt of a report,
excluding days classes are not in session (see additional information about Appeals, on page 47, for additional time frames).
An investigation typically takes 21 to 45 business days to complete. Generally, w ith in 15 business days after completion of
an investigation, an administrative or panel hearing, if applicable, is scheduled. During this time, staff in the Office of Student
Conduct may seek clarifying information and/or meet with a complainant, respondent, investigator, or others.
Circumstances may require the university to extend this overall time frame or any individual time frame discussed in this policy.
Examples of reasons why time frames may need to be extended include the complexity of the case, delays due to fa ll/spring/
summer/holiday breaks, inclement weather, and other extenuating circumstances. Exceptions to these time frames will be
communicated to the complainant and respondent.




ADVISORS
A complainant and a respondent have access to trained Disciplinary Advisors to guide them through the disciplinary process.
Complainants and respondents may consult with anyone they wish (including an attorney) during any stage of this process.
One advisor of the complainant's/respondent's choice (either the university-appointed Disciplinary Advisor or another advisor
of their choice) may accompany the complainant/respondent to any meeting with Office of Student Conduct staff, the
investigator, or to a hearing. The advisor's ro le in any meeting or hearing is limited to quietly conferring with the complainant or
respondent through w ritten correspondence or w hisper, and the advisor may not address any other participant or the hearing
panel. An advisor may not also be a witness.




INVESTIGATION
After it receives a report, the Office of Student Conduct typically meets with a complainant and respondent separately in order
to review the disciplinary process and to hear an overview of each party's account of the incident. Immediate, interim, and/or
long-term measures may also be discussed. The Office of Student Conduct may use any information gleaned through this and/
or subsequent meetings w ith the complainant/respondent in the disciplinary process.
If the Office of Student Conduct determines further investigation is w arranted, it w ill refer the report to the Director of Title
IX Compliance, w ho w ill assign the case to an investigator from the Office for Institutional Equity. The investigator interviews
witnesses, collects additional information, and subm its a written report of relevant information to the Office of Student Conduct.
The Office of Student Conduct will review the report for completeness and relevance (as that term is defined in Section Vil. and
direct further investigation as necessary before the report is shared with the complainant and respondent.
The investigator's final report w ill be shared w ith the complainant and respondent, who then have five business days to respond
in w riting to the report w ith any clarifications, w itness statements, or other information. The complainant and respondent
must also submit in writing by that time the names of any material w itnesses the complainant/respondent wishes to testify
(should the matter proceed to a hearing) and a summary of information each witness would provide through his/her testimony.
(Character w itnesses are not permitted.) Names of w itnesses provided by the complainant/respondent w ill be shared with the
other party. After the five-business-day deadline, the complainant and respondent may not provide any additional information
for the hearing packet (defined on page 46) and may not produce any additional material at the hearing, unless that information
was not reasonably available prior to the closing of the five-day w indow. The hearing panel or the Office of Student Conduct, as
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appropriate, determines whether to grant exceptions to this five-day deadline.                                                             [1:
The Office of Student Conduct w ill determine w hat, if any, changes or additions are made to the investigator's report based            i:
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upon its review of the report and feedback as described above from the complainant and respondent.
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The Office of Student Conduct w ill determine whether to proceed to a hearing based on its assessment of whether there                   "'C
                                                                                                                                          C
is sufficient information to believe that a policy violation may have occurred. The Office of Student Conduct will convey                 re
t his decision in writing to the complainant and respondent as applicable, who may ask that the Office of Student Conduct                -~
reconsider its decision.                                                                                                                 c0.
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       VI. HEARING PROCEDURES
       When the Office of Student Conduct decides that a case should proceed to a hearing, the case may be resolved either through
       an administrative resolution or a hearing panel. Under both types of proceedings, the university w ill use a "preponderance of
       th e evidence" (more likely than not) standard.




       ADMINISTRATIVE HEARING
       At the discretion of the Office of Stu dent Conduct, and w ith the agreement of both the complainant and respondent. a report
       may be resolved through an administrative hearing. The parties wi ll be notified (typically via email) of the specific violations of
       th e Student Sexual tv1 isconduct Policy under consideration in advance of an administrative hearing. A desig nee of the Office of
       Student Conduct wi ll review the information gathered during th e investigation separately and in private w ith each party and
       g ive each party an opportunity to respond. The designee will determine if the respondent is respo nsible for the alleged policy
       violation(s), and, if so, issue (an) appropriate sanction(s). The parties wi ll be notified in w riting of th e outcomes concurrently. If
       th e respondent or compla inant does not accept the administrative hearing resolution, either party may request by the stated
       deadline (typically 72 hours after notification of t he outcome) a hearing before a hearing panel. as described below. If such
       a request is made, the Office of Student Conduct will then proceed in scheduling a hearing panel. The proposed outcome
       from the administrative hearing w ill not be disclosed to the hearing panel unless the complainant or respondent shares such
       information.




       HEARING PANEL
       If the Office of Student Conduct decides the case should be resolved through a hearing panel. t he Office of Student Conduct
       w ill appoint a specially trained three-person hearing panel (typically including two faculty or staff members and one student
       and, w hen possible, at least one representative of the complainant's and respondent's schoollsD to resolve a complaint under
       this policy. A finding of responsibility must be based on a unanimous vote. Sanctions of suspension or expulsion must also be
       supported by a unanimous vote. A majority vote is required for all other sanctions.
       The follow ing procedures apply to a complaint that proceeds to a hearing panel:
           •    Notice. Both the complainant and the respondent will be notifi ed at least 120 hours in advance of the date and time of
                the hearing and the names of the hearing panelists.
           •    Hearing Packet. In advance of the heari ng, the Office of Student Conduct finalizes a packet with information it deems
                re levant to the case to be shared w ith the hearing panel. The hearing packet typically includes the investigator's
                report (if applicable). The Office of Student Conduct w ill share a copy of that packet w ith both th e complainant and the
                respo ndent at least 120 hours in advance of the hearing.
           •    Conflict of Interest. A complainant and/or respondent may c hallenge the participation of a panelist because of
                perceived conflict of interest. bias, or prejudice. Such challenges, including rationale, must be made to the Office
                of Student Conduct at least 72 hours prior to the commencement of the hearing. At its discretion. the Office of
                Student Conduct will determine w hether such a conflict of interest exists and w hether a panelist should be replaced.
                Postponemen t of a hearing may occur if a rep lacement panelist cannot be immediately identified.
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C         •     Witnesses. The hearing panel may, at its discretion. exclude witnesses or w itness testimony the panel considers
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(I)             irrelevant or duplicative.
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          •     Electronic Devices. A respondent. complainant. advisor, and/or witness may not bring electronic devices that capture
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C               or faci litate communication (e.g .. computer, cell phone. audio/video recorder, etc.) into a hearing room, unless
~               authorized by the hearing panel. The Office of Student Conduct w ill make an audio recording of the hearing to be
~               kept on fi le for three years. Reasonable care w ill be taken to c reate a quality audio recording and minimize technical
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                problems: however. technical problems that result in no recordi ng or an inaudible one w ill not be a valid argument fo r
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0..             appeal.
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~         •    Hearing Procedure. A hearing panel has general authority over the conduct of the hearing (e.g., it may set t ime
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Q_             frames for witness testimony and it may limit opening/closing statements or their length. etc.). Th e general course of
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               procedure for a panel hearing is as fo llows: introductions: res pondent's statement accepting or denying respons ibi lity:
               opening comments from the complainant: opening comments from th e respondent: questions from the panel:
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0..            testimony/questions of other material w itnesses (if applicable): closing comments from the compla inant: and, closing
lJ
0              comments from the respondent. A complainant or responden t may not question each other or other witnesses directly.
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               but may raise questions to be asked of that party through the hearing panel. w hich will determine whether to ask
0..            them. The hearing panel determines the relevancy of any information presented/submitted at the hearing and can
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               exclude irrelevant information.




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    •    Hearing Facilitator. A staff member from the Office of Student Conduct wi ll serve as the non-voting hearing faci litator.
    •    Relevance.
         •    In evaluating the relevance of information. t he Office of Student Conduct, the investigator from t he Office for
              Institutional Equity, or the hearing panel. as appropriate, considers, among other things, w hether the information
              bears on a fact at issue in the case, is more prejudicial than probative, or is duplicative.
         •    Polygraph examinations and/or thei r resu lts are neither admissible nor considered in any part of the disciplinary
              process.
         •    A complainant's or respondent's prior or subsequent sexual activity is typically not relevant and wi ll on ly be
              considered as evidence w hen the previous or subsequent behavior was substantially sim ilar to the conduct at
              issue or indicates a pattern of behavior and substantial conformity with that pattern.
The complainant and responde nt w ill receive verbal notification of the decision of a hearing panel no later than five business
days after the hearing. Notification will be individually given to the respondent and complainant at approximately the same
time. A w ritten hearing report outlining the decision and rationale of the hearing panel w ill be delivered to the respondent and
the complainant typically w ithin 10 busi ness days of th e hearing.




SANCTIONS
Sanctions for a finding of responsi bility include, but are not limited to, expulsion, suspension, d isciplinary probation,
recommended counseling. and/or other educational sanctions. The hearing body will determine the sanctions, first
considering whether expulsion (permanent removal) from the university is appropriate. While expulsion is the starting point for
consideration, the hearing body has discretion to decide that (a) different sanction(s) is (are) appropriate. Factors pertinent to
the determination of w hat sanction applies include, but are not limited to, the nature of the conduct at issue, prior discipli nary
history of the respondent (shared w ith a panel only upon a finding of respon sibility for t he allegation), previous university
response to similar conduct, and university interests (e.g., in providing a safe environment for all).




LONG-TERM/INDEFINITE MEASURES AND/OR REMEDIES
The Director ofTitle IX Compliance and/or staff in the Office of Student Conduct w ill work w ith the complainant and respondent
as applicable.to identify and implement any appropriate/necessary long-term or permanent measures/remedies. The
Director of Title IX Compliance and/or staff in t he Office of Student Conduct w ill also identify appropriate remedies/measures
to address any effects of substantiated conduct on the university community. Long-term remedies/measures may include
extending or making permanent any interim protective measures or implemen ting additional measures. The Director of Title
IX Compliance and/or staff in the Office of Student Conduct will consider w hether there is a need for additional measures/
remedies, w hich may include "no contact" directives and reassig nment or removal from a class or on -campus living area.




APPEALS
A respondent or complainant may appeal the hearing panel's decision by submitting a written appeal statement w ithin five
business days of the date the hearing report is sent to the parties. Appeals are limited to five pages (12-point font, 1-inch            IJ
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margins). The two grounds for appeal are:
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   1.    New information not reasonably available at the t ime of the hearing that is material to the hearing panel's decision:          C
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         and/or                                                                                                                         0.
                                                                                                                                        -c
    2.   Procedural error(s) that materially impacted the hearing panel's decision.                                                      C
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The appeal statement must identi fy the ground(s) for appeal. Note that an appeal is not a re-hearing of the case.                      -~
                                                                                                                                        c0.
The composition of the Appellate Board for cases arising under this policy includes specially trained members of the university
community appointed by the Vice President for Student Affairs. The chair of the Appellate Board or the chair's designee is              t
responsible for selecting three-person panels from membership of t he Appellate Board to consider appeals.                              i:
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If, by majority vote, the appellate panel determines t hat a ground of appeal is substantiated , the panel w ill return the case to     -~
the Office of Student Conduct. Otherwise, the decision of the hearing panel stands. W hen a case is returned to the Office of           2
Student Conduct, the Office of Student Conduct may decide to drop the case (e.g., based on insufficient information to believe
that a policy violation may have occurred), send the case to the original hearing panel for reconsideration, send the case to a
new hearing panel w ith the same or different charges, and/or (re)implement any aspect of the d isciplinary process. A different
decision (i.e., the decision of responsibility and /o r sanctions) may subsequently result.




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        Procedures
        The Appellate Board's role is limited to reviewing the hearing panel record, th e appealing party's ("appellant") written appeal
        statement. any response to that statement by the other party ("appellee"), and information presented at a meeting of the
        Appellate Board, if convened.

        The appellate panel w ill typically notify the parties of its decision regarding an appeal in writing w ithin 20 business days from
        receipt of the appeal statement. If the decision w ill take longer, the chair w ill inform the parties.
        The following procedures guide the Appellate Board process:
                 Appeal Statement. The w ritten hearing report wi ll include instructions fo r submitting an appeal. The chair may
                 summarily deny an appeal if it is not based on one or both grounds of appeal.
                Composition of Panel. If the appeal is not summarily denied by the chair, the chair will convene a three-person panel
                and notify the appellant and appellee of the names of the panel members. When possible, the chair will select at least
                one Appellate Board member from th e school community of the complainant and respondent. The appellant and/
                or appellee may challenge the participation of an appellate panelist because of perceived conflict of interest. bias, or
                prejudice. Such challenges, including rationale, must be submitted in writing to the chair no later than 24 hours after
                notification of the names of the appellate panel members. Th e chair w ill determine whether such a conflict of interest
                exists and w hether a panelist should be replaced.
                Response to Appeal. The chair will provide w ritten notice to the appellee that an appeal has been submitted and
                will give the appellee an opportunity to review the appeal statement. The appellee may submit a written response to
                the appeal ("respon se"). Th e response is due five business days from the date th e chair provides written notice of th e
                appeal to the appellee and is limited to five pages (12-point font, 1-inch margins). The chair w ill provide the appellant
                an opportun ity to review the response, though no additional opportunity to respond in w riting will be provided to the
                appellant.
                Exceptions. The appellant and appellee may submit to th e chair requests for exceptions to page limits or deadlines.
                Exceptions must be requested in advance of any deadline by sending an email to appeals@duke.edu, w ith justification
                for such request(s). If either party fails to meet a deadline or exceeds page limits w ithout receiving an exception, the
                chair has the discretion to summarily reject an appeal or the appellate panel may disregard the response.
                Meetings. On its own or at the request of the appellant or appellee, the appellate panel may convene a meeting to
                give the parties an opportunity to amplify the reason(s) for the appeal or the response. If a meeting is convened, the
                appellate panel will invite both the appellant and appellee, w ho may bring an advisor of their choice to the meeting.
                The advisor's role is limited to quietly conferring w ith their advisee, and may not address the appellate panel. In the
                event an appeal alleges a procedural error, th e appellate panel may request that (al staff member(s) in the Office of
                Student Conduct, the Office for Institutional Equity, and/or member(sl of the hearing panel attend the meeting to
                gather more information about the alleged procedural error.
                Written Decision. The Appellate Board will provide written notification of the final decision to the appellant and
                appellee at approximately t he same time.




            GETTING HELP
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            Any student at Duke University who experiences sexual/gender violence-regardless of sex/gender-may
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:::i        contact the Women's Center at 919-684-3897 or email WCHelp@duke.edu. See ·s upport Services and Options for
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            Complainants" below for additional information. In case of emergency or immediate threat, call 911 or Duke Police at
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C           919-684-2444,
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            SUPPORT SERVICES AND OPTIONS FcOR COMPLAINANTS
C           A variety of support resources are available on campus and in the community to assist students in dealing with
~           sexual misconduct, whether it happened recently or in tne past. The following is a list of helpful resources. Additional
"'CJ
Q..         resource information is available at studentaffairs.duke.edu/wc.
?i'
<           Information, advocacy, counseling, and emotional support. The Office of Gender Violence Prevention and
OJ
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0..         Intervention (GVP/l provides education, advocacy, and support for students who experience sexual anc:j relationshi/;:>
"'CJ        violence. sex/gender-based harassment. and sex/gender-based stalking, as well as for their friends and families.
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Students of any gender can receive information, support, and accompaniment regarding medical treatment, reporting
options, academic and residential accommodations, referrals, legal options, and trauma-focused therapy. Walk-in
or scheduled appointments with the GVPI Coordinator are available during business hours by calling 919-684-3897,
emailing womenctr@duke.edu. or by visiting ttie Women's Center located at 001 Crowell Building (underneath the
Coffeehouse) Gm East Campus. Emergency after-hours assistanG:e is available via pager at 919-970-2108. All services
are free and confidential and do not require making a formal report to the police or the university.
Counseling and Psychological Services (CAPS) also offers ongoing counseling services; call 919-660-1000 for an
appointment. For 24-hour crisis information and referral, contact the GVPI information line at 919-681-6882, the Dean
on-Call (pager number 919-970-4169), or the Durham Crisis Resr:ionse Center at 919-403-6562 (for 24-hour hotline). All
serviees are confidential and do not require making a formal report to the police or the university.
Medical concerns. Students should seek medical attention immediately to have the most options for the prevention
of pregnancy and sexually transmitted infections. Even if physical injuries are not apparent, one may have injuries
as a result of sexual assault that are not easily seen. For immediate and urgent medical concerns, students may go
directly to the Emergency Department (ED) of Duke Medical Center (off Erwin Road near Trent Halll. Duke Police (911
or 919-684-2444 from non-campus phones) can provide transportation without students having to make a report.
Services available at the Emergency Department are: medical care, evidence collection, emergency contraception,
and sexually transmitted infection prevention.
Evidence can be collected anonymously. Evidence is best collected within 120 hours of the assault. Pursuing a
criminal case is not necessary in order to have the evidence collected anonymously. A blind report can be filed that
includes no identifying information other than a case number. A student may decide later whether to file a police
report. Health insurance and the State of North Carolina may cover portions of the costs of medical care. The GVPI
coordinator in the W0men's Center will help students address any concerns they have about covering the costs of the
medical exam or other related expenses. Both the Emergency Department and Student Health have Sexual Assault
Nurse Examiners (SANE), w ho are specially trained to work with individuals who have been sexually assaulted.
For less immediate medical concerns, students may schedule an appointment at Student Health (919-681-WELU.
The services available are: medical care, emergency contraception, and sexually transmitted infection prevention.
The student health fee covers all services, except for a minimal charge for emergency contraception. Staff from GVPI
can accompany students to the ED or Student Health.
Reporting to the police. Sexual misconduct may be criminal in nature, and a student may choose to file a report with
law enforcement. Duke Police (911 or 919-684-2444 from non-campus r:ihones) will respond to emergencies and
non-emergencies to provide assistance by intervening in cases of assault. providing transportation to the Emergency
Department, taking reports of an assault, and/or investigating and participating in legal or disciplinary action. They
are responsible for notifying the community in a case of continuing danger, issuing a trespass order that requires
an individual to stay away from campus or a particular area of campus when needed, and providing referrals and
information including how to obtain a restraining order. Assaults that occur off campus may fall under the jurisdiction
of the Durham Police Department or other law enforcement agency. Students may contact the Durham Police
directly (911 off campus or 919-560-4427/560-4609) or the GVPI office or Duke Police can help facilitate reporting.
Blind reporting-filing a report without one's name attached to it-is an available option with both Duke Police and
Durham Police. Regardless of whether a complainant pursues a criminal complaint, the university will investigate the
incident in question and take appropriate responsive action to ensure that the educational environment at Duke is
free of harassment and to prevent the recurrence of a hostile environment, and, as appropriate, to remedy the effects
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of the harassment.                                                                                                          g
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       EXAMPLES OF SEXUAL MISCONDUCT
       Angela and Aaron have been in an ongoing relationship for a year and a half and have engaged in consensual sexual
       intercourse. One night while becoming intimate, Angela stops and says she doe!;in't feel like having sex that night.
       Aaron continues to touch her. saying tliat she got him excited and it wasn't fair of her to lead him on like that. Again,
       Angela tells him she does not want to have sex, and then is silent. Aaron decides she has given in , and proeeeds to
       have sexual intercourse with her.
       This is a violation of the Student Sexual Misconduct Policy. Aaron had sexual intercourse with Angela against her will. The
       fact that Angela has freely consented to sexual interrnurse with Aaron in the past does NOT' mean he has her consent in
       this situation.

       faln is talking to several of her friends in the hallway at a crowaed party. Ryan, a student she knows from chemistry
       clg.ss, comes up behind her and places his arms around her waist. She says hi to Ryan anc! continues her
       conversation. RycJ n gradually moves his hands up to her breasts. She turns to him and tells him to stop, saying she
       doesn't want to be touched in that way and that he should have more respect for her. He laughs, tells her she takes
       herself too seriously, and again begins to grope her.
       This is a violation of the Student Sexual Misconduct Policy. Ryan touched Erin in a sexual way without her consent, and
       continued to do so a~er she told him to stop. This behavior is a form of sexual/gender violence.
        Kristen and Myra have been intimate for a few weeks. One night, Myra calls Kristen and asks her to come over. When
        she arrives, Myra kisses Kristen passionately and leads her into the bedroom. They each express their excitement and
        desire to "hook up,' and are soon making out heavily in Myra's bed. After a while, Kristen tries to engage in oral sex
       w ith Myra. Myra tells Kristen that she really likes her, but that she doesn't feel ready for tnat. Kristen tells Myra she's
       just being shy, and ignores her when she repeats that she doesn't feel ready. Finally, Kristen threatens to reveal on the
       Internet that Myra is a lesbian. Because Myra has not yet come out to her friends and family, she becomes frightened
       and silent. Kri sten proceeds with oral sex.
                                                                                         s
       This is a violation of the Student Sexual Misconduct Policy. Because of Kristen manipulative and threatening arguments,
       Myra was afraid and unable to freely give her consent Kristen did not receive consent from Myra and has committed
       sexual/gender violence.

       Liz and Tom have been together for six months. Liz often tells her friends stories of Tom's sexual prowess, and
       decides to prove it to them. One night, she and Tom engage in consensual sexual intercourse. Without Tom's
       knowledge, Liz sets up hei digital camera to videotaP-e tliem having sex. The next evening, she uploaEls the video to
       an online video -sharing site and discusses it with her friends online.
       This is a violation of the Student Sexual Misconduct Policy. Tom's mnsent to engage in sexual intercourse with Liz did NOT
       mean Liz had obtained his consent to videotape it. This is a form of sexual exploitation.
       And rew and Felix have been flirting with each other all night at a party. Around 12:30 a.m., Felix exe:::uses himself to
       find a bathroom. Andrew notices Felix slurring his speech. Andrew won.ders if Felix went to the bathroom to vomit.
       When Felix returns, the two begin flirting more heavily and move to a c0uch. As the conversation continues, the two
       become more relaxed and more physically affectionate. Andrew soon suggests they go back to his room, and Felix
       agrees. As they walk down the stairs, Andrew notices that Felix looks unstable anq offers his arm for support and
¼>     balance. When t hey get back to his room, Andrew leads Felix to the bed and they begin to become intimate. Felix
C:     becomes increasingly passive and appears disoriented. Andrew soon begins to have sexual intercourse with him. The
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:::i   next morning, Felix thinks they had sex but cannot pieee together the events leading up to it.
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       This is a violation of the Student Sexual Misconduct Policy. Felix was passive, and the Policy states that consent may
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C:     not l:5e inferred from silence. passivity, or lack of active resistance. Moreover, Felix was clearly incapacitated by alcohol,
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       and thus unable to freely consent to engage in sexual activity with Andrew. Although Andrew may not have known how
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ui'    much alcohol Felix had rnnsumed, he sew indicators from which a reasonable person wouW conclude that Felix was
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0      inmpacitated, and therefore unable to give consent. Andrew in no way had consent from Felix.
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       Denise is a graduate teaching assistant in Paul's economics class. She notes that he has not been performing well on
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       take-home assignments and exams. Both of them nave come to a party, each with their own group of frienas. Denise
$2.    has consumed one can of beer, while Paul is rather intoxicated. Denise sees Paul and approaches him. She flirts
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<      w ith him, telling him that she can help him improve his grades if he will hook up w ith her. As Paul turns to walk away,
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:::i   Denise grabs his buttocks and squeezes them.
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This is a violation of the Student Sexual Misconduct Policy. Denise, in a position of power over Paul as his teaching
assistant, attempted to arrange a quid pro quo sexual relationship. Additionally, she did not seek consent from Paul to
touch him, even if a reasonable person rnuld conclude that PGJul was not too intoxicated in order to provide consent.
A student had recently visited another country; on his return, he wrote an article for The Chronicle in which he
used sexually explicit terms ana examples to describe the treatment of women in that country. Other students are
offended by the article.
This would not be a violation of the Student Sexual Misconduct Policy. Sexual harassment is unwelcome conduct of
a sexual nature that. becGJuse of its severity and/or persistence, interferes significantly with on individual's work or
education. The conduct is evaluated from the perspective of a reasonable person and in consideration of the context of
the behavior. It is not enough that other students are offended by the article for it to be a violation of tne policy. Duke is
committed to principles of academic freedom and conduct with a legitimate educational or related purpose will not be
considered a policy violation.
Abby and Mike are graduate students working in the same lab. They have been dating for a year. Abby often calls
Mike names and damages his belongings w hen she's upset. She once poured a soda over his laptop after she saw
him talking to another woman. Last week, she threw a cell phone at his head when he was late picking her up from
work.
This would be a violation 0f the Student Sexual Misconduct Policy. Relationship violence, including domestic and doting
vio lence, includes physical, sexual, emotional, economic, or psychological actions or threats of actions that reasonable
person in similar circumstances would find intimidating, frightening, terrorizing, or threatening.
Monica filed a complaint with the Office of Student Conduct alleging that, after she broke up w ith Marcus, Marcus
has been stalking her. Marcus has told his friends about the complaint and several of them have launched a Twitter
campaign threatening Monica and the witnesses supporting her claim if Monica doesn't drop the complaint.
The conduct by Marcus's friends would be a violation of the Student Sexual Misconduct Policy. The policy prohibits
retaliation against anyone who files a complaint or participates in the investigation of a complaint.




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                                    STUDENT CONDUCT PROCESS FOR
                                   SEXUAL MISCONDUCT ALLEGATIONS
        r                                                                                                                    /'
                Student complainant
                                           '                         /

                                                                          OSC sends the student          '                              Student complainant is informed               '
                or th ird party reports                                     complainant a letter                                           of d isciplinary option through
                   incident of Sexua l                                    requesting to meet and                                            the university. Student may
               Misconduct to a) Office
                 of Student Conduct
                                                                .
                                                                ,.         outlines reso urces for
                                                                           support, including the
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                                                                                                                                           participate in the d iscip linary
                                                                                                                                            process or decline to do so.
             (OSC) orb) to a university                                    option to fi le a report                                            In some cases, if enough
               employee, who informs                                      with the appropriate law                                            information is avai lable to
                  OSC and provides                                         enforcement agency.                                              investigate or initiate some
                names of the parties                                 \.                                                                    intervention with ari accused
              involved. if known. Note:
               Employees designated
                    as a confidential                      /
                                                                                      t                           '
                                                                                                                                             student, the university wi ll
                                                                                                                                            proceed even if the student
                                                                                                                                        declines to participate, keeping
               resource (e.g .. medical                         OSC forwards to Office of Gender                                             the complainant's request
                providers. therapists,                          Violence Prevention & Intervention                                          for confidentiality to extent
                clergy acting as such                             (GVPI) in the Women's Center a                                        possible. Campus environment
                 in their professional                           copy of the report. GVPI reaches                                        is evaluated when appropriate.
               role at Duke, university                         out to the complainant to provide                                       OSC will discuss the matter w ith
                 ombudsperson) are                                confidential support. A student                                       the student complainant (if he/
               exempt from reporting                             who declines to meet with OSC                                          she chooses to meet with OSC)
                         to OSC.                                   may sti ll meet wi th GVPI staff.                                        before decid ing what to do.
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                                                                                 An investigation                                                                                 '
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              A determination will be
                                           '                                may be conducted by
                                                                          the Office for Institutional
                                                                                                                                          A 'no contact" d irective may
              made by OSC whether                                                                                                          be put into place between
               sufficient information                  -                    Equity and a report of           ~

                                                                                                                                            the complainant and the
                                                   '                          f indings submitted            "'
              exists to move for\vard                                                                                                    respondent. Additiona l interim
                                                                           to OSC. DukeReach will
                  with a hearing.                                                                                                        measures may be considered.
                                                                           be offered as a resource
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Q.           At the discretion of OSC,                                                                                                         business days fo llowing
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;::;.        an administrative hearing                                                                                                        the hearing, outcome will
                                                                             At the discretion of
(J)            may be conducted to                                                                                                            be conveyed individua lly
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                                                                            OSC, a three-person
C               reso lve the matter. If                                                                                                          to respondent and
                                                                           specially trained panel
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               both complainant and
                                                   ----➔                   will consider the case.                                 -,               complainant at
;:;;·            respondent accept                                                                                                                approximately t he
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0             resolution, t he matter is                                                                                                         same time. Written
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Q.
                                                                          complainant are invited
C             reso lved. If one or both                                                                                                        notification will typically
                                                                          to participate in hearing .
~            do not, a hearing panel is
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$1..                  convened.                                                                                                                     business days.
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                                                                                                                                                  Both parties have
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                                                                                                                                                right of appeal w ithin
                                                                                                                                                grounds of appeal to
                                                                                                                                                   Appellate Board.
                                                                                                                                         '-                                  ./

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                      ExhibitB




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 Office of Student Conduct
                              NIVER s ITV
                                                                                        zoo Crowell Hau
                                                                                             Box90893
                                                                     Durham, North Carolina 27708·0893

                                                                            Telephone: (9l9) 684-6938
 Dean of Students Office                                                             Fax: (9l9) 681-7390
 Student Affairs                                                   www.studentaffairs.duke.edu/conduct


                             Student Conduct Board Hearing Report
                                      Case No. --2018
                                 Wednesday,x:;;t19,2020

      This is written notice of the Hearing Report as required under Section VI of the
Student Sexual Misconduct Policy (the "Policy'') of Duke University.

       On May 6, 2020, the Complainant reported that on January 19, 2018, the
Respondent engaged in non-consensual sexual activity with her when he penetrated her
anally with his penis. After receiving the report, OSC obtained written statements from
both parties. On or about May 2020, OSC forwarded this matter to the University's Office
for Institutional Equity ("OIE") for investigation. Ericka Lewis and James Mason, OIE
Investigators, were assigned to conduct the investigation. On July 22, 2020, Ericka Lewis
and James Mason completed the investigation and compiled an investigative report
regarding the same. The 45-page investigative report included attachments that
consisted of the initial incident report; written statements from both parties; summaries
of interviews with the Complainant, Respondent, and witnesses; and, documentary
information provided by both parties and witnesses. Both parties had an opportunity to
review the draft report, submit comments, and propose changes to the investigators'
report before it was :finalized.

       The completed investigative report was forwarded to OSC to determine whether
there was sufficient information to move forward to a hearing. OSC determined that there
was sufficient information to move forward and convened a three-person hearing panel
consisting of A.G. Chancellor, Jessica Emig, and Shawn Lenker ("Hearing Panel"). On
July 28, 2020, OSC shared the hearing packet with the parties and on July 29, 2020, the
hearing packet was shared with the Hearing Panel. The hearing packet included the
investigative report and attachments prepared by Ericka Lewis and James Mason.

       On August 6, 2020, the Hearing Panel considered whether the Respondent
violated the University's Policy by engaging in sexual misconduct, specifically sexual
violence, with the Complainant between the evening hours on January 18th , and the early
morning hours of January 19, 2018.

  Present for the hearing was the Respondent and his advisor, Joe Cheshire; and the
Complainant and her advisor, Elizabeth Boehne. The hearing was coordinated by Dean




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        Based upon the record as a whole, the Hearing Panel determined by a unanimous
vote that, pursuant to Sections II, III, IV, and VI of the Policy, a preponderance of the
evidence shows that the Respondent engaged in nonconsensual sexual misconduct with
the Complainant. Specifically, the Hearing Panel determined that the parties engaged in
physical acts of a sexual nature. The Hearing Panel further determined that there was
sufficient evidence to establish that the Respondent anally penetrated the Complainant
with his penis without her consent, and that he knew or reasonably should have known
that the anal sex was "without consent". In reaching that determination, the Hearing
Panel carefully and thoroughly evaluated all of the information and evidence presented
in the hearing packet and during the hearing including, but not limited to, the credibility
of both parties and the witnesses.

       The crucial issue was whether Respondent reasonably should have understood that
Complainant did not consent to anal sex unless he used lubrication. Complainant told the
Hearing Panel that she explicitly stated to the Respondent that she was willing to have
anal sex with lubrication and that spit was not sufficient lubrication. The Hearing Panel
found this testimony to be credible and consistent with the other testimony she offered.
Respondent denied that Complainant made any comments about lubrication until the
Complainant was leaving his room after the sexual act was complete. However, during
the Respondent's testimony he acknowledged looking for lubrication, such as lotion, and
said that when he could not locate any, he decided to use spit. The Hearing Panel found
this statement inconsistent with the Respondent's testimony that there was no
conversation between him and the Complainant about lubrication until the Complainant
was leaving the room. Moreover, the Hearing Panel did not find the Respondent's
account of other parts of the evening credible. For example, the Respondent stated to the
Hearing Panel that when the Complainant left his room, she made fun of him and they
laughed; however, this was not consistent with the witness' statements that the
Complainant appeared visibly upset before and shortly after leaving the Respondent's
room.

   Since the Hearing Panel determined that the Respondent violated the University's
Policy by a preponderance of the evidence, the Hearing Panel considered the factors listed
in Section VI of the Policy (Sanctions) and determined the appropriate sanctions.
Specifically, the Hearing Panel considered the nature of the conduct at issue, that the
Respondent had no prior disciplinary history with OSC, previous University response to
similar conduct, and the University's interest in providing a safe environment for all.
Based on the foregoing, the Hearing Panel imposes the following sanctions:



                                                                  :   I       l      d I arti    det rmined
                                                                                                       ,and
                                                            •   • I       t   I   arti   I   t    •   I   :




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       1. Suspension: The Respondent is suspended from the University beginning with
          the 2020 Fall Semester through the end of the 2021 Summer Semester (three
          semesters). The Respondent is eligible to apply for readmission for the 2021
          Fall Semester or thereafter.
       2. Educational: Before being deemed eligible by OSC to apply for readmission,
          the Respondent must successfully complete a course of instruction, meet with
          the Director of Title IX Compliance or participate in counseling (if the
          Respondent chooses) that addresses sexual misconduct. If the Respondent
          decides to participate in a course of instruction, the course should be approved
          by OSC, in conjunction with the university's Director of Title IX Compliance,
          before the Respondent begins the course of instruction. The course of
          instruction, meeting, or counseling must include, but need not be limited to
          examination of:

             a. Affirmative consent, including definition, how it is communicated, and
                what does not constitute consent

Appeal Rights

       Pursuant to Section VI of the Policy, either party may appeal the hearing outcome
on the following grounds:

       1. New information not reasonably available at the time of the hearing that is
          material to the hearing panel's decision; and/or
       2. Procedural error(s) that materially impacted the hearing panel's decision.

The appeal must be submitted in writing to appeals@duke.edu within five (5) business
days of the date the Hearing Report is sent to the parties. This means that any appeal
must be filed by s:oo p.m. on August 26, 2020. The appeal statement is limited to
five pages (12-point font, 1-inch margins) and must identify the ground(s) for appeal.
Please note an appeal is not a re-hearing of the case. The parties may refer to Section VI
of the Policy for more detailed information regarding filing an appeal.




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                      ExhibitC




                                            I   •




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                            COMPIAINf OF SEX.'UAL 1\'IISCONDUCT
                                        INVESTIGATIVE REPORT
                  PREPARED BY ERICKA LE\,VIS Ai'VD JAMES l\'1ASO •


CASE NUMBER:                                            000 9-2018
COMPL.t\INAl\'T:
RFSPONDEl\'T:
DATE OF ALLEGATIO ~:                                    JANUARY19,2018
DATE OF REPORT:                                         JUL"\: , 2020

AILEGATIO :r51




                             Hall_
                          (Complainant), an undergraduate student, reported that on
January 191 2018, -(Respondent), an undergraduate student, engaged in non-
 consensual sexual activity \>Vith her when he penetrated her anally with his penis at
-Re.sidence
INTERVIEW LIST




LIST OF ATTACHME.t--WS
Attachment A               Office of Student Conduct Report}provided by OSC, page 12
Attachment B                       ,-ri.tten statement, prO\ided by OSC, page 15
Attachment C                       ,Ti.tten statement provided by OSC: page 18
Attachment D               Text message.s between -        and -     provided by -     page 20
Attachment E                        ketch o  ·     ·oom, pro\-ide~ page 24
Attachment F                       nedical           , rovided by ~ page 25
Attachment G                 ext essages enveen                      proYided by -page 32
Attachment H               -        ketch   oflllllroom,   provt  e  by ll!IIIIPage 35

' Tilli ca;.e has two incident
                             . repo:rh reg.rrding -    allegatioas. The frrrt report \,ai> fil.,d on Jmua.',· 19, 20 8,
md it id:ntifie1, llllllu the complainant, bu t ~          · ntify a r.,.,,iond:nt. The s.: ond report was filed
a.o~nymous _- on~ar;-10, .- 0 9, :md it identified           .s a responde.nt, b ui it did n t identify a complai:aam. The
furt r,~~ (Attaclummt A) wa~ modin.!d in _Q20 to idmti .              ; the re;po-Ddent
1
              :id~ redadc-d medical Hcords ;.he recefred from Duke Uni,·ersity Ho.spiul.

                                                                                                          Pagel ofM




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  Attachment I          Dean Victoria Krebs' February 12       2019)   notes (redacted) prO\ided
                        by DSC, page 36
  Attachment J          Te..-..1: messages between                       , provided by ,_

  Attachme11t K       llllililte.\.1: message and email statements, provided by -
                        page41
  Attachment L                  atement, provided bv             aae43
  Attachment 1\1        Text messages ben\·ee.n                     pro\ided by r■ page 44



  INVFSTIGAIBiE PROCESS
  The im-estigators interdewed -           -       and eight students. They informed all
  indi\,i duals of their credentials an~ir impartial role as the only investigators assigned
  to the case. They also informed them of the prohibition of retaliation, and that they could
  not guarantee confidentiality or anonpnity. They e:-qllaine.d that it is not the practice of
  the Offic.e for Institutional Equity (OIE) to record inten-i-ews and confirmed with each
  individual that they were not recording the interview.


  RELEVANT PROHIBITED CONDUCT
  The Duke University Student Se.xual :..lisconduct Policy, as printed in the 201 7 -2018 Duke
  Community Standard in Practice Guide: A Guide for Undergraduates prohibits sa71al
  ,-iolence. The Policy pro,-ides:
         Se1(ual violence is a particularly severe form of harassment defined as any
         physical act of a sexual nature based on sex and perpetrated against an
         individual without consent or when an individual is unable to freely gh-e
         consent.
         Physical acts of a se.'\'Ual nature include: but are not limited to, touching or
         attempted touching of an um,illing person's breasts, buttocks, inner thighs:
         groin, or g enitalia, either directly or indirectly, and/ or se.'l."Ual penetration
         (however slight) of another person's oral, anal: or genital opening \,ith any
         body part or object.
         Consent is an affinnath-e decision to engage in mutually acceptable sromal acti\-ity
         freely gh·en by clear actions and/ or words.




                                        CO fi>L,\INANT



                                                                                      Page 2 of 44




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    The investi 0 ators inteniewed .      ,i.a Zoom on May 2~ 202oi from 4:15 to 5:17 p.m.
                    ,-      advisor, was present during the interview.
              \cl.Sa first-year student in January 2018. She stated that her friend                                      <
                 · troduced her tclllllllllat party a few nights prior to January 18, 2018.
           stated that on Thursday, January 18, 2018, she went to a pregame at a house near
               pus. She said she saw ~ t the pregame and they played a couple of games
    together. She said she drank a "con'ibination of vodka and beer. She recalled that she
    ,,cmted to remain at the pregame, but - o l d her that she would ham to lea,e v,ith him
    if she wanted to hang out with him. -    stated that from the pregame she ~ ook
    an Uber to De,ine's, a local nightclub in Durham. She said that she lost ~          eat
    Devine's due to the large crowd.

- tated that after she left Devine's she went to her residence hall and texted -
Accoriling to the te,"\.i: messages, lllllllbegan texting      t 12:25 a.m. on January 19
2018. (Attachment D) She said ~ e then went to                       ,·herellllmet her at a
side doo_r. She re~led th.at th~· went to -            room an . .s roommate was presen~.
-     said that durmg their e.arlier conYersation that everu.niM   . llllltold her that his
roommate would not be in his room. She stated that she told            hew-as uncomfortable_,
but-      convinced her that it would be okay for her to be there. be recalled that -
roo~e seemed "engrossed" in a video game on his computer and that he was ·wearing
Bose headphones.

 ~ t ated that - h a d a loft bed} which \\-a.5 dose to the ceiling. (Attachment E) She
 said she realized ~wl of drunkenness w~en she_had difficult) climbing up i n t o -
 bed.3 lllll5tated that       -erooved her shirt and Jeans and thre,Y them off the bed. ::>he
 said she put her bralette and thong m1derne.ath a pillow because she did not ,-.-ant to be
 naked in front of -       roommate when she got dressed. She recalled that-vas
 already in his boxers..

          stated that she and . .kissed and he performed oral sex on her.4 She said that
•       ~ld ~       he ·wanted to have se.~ual intercourse and he put on a condom. She stated
    tha1~ed his hand and rubbed hen<igina for lubrication. - said that they had
    had vaginal sex in the "mL,;sionary" position ~ o n top a n ~ on her ~ack. S~e
    recalled that the condom tore and she asked ~             t another condom, which he did
    She noted that llllllseemed annoyed and accused her of breaking the condom.

- s t ated that she and~en s,,~tched to the doggy style" position.5 She said that
~ a S on her hands a n ~ s and that her upper body was against the end of the bed
while -   was on his knees behind her. She stated that during vaginal intercourse in

    ; lnv.stigJ.tor Le\,;s aske~          if she oolie·,·ed !.he n-a1 too intoxicated to eng"§'= in ~;e."ual actfrity .111111,t.ted,
    "My judgment was impaired, bat I consented and I wa; not black out drun}-~"



    1
     In-
    ' In-         .vritten :;t2tement, ;.he said ilia- also com.cruually !)"..lletratad her ,;;a;g:ina. \V!th his finger. ~
    ,tal~ e a;k,.,o.d . . .or a condom, he put it on, :ind that he pao,etrated her anus with hi; fingers, u-hi~
    qua ified a;. ~collxll;;ual explorati,m." {Attachment B)
                 ~rritten .;tatement, she ;tated that ;.h~ a:;,ke,d to swit,:h to the dog'g)· ;t;· e p,o;iiion, a.>1d-
    co:idom. (Attacb:maol B)
                                                                                                                         put on a new


                                                                                                                     Page 3 of44




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 this ~dlllllll,enetrated her.anw: with his fingers. ~ d ~ she VvclS Slll'prised
 ·when~-anus with his fingers b u t ~ it did not bother her. She
                                                            1
 stated11iii1ieca          had notmentionecfanal  .. ~tion, she brought it up. She said
 she that when they           bmng sex, she told-that she might be open to having
 anal sex if he had a lubricant She recalled that      old her to "spit." -said that she
 told llllllhe would not spit because saliva would not be sufficientlubricmon. She stated
           to him tbatshel\10uld only consider anal penetrationifhe~.
 tbatslie'iold.
 noted that during their conversation, her buttocks were f a ~                          !!!!:;:i1:!t-=:P
 t=s=~~~::u'::!1==of~i:,~~.
 penetration hurt and she wanted him to
                           that         ~d
                                           · . :=   ·o.nhurt.;pped
                                               tbat~r.·.
                                                        stop.
                                                               tthe         thate\!
 and she mO\-ed so that her anus was no longer explllt' She said she wan                            to discuss
 the incident \\ith-but he \\.«IS not interested in having the com'el'Sation.

                    putonherunderwearand clothes, and that while leavmg-rooin,
~ed
~                   "asshole" and a "bad person." She recalled that when sbe      room,        1ell'ms
 she         a male who was brushing his teeth. She said she pointed t o - \\.iio was
 standing in his doonYa.y, and screamed tb,11       das an "asshole." She alllrthat after
 she entered the stairwell she began to cry. She said she called
 her she could come to her room. She stated that while walking from
 =:!,~!!!'na'::.iliit~erecalled~
              escortedlierto-
 over their shoulders and                She said t ey
                                                                              she saw
                                                                     questions,
                                                                                                          at!
 ~ not recall what she told theiiioiiier than her request that they take her to

Illstated that               ~rought her to                       . She recalled that she
~ went to               room.--said she had .rl.ffi...••tu    · and that she collapsed
in her hallway on the way to herroom.6 She stated that               d~~
           and he came 0\"81'. She recalled so~on tlie         mherrcl!Plie said.that
          called their resident assistant (RA),t She said that an officer from the Duke
              Police Department picked her up a n d ~ ~ her to
 Duke University Hospital. She stated that s h e ~ rapeiii'pertormea at hospital
 (Attachment F)
 Text messages provided by 1111 reflect the following communication on January 19,
 2018, be.ginning ~t 3=o8 p.m.:

       -What'd you tell people[?]
          Dude what'd you do[?]
              .lilliJJlllb.y??
              ~ n ' t tell people I raped you                                I ha\>e no idea '\\'hat
               happened and I'm hearing a fot of stuff
 d ~writtflll atatemtmt, she ll:aid she colbpud clue to amotiom1 distreis. llllll."'A
                                                                                   !ltated tiiat su felt aaaJ
 p;;:mshe went to the hospital.   (AU:achmmt B)                           --
 • - - the RA, did not respoad to J:nvestiptor Lewis' emails HtUesting to interview Iler.

                                                                                                  Page4of44




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                ~ k to me please

          -       l\Iy name is ■ and I really do not think that is a good idea.

          -       llllr am so confused, I want to know ,vhat you're saying.
                  I've heard some terrible things and I don't know where they're
                  coming from. I just need to talk to you

     (Attachment G)

                       RESPONDENT

     The investigators inteniewed-'ia Zoom on May 28, 2020, from 3:05 to 4:04 p.m.
     Joe Cheshire - a d v i sor., \ v a s . t during the inteniew. The im·estigators
     conducted a fo~nteni.ewwitb               ,ia Zoom on June 11, 2020, from 12:31to 12:41
     p.m. :Mr. Che.shire was pre.sent during e follow-up interview.

             va.s a first-year student in January 2018. He stated that he met. t a fraternity
 •          two days before the alleged incident. He noted he did not intera <   her ben\·een
     the first time he met her and January 18 2018.
 llllstated that on the evening of Janual}' 18, 2018, he saw ~ t a fraternity party. He
  said that after the party, he \Yent to Devine's. He stated thatb~;nv- at Devine's and
  recalled she came up to him a few times and tugged on his shoulder. He said he stayed at
  Devine's for an hour and then left with fraternity members to get food. -stated that
  he returned to his room at approximately 1:00 a.m.
 ~        ated that he "-as getting ready for bed ,,·hen l1e receiYed text message.s from 1111
 requesting to come to his room to '-book up." He said he fell asleep and t h a t ~ e d
 him numerous times. He recalled he answered her call and provided directions to his
 residence hall. He said be let her in through a side door an.the·         walked to his room.
 - stated that his roommate, ■■■■ ,\-as in the room when                       arrived. He said
 the lights were off, but the room was not pitch black because              computer monitor
 \\d.5 on. He recalled that-.illvas sitting at his desk liste                usic and pla:,ing a
 ,·ideo game. (Attachmen~
~ t ated that he and-kissed and she removed her clothes before she got into his
-i:r.-i'nvestigator Lewis asked--f be threw- clothes away from his bed                 atlllll
 ~ d . He said he did not r~oing so, llllstated that he performed oral sex on
 ..-.md then they engaged in vaginal sex. 'When asked if he asked ~ o use her saliva
  for lubrication for vaginal sex~ he said he did not recall, but not:r"trat it could have
  happened. He recalled he used a condom. When asked if the condom ripped and if h e
  put on a second one he said yes, but also noted that be was not certain because the sex-ual
  acmity occurred..sago. \\/hen asked if he penetratedlllllllanus with his fingers
  during vaginal se,        aid he did not recall doing so.

                                                                                   Page 5 of4.t




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 -   stated that during yaginal sex, 11111111,--uggested the do&,ry style position. He s.tated
 ~,·henlllllltumed around she sa.t~tick it in mv ass." v\7hen asked ifhe a n d .
      discussed ~ atio~r to anal sex, ~ a i d he ·did not recall. Investigator I: . "
      informed. . .that~ a i d that she told him that she had nffi·er tried anal penetration
      and that she asked if he had lube. -stated that he did not recall llllll!lnaking that
      statement or askin.!7 for
                            . lube. \Vh e ~ if he told- o spit to create lubri.cation for
      anal penetration          said be did not recall. He s~did not recall-elling him
      that spit was not o y and that she did not want to engage in anal sex wi · . brication .
  •     stated that he penetrated . .anally \\~th ~nis. He stated he used the same
  conoom that he used during \a.~ p enetration. ~ a i d that after two brief thrusts,
 - a i d, ' stop" and he stopped. '\\lhen asked iflllllltold him that it hurt he said no
  and that he did not recall. Investigator Lewis a s k ~ - t o l d him why she told
 him ~ - ~ a i d he did not recall. He stated that after he stopped penetration, he
  ~d ~ookedat each other, began to kiss, and resumed vaginal se..-.: for three to four
  rrunu es.
 - t ated ~t at ~              'illllat7ly 3:00 a.m.  h:  as~ed- if it \\ciS okay to "call it a
   mght. He said tha~ked if she could stay m his ro:"tte st ated that he t o l d -
                      to ao to class the next day and asked her if she could go to her room.
   that he \\o.S eage!!r
 -         stated tha        climbed off his bed and got dressed. He recalled-was
   "lingering' in his oorway. He stated that as she ·was le.a\"Jno she yelled to h:i.ni"'ttrat the
   ne.,i time they should go to her p1ace to get lube. He said tha          so commented about
   being upset about not sleeping in his room. When asked ·               alled him any names,
   he said he did not recall and            did not believe she di . e said he recalled leaving
   to go to the bathroom and that            eft at approximately 3:30 a.m.
     During-ollow-up inten·iew, lnvestigator-uestioned him about statements
     he made during a meeting with Dean Krebs in .t-eoruary 2019, a year after the sexual
     encounter. Investigator Le',\~ informed ~ a t according to Dean Krebs notes, he told
     her that prior to anal sex, -told him~t she \\-anted to have anal sa-x·-t be
     looked for )ube and that he tried to use spit for lubrication. (Attachment I)           tated
     that he did not recall looking for lube or using spit for lubrication. Investigator ewis
     infonned h~ that accor~g to Dean Krebs' notes, ~e told her thatllllllaid "ow" during
     anal penetration. lllllllaid that he recalled lltaid, "~ ~ d ~ e d that he could
     not recall if s h e s ~." Investigator Lewis m.tormed IIIIIIIJhat according to the notes,
     he informed Dean Krebs that after he and lllllltesumed vaginal sex, he was not as nice
     to her as he should have been. lllllllstated that he might ha\·e been referring to his denial
     of-request to spend the night in his room.
 - t a t e d that while on his way to class later that morning, he received a text from a
  tratemity he was rushing. He recalled the text message informed him that he w-as no
  longer welcome to join the fraternity. He said he receiYed a similar message from a
  different fraternity an hour later. He stated that later that afternoon: his friend -
 - accused him of r a p i n ~

                                                                                      Page 6 of 4-4




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 On J anua.ry 19 2018   llllllllmd                     engaged in the following text message
 exchange beginning at,,,;m..

                      iNhat's going o n - ?]
                      \ \.'here's - ~
                      Please talk to me [.]

                      Hey right no,v it's probably best if you don't talk to - r
                      do anything you may regret, I know it's frustrating           d
                      ta hear but the best thing to do right now is wait and not make
                      contact with people or react t o anything you h ear.

                      Okay can you please just tell her if ,.,-hat's going on is all true I
                      really h ad no ide,a what was going on and if I did that I fucked
                      up badi but I really don't think I would do that.

 (Attachment J)
 Im·estigator Lewis showed - t h e text messages during his inten~iew. •stated that
 " ·hen be sent the message to , _ h e did not have a full underst               of -
 allegation. InYestigator Lewis asked illllllwhat: h e meant v,nen he said "if I didthatl
 fucked up bad."- a i d he was referring to raping someone generally. He noted he


- a t e d that he asked ~         ,;hat he recalled when
He said that - o l d 1iiii'i'thaf he heard1 "sex noises.
                                                             . ,:as
 " -as trying to conYey to alll11at he would not baYe engaged in that behaYior.
                                                                         in the room with     11111
~uestioned the timing of~_llegation. He st ated that he belieYes thatllll
decided to accuse him two ye~cause he was recently featured in newspapers and
on social media for his ,rnrk on a pr oject .




-\-as
 Im·estigator Lewis interriewed . , - i a Zoom on :May 21         2020   from 4:00 to 4:15 p.m.

            a first-year student in January 2018. He stated he met-prior to coming
 to Duke because they were both from the same state. He said he does not know -
           ated that around midnight on January 191 2018, he and his friend
           king to their residence hall when they noticed a female crying under the arch\\-ay
- on East Campus. H      ·    · when he asked the female if they could help her, he nol:1
                                                                                        . ·ced
  -it was       He sai          ooked like she had lost her breath and she could not speak.
          tated that          en asked them to walk her to her -       and they agreed.
     -tated that duriniiia~k, -told them that she had been raped. He recalled
 that-told h im and __.=t she and the male were in his room engaging in sexual
                                                                                     Page of44




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        activity ,vhen he prooeeded to have anal sex with her. He stated that - o l d them that
        she said no to the male, but he continued to engage in the unwanted behavior, llllltaid
        that lllllmentioned the male's name, but he could not remember it.
    -           lated that the next morning1 -exted him and asked if he could take h er to an
        ottice on East Campus to speak with someone regarding sexual misconduct. He stated
        that he walked vvith - o the office. He noted he had not heard anything regarding the
        alleged incident since that time.




        The investigators inteni.ewed- ia Zoom on May 22,          20201 from 2:01 to 2:16   p.m.
    - w a s a first-year student in January         2018.   He said that he did not know -          or
        llllllin January 2018.
               tated tha on January 19, 2018, at around 2:30 or 3:00 a.m. he and his friend
                vere walking towards Blackw·ell Residence Hall when they noticed a female as they
        were approaching an archway. He said he did not know the female, but        llllltid.    He
        described her as "hysterical"' and "mostly incoherent." He said that her face ,'\ras "pretty
        red" and it appe.ared to him that she had be-e.n crying. - stated that he rec.ailed she
        commented, "We ,,·ere together, but I wouldn't haw. let him do that." He stated that he
        andllllltscorted her to her residence ball.
- -tated that a few days later~- t o l d him that the female had been intoxicated1
~ d e d up in a room where sh~unwanted anal sex. He recalled that - t o l d
 him that he took lier to the \Vomen's Center.




- "- as
        The investigators interviewed   •·ia   Zoom on May 22     2020,

                a first-ye.ar student in ,January 2018. He said he me ·
                                                                          from 3:33 to 3:44 p.m.

                                                                                n January 191 2018.
        He stated he did not k n o \ -

-            stated that at approximately 1:00 or 2:00 a.m. on January 19, 2018. he and -
        , v.eass.ri.ng the Randolph Building on East Campus "·hen they      sa.wllll He
        tha:         ppeared to be happy and that she told them that she was gomg to-room.
        He           t he a n ~ Y e                        oom. . s t ated that at approximately
        3:00 or 3:30 a . m . , ~ t o                room and was crying and sobbing. He recalled
        that later that mormng or th e fo ov,;mg ay,.•          old him that someone forced-
        to ha,·e anal sex.




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_ ,'aS  The investigators inteni.ewed-,i.a Zoom on May 25, 2020, from 6:oo to 6:3 p.m.
                        a first-year student in January 2018, She said she met.during their
        first ye.ar and she noted that they are friends. - s tated that sh
        their first year; but noted that they had not spo          years.
                                                                                 ~   u:ring

- t a ted that on January 19; 2018, she \\clS in her residence hall ,,·ith- vhen she
 rece1vee1 a call from llllat 2:00 or 3:00 a.m. She said that .   ,-as "~ g ." She
 recalled that ~re:r.:_d asked to come to her room.
- ated that "'hen llllarrived at her room, two males were holding lllillllup
because she appeared to be unable to walk on her own. She recalled the males-rorcr,1er
that they found       n an archway. She said tha.s  he utllllin~           ommate's
bed and called         riend -      She said that      ppeared t o ~ c k and that
h:r eyes looke " ig.n She stated tha~        reed to ~       o- -oom to take care
other.
               stated that she had to support-0\"11 the stairs to her room. She recalled
             as ,-ailing loudly. She said that she helped I         md :l llo  -       room. She
     said that -     appeared to be ' hypen-entilating." She statedfflrllii told them that
     she had consensual vaginal sex with         ,v1d that he penetrated hera.nus with his fingers.
     She said that        lso told her that she toldllllshe would not ha,·e anal sex unless he
     had lube, but         enetrated her anally. She said that llltold her that she yelled for
    -       o stop, ana .e stopped and she got away.s
-lllstated that after~hared her .account,                               e.d           an RA, and
                uggested they c ~ " i omen's Center. Sne re e tha                 ecided to cret a
        police escort to Duke University Hospital. She said that she and ·     ccompanied   liiilil
-               sta ed that sometime in Janna.I}' 201~         ked her to prepare a ,..,Titten
        statemen½ ,\-hich she prepared and provided t o - - a tex't and email on February 2 .,
        2018. (Attachment K;s




        The investigators inteni.e,,·e--ia Zoom on Ma:y 2 7 , 2020, from 5:02 to 5:21 p.m.
-  vas a first-ye.ar student in January 2018. He said h~during his first ye.ar
~ e said they are friends. He stated he does not know ~
    -        stated that at 3:31 a..m. on January 191 2018, he received a call from - He
        noted he did not know ~               time. He recalled that           -old him he needed
        to come over, and that he heard I l le.reaming and crying in the background.




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-stated that ·when he a.rriYed a t - h e sawlllllllln the common room. He said
  that -was screaming and crying."1re"'recalled           ~i  elped        her        lllto
  room""aiictcalled an RA.

   ce;Keu
            ted tha-told him that ,\-hile havi~ with someone she bad met, the male

   anally. He said-ndicated that she felt uncomfortable with somethings
   male;s roommate was asleep below them. He said she told him that she called
   and requested - c a l l him.
                                                                                      be-
           bout ana1 sex and she said no. He said 111111told him that the male penetrated her




 - a t e d that p-er -·equest, he prepared a ,vTitten statement in 2018 regarding
  the alleged incident. He said he did not pro-d.de the statement to -Attachment L)




   The investigators inteni.e\\-ed         a Zoom on ?-.fa)   29: 2020;   from 1:02 to 1:07 p.m.
  llllllllwas a first-ye.ar student in January 2018. He said ~ d - v e d t\rn to
  ~rooms apart in -                   He stated he did not know -
 - t ated that on January 19, 2018, he obsen-ed a female e.nte-room. He stated
 that he did not see either of them leaY~om.




 - \-as
  The investigators intervie,..,-ed-iia Zoom on June 1,

   during the 2017-2018 academic year. He noted he did not kno\-
                                                                  2020,   from 4:00 to 4:37 p.m.
               a first-year student in January 2018. He said thatllllsa.s his roommate

               tated that~ u a l ly went to sleep at 10:00 p.m., but on ,January 18 2018,
         \.--as not home at that time. He recalled that at appro,- ·   . :r 2:00 a.m. on January
   19, 2018 he was in his room doing math home,rnrk when                  ntered their room wi.th
   a f~male.             tated that the :°om lig~ts wer~ off, but · 1s    p was on. ~ t h a t
   neither             or the female said anything to him. He stated that soon afte-and
   the fem e entered the room, they climbed up int<-bed.
~ ated that he was listening to musici but the music was not loud enough that he
~ t he- d the female's ,-oices and activity. He said that at first he heard the
  female sugges       ~ 1ey go to her room since she had a single roomJ but t h a · ·         e
  the.offer due to the distance to her re-Sidence hall. He said that he thought tha         nd
  the female ,,rnre cuddling and sleeping until
  that he did not observe any sexual activity   bl!li.i:nded started "shaking."
                                                                    the female because
  bed was higher than fo-e feet from the floor and close to the c-eiling. He said he saw the
         's clothes on the floor . . - , t ated that he believed the female raised her voice at
         efore she got off t h e ~
•
                                                                                     Page 10 of44




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- t ated that the female appeared to be angry with -               when she got off the bed.
~ that he did not know ·why the female was angry. He said that he left the room
after the female left. He recalled that while leaving his room 1 he told his RA,
that.had sex in their room.
         recalled that two weeks later -   :informed him that there were allegations that
        e:-mally assaulted the female. He said that-asked him to ''mu.ch" for him .
. . . .tated that he told lllllllhat he did not kriow ,,·hat happened between him and
"i'IieTemale.




 The in\'estigators :i.nter.iewed .     ,a Zoom on JW1e 4,   2020,   from 5:30 to 5:50 p.m.
           \·as a first-year student in January 2018. He stated that he me~ at a
 semiformal event a fe." · da).· before J a n u ~ He stated that he met ~   uring
 their firs year and that they both fo·ed ~
~ tated that on January 18, 2018, he~ t Dev:i.ne's. He recalled that _
told him that he planned to ' h ~ t h - - ~ated tl1at at 2:16 a.m., on January
19, 2018, after he returned to . . . . he texted lllllecause he obsen·ed-n his
u:ndenvear- .valking to a vending machine to purchase a condom. (Attachment :M)
InYestigato~s asked-if he observed llllllat ■■■land he said he did not.
 ~          ated that at 3:24 p.m. on January 19, 2018, he received a te..-...1: message from-
 asking if anything bad happened hours earlier. (Attachment M). He recalled that       1111
 told him that a fraternity and student life group~ to stop attending their e;;ents.
 He ~that later that day, - old him thatlllaccused him of sexual assault, but
 thatllllllllthought the sexual encounter was consensual He said that-old him that
-asked if he wanted to .orm anal se..'{ and that they had anal s~recalled
 that someone told him that            \'as crying when she left _ .oom, but he could not
 recall "·ho shared that information with him.




                                                                               P.age 11 of44




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                  Attachnrnnt A (Office of Stud~nt Conduct Report)


  Duke
   U   111 £ RS IT Y



Your Information


Your name




What is
your
affiliation?
Reside t
Assistant


Incident


Nature of incident

Se;;..-ual 11isconductlTitle IX-Related


How did you
Team of the
incident? Phone
Call


Student involved
i:n the incident




Factual account
of the inc.i dent




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                                                         -if
           last name unknown), a mend of                                      called     •          . the
               ~43am.                         t name unknown) ·was also i n - room at this time.
             ld - - that        111111m      been engaged in consensua1, vaginal sex. --told
              bat 't.hen, the malelllllt,'3S \11tith asked           she wanted to have anal sex. -
 said no, but the male had anal sex \\ithher w h i l e ~ ttying to get away.~d
llllwas drunk. \\1hen ■■■l-a\:v -ppear-ed slightly intoxicated but more
 emotionally distressed than anything else               ·as not physically banned but looking for
 sources of information to help na,igate next steps. At that p o ~ · the :le on
 call to help sort tbrougg
 Somel\nat intoxicated,
                           anpous, llllalid
                                        ud
                                          ememencv options for
                                                           not ·want r make
                                                                              mce        was still
                                                                                           binding
 decisions.~ged the RC on call 3 times (3:46am, 3:52am, and 3:57am) with 2
 different cellphone numbers but did not receive any callbacks (as of 4:55am). At that point,
llllllllllllleacbed for the Women's Ceo:&ite                 and called the emergency page number to
1!1!11111 Sheila. Nurse Sheila talked to               directlv and recommended-o come to the
 emergency room for a physical examination.                      called 911 initially for a hospital
 transport and was re-routed to Duke University Police Department (DUPO). DUPD began
 asking questions a b o ~                  j          formed the DUPO that illlhad been raped.
              Jid not feel comfortable with the number of questions DUPD was asking. DUPD
 said okay, and they would call back later. llllaatiednun,.                        o con:fum this was a
 good, legal option. Nurse f l l a : : ~ and told                                               did not
 need to answer any uestions ifshe was not comfortable. At that point. DUPD called -
 back and informed                     Officer Weaver ·was on her way to pick ~ f r o n t of
 Pegram dorm.                                                        outside to the waiting police cars.


IR#
00079-2018·


Reported On
Januaty 19, 2018 5:04 AM

Additional Incident and Student Information


Date/Time of
incident
Januaiy 19, 2018 2:30 am


Wa
DUPO
                                                                                           Page l3of44




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iri~
ved?
¥es

ln~ntlocation
~~egtam

Room.




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            Attaehment B




             --:..-r·
. ._. . . . _.:
    I came Co
                =.:. _____. . . . . . ,.
                   . .           ...m                        aniund 2:3CWii on Ola man'I~ offrldl1.,-,

h t ~ • 1111d then DOWIO's. Upon erriw'l9 ---■■ --me in 1lle building •net I
was llllderlhe lmpnlaaion 11,-t lie and I IIIOIAd be atone In hlafOClffl .-earuer corMlftlllllall,. I
came IO               OOffl wllll t i e ~ illleft1ioft of ha\111'18 IIOll8I ftlfetlol'le \Mlb IIIM lnallildfng oral
and \11111~ 88lf. If con&enlMIIII. I had no lnterllfone of pat1lclpallf!G In anal MX lhatlllght.
   Wlletlweamted lllltls~lllel'OOll'l!Mla-.....,.illndl ~ Ml ......
4111001'111'ortllblo wilh 11\ia, end brought up Jlal M C®ld haw boon alone in my room lnstoad, • I
have a eiingle. H& complained IIIO&d ttre dletance of my dorm and eald hll ftlOffimale bad on
headphone:& and-a too c:oncanlr8llld to notc:o us. His roomna mMlrloolled at me lo my
~
    Merunoorrlorlllbly egreo1ng         to...,.  In hi$ room. onlyllo0a\l$0 hi$ bllid wes fulybftlJd lhlsh
and out of eyeel{Jt1t of ha mommeca, wnowu play1l1g a oompwirgame at t116<1!88k). I
lfruggled \o cllmb uP hie roftad bed, u my coetdlnation . . ll1!J'llll9t,I due lo Vie alODl!d. I
~ !Old                   ,.m drunk. Like really dn.lnk. I wouldn't be h(ll(t If I were acbar. 8obGrme


!lad been telli,g )'OU Since fight llelcre we tell Ille p11199me
                                                                    m:,mWO
lcnowl belletbllcauSe ,cc, hlhe been aferk to ma di ni9M- You were rude about ho~ \opay
CNh for me at Dovlno's CMlfl thcqih I Yllnrno-cd. YoU U,O                                IMl'l aclln, and I
                                                                                     .:i ,nycaah and 11 toc>II
tho Uberwllh )'OU, I wwdnl haw cash. Youd ldd me ID '8no my friend and it would be f1no,
Yf/4/d 1ak8 C8l'8 al It. 1ben )'DU left me In Dn!ne'a. Tdaly dl8a;lfl88181l. And wherl I wantad ID
~oor...w,,igllt. -,ou rwl!dme ond mode mo~ ellietlying abcn.itJOllll't'OCIM..,.~
              &it rm h819 now ao whatlmlr I 9fllllB8.•
                   that lie l'lacln'lbaen a 1ark" attd that Del/Inn Nldft"tillMtl a~ deal Ha aald
                 hi& l'OOffllNll8 would be In the niorn baclMa ha was auppoeed 1D be t&nllng. We
!lfarled 1D ldsa ltlorlly llller lhls argutll8III. I Clfdn'l proceed fllllller Wlfh my Ilda Cll'ltl& ergumanl
~ I . , _ , howauld"'lapwtlh .._
     Ila 1lmlS JIIQfl9IS8d. lleul'lllmlled me, He waalfraadyomytn Ills balall'-lldat& H&ltnW
tdfl my pal'llt end my ihlrtolftto bad ond orllotlo tocr, ovonwllerl ...kOd hltn,IOI IO
baclallN llen I would ba furoad ID be only In my braletl8 lll!d 1ttong in i'llfll of Na moc11118ts
when I a c t ~ ~ I
ldBlllng al maulh and bo~
                               ..,,,ged  \o keep my tlrlllelllt,11atd thOng on lhtbed.Alll!t IIOtlld
                                      .,,.. .. 18d c:onaenaual cnl aax on 1111, and c:anaansuallf
penatralecl ffl'I vagina Willi hit flngere. I uked fora candOm and ha pn,ceec!ed 1D getOllilil and
pul1t011. Ho n u t ~ my 11nuav,i1U1 hl8 ~ which lwu u~'Wltti.bul
~ to 11appe11 and I am cauali¥tto M ~11'$1111 eiq:l!Qtatloft. allllouGtl there wae no vetbal
clliSCua:IOl'l of lhlf-
     We l1la1 118d p,anlle,.wglmd au In eie mlaaicnsly poalliCn. Hs amppad aflar a bit and llllid I
had~ Ille condom, towhieh I replied, 'DO you 118'4 aftOlllerT I puffed olf l:he 01lllt tie Md
on, wllll:h &118ffl8d ID up&al him, allhoup I diln't undaralandwl!J since ha had ,lu&l li8fd to ma It
had~- He lellhe bad. got IIIOU$', and dlmbeel bedtu,-. l Nk$1 lf we coul!I awnch b
~ then, arnl he put on the new cofllklm. We continued to hlwa panlle-vagilfd eax In
t h e ~ pomliM&lld ha aga,n puahed hiaft..,a lnb my atWS, I lrlad ta benicaplll& lO




                                                                                                                      Pagel5of44




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 lleflctMheteemed lntnst8dlnamd,sowt111e•1n1t1e ~poslllon. • ~
 Nld. Tve ,,._.trted ana1 befant, but If ya, have lube. I amwllfna to posdlly ty tt.•
 He ntpled. -sp1.•
     We hed used "8plt - 11ft addonllklbrlGantto natural Ncnllonl once arWaeCo get lhlnp
 1111111d di lhe penl!Magl,_-. butt wae notokay wllh using llpll as the eote tubltclnt for
 anal. I wau1CI nol htwe ewm bnMlghl upt,tna anal HIC If tie Mel not 1111118d IOwant fo IO
 aggrashldy thlvugh bis pend,atlon of mrenw WIii bis tlngera (wD,toulaildng me}. I answemi
 hlm. "No. Spit II natokay. ff JDl.t don't hoe real ka'be. I don't wanl 1a.• We M118 stm In postlfon
 t'ardo09Y- dutl119 Im COIWllsat!iD,i. but lie penile '¥li!llna1 and Inger plflOlnlllloft had
Cl181edml~-:-•llboutconslderin;1,yfl,a8"81.
   Deapillttbla,                    to pa,relnde"" IIIUI Wllh hts plftls. He conllnued farl8Vlflll
11M11, and Ute . .            I was mcpntHlng that ll"""ltld I Clld not want fD be pmtlclpatrng.
"Ow. This buf'l8. 8tDpt I 811d nol OW. OW. ow.• 11oo1cect down to "'Y' blllya:nd wf8tled II to ep
wlh a1I of mr mfUht. I was p,e8led against Iha lt'ld of lie bed and nppect. His penis allp,ped out
of m, anus after severat lhNsls, afthou9h I do not think ft was pul1IOSIIM.. The manner seemed
more elmlarto 111n IIICCldental e8p tiat tecommon w!UI br09d lhl\letB In pen!IHqlnel ..-.1n "'Y'
expertence. I lmmadlala1y C'Olled over at the oppa,IUnltJ to IIIClf)8. fD a 111Ung position sa he
could not Nlch my..,. qatn, I tmmedilltel)' . . . . ■.want kl-• Rtghlffl:IW, I want to
leave.• He 1111d tomdllng aloflU the llneo of "\'GU've M't dillk:dt al night. &.EAVE If you went
 to.•
     I locatitd my llrallll andlhOftG wllile on the tied and qulckty pul lhlm back on. I Nld. Us
 tllk M0Ut1hl8. I wentfo tllkllbout (t.• My 1ntent1on1-. ro ag8h . . . . . lhet I did notconsen&
 to whit hed)Uat happenact. but he only told mo. •No. JUll liclclng felve_. He cl.,_,     Glfof Ole
 bed and I lblowecl, immedlatillylaadl119 my stlkt and pantaand drlnlng. I ,.,_.... IIWlll'lt
 tmeo. "Vou'fltsuchal,cldng ...,._ I aadlldcMlyou. Wflata licklngclk.'k.' Hetllaod In the
 CloarMl)' u I qutot,walkect ouL There w a boybnllhl119 bis llefh In thell!alnoln down the
hd;llookedhlmlnl\8.wt11elwasanlhovecpof ...... felduNd~wasllllln
118 dGorwa)' or hlsraom crown tie hllll). 8ftd 881d, "Her. a ftlcfdng ~
    I beganto~up "'Y'PICIWiltt _,.,,,,, 11y1ngto fNM911111Dlha...,.andoutofthe
buldlng wltl8 lnlmcktatld Ind panicklna, I pullld an rnyJIIGkeljYlt .. I found Ille ..... and
made lthllwayclO'Mlone tllghtbefDle. lulf,lg4nlD 11111'1, I Htdown• the-ofwtllll.Md
Jua1 happened hit me e\l8n   hard•.  I oaled lie tllll pnonwho came to mind.
She 111181 In ffl)' bulfdlng and I ~ SM 'WOUkt be awake. I needed help. I needed someone. I
puled myself1Dgetherthebestl could,enoughto Did upand lu\!91.tlebulldlng. On "'1'118'1
blckfD Pegrem. I WRIIP'l9 so hard I OCIUlctnatatand!IP'Vh(for . . . . . af'elwMIOfflll.
Whim I had made ltto tie Blaclkwlll lfflh.                 nd hit ~ d ,_ Tbly
u1cec1 melflwasalmy,buitl     CDllldnolllll,llaa7ttoua='ECMW
 pi,,.lollyauppmt me and led me Decltto
                                                         ...
                                                   . 81 lhe.wayto
                                                                              lt181bothhelped
                                                                                     • I ocuct only
say., can'lbelleve whalJusttllppefted. HOIW ooutd thlS                ·     gatto-room.
 I oontlnuldfil, oy wtllle ehe bald me. lcdlepaed ~heron her ruommsWs bid. She and. .
~ m o . lftlll "'8Mnlulllybeganca111ftaolherfrlendtofmlneto(iOIMhel,p.
. . . . . . . . . llelll'lltoanswerlllephona.HocameOVlfhmllllllo-1t
 wasap~MM.




                                                                                                 Pagel6of44




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      They lried lo lead me ba to my .room, but 4 couldn't meke I coll8psed In the tlalhitay,
 i.lnable t.o get up because of the emo.ilonal S1re$$. I was c,yl~ as hard as I evef have beCore. I
 1etd on the floor sceam1n9,           ng to procou ow tn1s could haYe happened to ma. but I couldn't
  process any reJI, ooher'enl         ug'hts. Somehow th:ey got me kl 8 standing pos n and - -
  onlock.ed rrtt room. I colapsed again. I lay on lha toor I a ball ~g. screaming, e ~
 unli• • • b l• the had no optiOn !but to call the Resident Anistant on-ail,
      I remembef - - -king whae ~                               d my eed n Is b.lp, but I ~           only
  catch a few ~ too consume<! by the tears a/ld lhe e.mo nlll alld
  physicel, pain that kept me on the floor. Somehow, I enc:led up           the phone with St,;cDo
  Brodenck from tne Women's Center who talked me through some options.. I tried lo cslm down
 enoug lo pl"OC6lll!I 'Wh!Jl she was saying, but it w s dl.ffllcult, I Wel{fhed rrr; opOOr\$ !IS t,~t I
 could, glv Iha.I I W8 in such disfrelS, and Clecided to go to             hOSpilAI lo have 111' exam done.
           iihed forwnsportwh e lllllllt'anllel.'Uy tried to p,epare a bag lo· tal<e wf1h us. I W8S
  able to gt;and el s polnl, as t h e ~ s lllJng me. I h I my bed several tlmes, so fi':ustreted
 b)' the events oltl'lc nlg I bec:l.'nc loo ex usted to continue.
                  elped me ch1mge CIOCl'le, beclJl.lse 1'°1d hev- I 001.ild not stand lo suiy In the clothes
  from that night: ho III nt wilrt me to         tl31hroom anel h ~clean ,up ~ t:ieel • we ctiuld .
. . .!l)'ed at Pegram end I requested INl~                   nd ~ accompany me to the
  hos tel; I ebsotutel.y needed them both. I c°"" not 90 w hout 'them. I could no.\ do this t,y
  mysett a.I'd ey both k         cffl'Jerent pieces of me. ey made me ·reel nfef and were lsmg to
  ground me. The 1cars fl lly mostly s:topped, and 1he numbtle$$ set In. I slatted IO feel · pru
  In my etw.1• lll(lre and !rted lo -respond wtlen people poke to me. I went ~lonely numb then.
 All I could feel WBS t.he ~ pail'!. My btaln tll!ld lllopped. I became a Shel of 8 p,enon. I
 remained In th . ~ utdll la'l.e lhe next. mcming, when we rewmed '10 the dOnTI ffom ll'le
  hQIJ tel.
 We anived at the hosplal around 4:30AM. While Uiere, I slept for .a shod j)C!'iod, bOt only after
  Ibey administered Tyleool to t,elp my physical pain S\lbslde, end only because I was 100
  exhausted 10 stay awake. I ~s t,errrlfled to sleep becsuse I feared my brain woukl make me
 relwe the events of the l'ifght Mau me rellve how I had been v1ol111ed. Although momenta kepi
 ·ftuhlng Uirough my head ll!a1 caused mo lo ery Jor a shc,;t lime at or send rn& Into an
  lnlemal pe le, If I steyed B'W81<e, I c:outd focus on                         They were lhere to make




- OIM
    tnings bdter, They kept me    I ~ on ,

~                ounl of e eYen1B o1 the mom n9 of Janua,y 191h, 2018 8tl beat ll'lat I, •
                    remember end l'elCOIJnl tnem as or JanU31y 2.0tn, 2016.




                                                                                                     Page 17 of 44




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                    Attachment C (                                          ritten Statement)




D       I   r.t.. Ktebs,
        Pleasi,a«cpt I c fo Oo\\111 ;o.sm •wril1cn statement in rr:sponsc to yotB rc•tisc<I lr, ll<er da ll,d
Ma)'7, :?020.

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v.:,lue at Duke .arc .. _. _ -· •. . . . . .o m·y h-ri.hman                                    .-,i,d ti,.:, t my hrtutc and
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Case 1:20-cv-00996 Document 1-2 Filed 11/02/20 Page 60 of 173
   Attaclunent D (Text Messages Between

                           1:38 PM


                                             CD
                           iMessage
                     Fri, Jan 19, 12:25 Ml




       What where ar,e you




                                                Page 20 of 44




Case 1:20-cv-00996 Document 1-2 Filed 11/02/20 Page 61 of 173
    Where are you

    I'm still here



                                         --
                                     I'm so mad

                     I wanted t hook up with tu


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 ••• 111111 ~                    •                (

  <                                            CD




                                                Page 21 of 44




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   Lmk lot




   I'm ready for ya

   But you're not coming I bet

   If you don't come soon I'm
   gonzo


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                                                  •
                                                      Page 22 of44




Case 1:20-cv-00996 Document 1-2 Filed 11/02/20 Page 63 of 173
,11                                      '-' © .-,   *65% (fil
 <                                                        CD
      gonzo



      You here?




      Cmonn




      It's been 5 min

      I'm going to bed if you Lyon




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          Attachment E




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                             Attachment F (                                [edical Records)




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     Case 1:20-cv-00996 Document 1-2 Filed 11/02/20 Page 68 of 173
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Attachment G



                   Fri, Jan 19, 3:08 PM


    What'd you tell people

    Dude what'd you do

                                            0
..,1 Verizon   ~        1:39PM       •       CD


    Dude what'd you do

    Are   you okay??



    Please don't tell people I raped
    you          have no idea what




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happened and I'm hearing a l,ot
of stuff

                                   Fri, Jan 19, 7;07 PM


           talk to me please
             v-- ¥,,❖<?1-~cf~;-·rttf:.1   i;°'ij•.iM ·'L,,;;:ff :{f   :: ~~.&.{~~:;          Fr   :,~~'Tc{,'"~:\   )ft<:•:"'"¥ t , , ft in   '¥'.l ', t   •.




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        I am just s.o confused, I
    , · to know what you're

•           ~
      GD n                                        1:39 PM


<                                                                                                                                                  CD




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    Please don't te.11 peopl,e I raped
    you        I have no idea what
    happened and I'm hearing a lot
    of stuff

                     Fri, Jan 19, 7.07 PM


             talk to ,m e please




                                                 Delivered

-           am just so confused, I
    want to know what you're
       .
    saying

    I've heard some terrible things
    and I don't know where they're
    coming f rom I just need to talk
    to you




                                                      Page 34 of44




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        Attachment H (       ketch of         om)




                                                        -
  c:s




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Attachment I (Dean Victoria Krebs' February 12, 2oi.9 notes (redacted)



                    Incident Report                   2019: Note '"Update/005e File..



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Attachment J (fe.A't 1\iessages h etiveen




          t's ~oinQon -

     Whem'.s-
     Please tal w me




     Ok    can you p             tell her if wflat·s going
     oms all true Ifi            o Ide    het v,ros go ng
     °"end if I did
     don't 'I.hi k I WO
                                . up bad bur t really
                                 f

     Cant a roher




            IS



     Ok    but ls she okay?

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     little bit and ~en she left rm still so ~on:fused
     where it went •.rrong
     s    made fun of me alittle bit and ~ ~ug,ned
     arid then she left




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But \Vhy1 ke it's not fair ff she can Just tell
,people I :rap   r, ere's taV m01e- to ~ story
thant t

n,anks ,


How is




Yeah Id reafly 9pJ:>redate tha



Tomcm·uw tt r 4:1 , Wed          day mo   ng or
after .11:19
                                            -1'11 lt'!t her know




                                   \Vtdnesday mcming at 9?




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  UUl fflll' l

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 Tomorrow after 4.•O,       ~ morning or
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Attachment K         (__,.ext                                   Messages and Email Statements)




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Attachment M (Te..n 1'Ylessages Beb\"eell




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                      ExhibitD




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Duke"                      NIVERSITY



October 7, 2020




DearMr.1111,

A panel of the Appellate Board comprised of Dr. Carmen Rawls, Pratt School of Engineering
Assistant Dean; Tasha Curry-Corcoran, Student Affairs Education and Training Associate Director;
and me, reviewed the appeal of the hearing panel decision in case 00079-2018, dated August
16, 2020. The panel found you responsible for Sexual Misconduct, namely Sexual Violence.

You raised an appeal on the basis that there were procedural errors that materially impacted
the hearing panel's decision. In support of your appeal, you submitted a written statement on
September 2, 2020. The Complainant declined to submit a written response. The appellate panel
convened a hearing on September 30, 2020, which you attended, accompanied by your advisor,
via Zoom. The Complainant did not attend.

After conducting a thorough evaluation ofthe issues you raised in your appeal and reviewing
the hearing panel record, the appeal statements, and the information presented at the meeting,
we determined, by a 3-0 vote, that the appeal grounds were not substantiated.

You alleged seven procedural errors that materially impacted the hearing panel's decision.

    1.   You argued that you were unable to prepare for and question a key witness, Dean
         Victoria Krebs. Specifically, you assert that you were denied access to "essential
         information," namely the full, unredacted, notes from your February 2019 meeting with
         Dean Krebs and that you were not informed that Dean Krebs would be a witness at the
         Student Conduct Board hearing.

         The appellate panel concluded that there was no "procedural error that materially
         impacted the hearing panel's decision." First, the panel observed that Dean Krebs was
         on the witness list provided to you more than 120 hours in advance of the hearing, as is
         required under the policy. Thus, you had adequate opportunity to prepare to question
         her as a witness. Second, the appellate panel was unpersuaded that you were denied
         access to the full unredacted note. You had the opportunity to review the investigator's
         report, but did not object to the inclusion of only a redacted version of the notes, nor
         did you request in writing the notes in preparation for the hearing. While you maintain
         that you requested the notes in a pre-hearing meeting with Dean Mccullers, she denies
         that request was made and there's no documentary evidence to support it. When you
         did request the notes to prepare for your appeal, the Office of Student Conduct supplied
         them promptly. Third, there is no evidence to support the conclusion that the
         unredacted notes would have "materially impacted the hearing panel's decision."
         Importantly, despite the fact that you now have the unredacted notes, you did not
         provide the notes to the appellate panel. Nor did you provide any explanation of why
         the notes would have been relevant to the hearing panel's decision.

    2.   You argued that Dean Krebs, as a witness, "made decisions on what evidence was
         relevant, what would be provided to [you], and what information would be included in




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         the hearing packet provided to the panel." However, we determined that only the Office
         of Institutional Equity investigator in this case made the determination as to what would
         be included in the Investigative Report and which portions of Dean Krebs' notes would
         be redacted. As a result, we found no evidence of a conflict of interest.

    3.   You also argued that it was a conflict of interest for Dean Krebs to both be a witness and
         determine what portion of her notes were included in the investigative report. Because
         the investigator made the decision about the notes, we found no evidence to
         substantiate this basis for the appeal.

    4.   You argued that "had [your] hearing been moved to the following week as [you]
         requested, [you] would have been entitled to have [your] case resolved under the new
         Title IX grievance procedures adopted by Duke on August 14, 2020." According to a
         technical assistance document issued by the Department of Education's Office for Civil
         Rights, the new Title IX regulations do "not apply to schools' responses to sexual
         harassment that allegedly occurred prior to August 14, 2020." Because the allegations
         against you concerned conduct in January 2018, it was not a procedural error for the
         Office of Student Conduct to use the procedures set forth in the 2019-2020 Student
         Sexual Misconduct Policy.

    5.   You argued that witnesses who testified to the Complainant's "emotional capacity''
         were prejudicial. The calling of witnesses and the admission of evidence is left to the
         discretion of the hearing panel, and the appellate panel found no evidence that the
         witnesses' testimony was prejudicial.

    6.   You argued that "the virtual nature of Zoom did not provide an adequate opportunity
         for the panel to properly evaluate the credibility of the witnesses, Complainant, or
         Respondent." Nothing in the policy prohibits the use of Zoom for a hearing, and you
         have pointed to procedural error in the administration of the virtual hearing. 1

    7.   You argued that the panel did not apply the preponderance of the evidence standard.
         However, the hearing panel's decision clearly states it applied the preponderance of
         evidence standard. To the extent that this ground for appeal asks the appellate panel to
         reweigh the evidence, that is not an appropriate ground for appeal.

For the reasons explained above, the appellate panel voted to uphold the hearing panel's
decision and deny the appeal. We know you will be disappointed in this outcome, and we want
you to know that we reviewed the case thoroughly before reaching our decision.



Sincerely,




Tim Bounds
Division of Student Affairs
Chair, Appellate Board

1 Your appeal notes that the Complainant and her advisor made a claim that your advisor rolled his eyes,

and you imply this was only possible due to the virtual nature of the hearing. Even if true, this would not be
a procedural error, and there is no evidence that the alleged eyerolling had any impact on the hearing
panel's decision.




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                              ExhibitE




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                               Communi~




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                                UNIVERSITY'S MISSION STATEMENT

James B. Duke's founding Indenture of Duke University directed the members of the University to ' provide real leadership in the;
educational world" by choosing individuals of "outstanding character, ability, and vision· to serve as its officers, trustees and faculty: by
carefully selecting students of "character, determination and application:" and by pursuing those areas of teaching and scholarship that
would "most help to develop our resources, increase our w isdom, and promote human happiness."
To these ends, the mission of Duke University is to provide a superior liberal education to undergraduate students, attending not only to
their intellectual growth but also to their development as adults committed to high ethical standards and full participation as leaders in
their communities: to prepare future members of the learned professions for lives of skilled and ethical service by providing excellent
graduate and professional education: to advance the frontiers of knowledge and contribute boldly to the international community of
scholarship: to promote an intellectual environment built on a commitment to free and open inquiry: to help those who suffer, cure
disease, and promote l1ealth, through sophisticated medical research and thoughtful patient care: to provide wide ranging educational
opportunities, on and beyond, our campuses, for traditional students. a5otive professionals and life-long learners using the power of
information technologies: and to promote a deep appreciation for the range of human difference and potential, a sense of the obligations
and rewards of citizenship, and a commitment to learning, freedom and truth.
By pursuing these objectives w ith vision and integrity. Duke University seeks to engage the mind. elevate the spirit. and stimulate the
best effort of all who are associated with the University: to contribute in diverse ways to the local community, the state, the nation and the
world: and to attain and maintain a place of real leadership in alt that we do.
                                                                                    - Adopted by the Board of :rrustees on February 23, 2001




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The Duke
Community
Standard in
Practice:                                  Ill



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                         2017-2018

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        The informat ion in this bu llet in applies to th e academic year 2017-2018 and is accurate and c urrent. to the extent
    possible, as of July 2017 The university reserves the right to change programs of study, academic requirements,
    teaching staff, th e calendar. and other matters described herein w ithout prior noti ce, in accordance with established
    procedures.

         Duke University is committed to encouraging and sustaining a learni ng and work community th at is free from
    harassment and prohibited discrimination. The universi ty prohibits discrimination on the basis of race, color, religion,
    national origi n, disabi lity, veteran status, sexual ori entation , gender identity, sex, genetic informat ion, or age in the
    admin istration of its educational policies, admission policies, fin ancial aid, employment. or any other university
    program or activity. The university also makes good faith efforts to recru it. employ, and promote qualified minorities,
    women , ind ivi duals wi th disabilities, and vete rans. It admits qualified students to all the rights. privileges, programs,
    and activiti es generally accorded or made available to students. Duke University has designated Dr. Benjamin D.
    Reese, Vice President for Institutional Equity, as th e individual responsible for t he coordinati on and ad ministration of its
    nondiscrimination and harassment policies generally. The Office for Institutional Equity is located in Smith Warehouse.
    114 S. Buchanan Blvd., Bay 8, Durham , North Carolina 27708; 919-684-8222; ben.reese@duke.edu.
        The university also does not tolerate harassme nt of any kind. Sexua l harassment and sexual m isconduct are
    forms of sex d iscrimination and proh ibited. Duke University has designated Howard Kallem as its Director of Title
    IX Compliance and Age Discrim ination Act Coordin ator. He is also with th e Office for Institutional Equity and can be
    contacted at 919-684-1437 or howard.kallem@duke.edu.
          Questions or comments abo ut discrim ination, harassment. domestic violence, dating violence. and stalking can
    be directed to th e Office for Institutional Equity, 919-684-8222. Questions or comments about sex-based and sexual
    harassment. domestic violence, dating violence, and stalking committed by a student can be directed to th e Office of
    Student Conduct at 919-684-6938. Additional information, including th e complete text of the university's discrimination
    and harassment policies and appropriate complaint procedures, may be obtained by contacting the Office for
    Institutiona l Equity at oie.duke.edu or th e Office of Student Conduct at studentaffairs.duke.edu/conduct
          The Fam ily Educational Rights and Privacy Act (FER PA), 20 U.S.C § 1232g; 34 CFR Part 99, is a federal law that gu ides
    th e release of stud ents' ed ucati on records, of wh ich disciplinary record s are a part. For add itiona l informati on about
    FERPA see WW\XJ.ed.gov/policy/gen/gu id/fpco/ferpa/index.html.
          Duke University is prepared to make reaso nable academic adjustments and accommodations to allow stud ents
    w ith disabilities full participation in the same programs and activities available to students w ithout disabilities. The
    Student Disability Access Office assists students w ith disabilities w ho are enrolled in Trinity College and the Pratt
    School of Engineering. In order to receive consideration for reasonable accommodations under Secti on 504 of th e
    Rehabilitation Act or th e Americans with Disabilities Act (ADA), a stud ent must have a physical or mental impairment
    that substantially limits one or more major life activiti es such as, but not lim ited to, hearing, seeing , speaking, breathing ,
    performing manual tasks, wa lking, caring for oneself, and learning. Substantially limiting refers to an impairment that
    prevents an ind ividual from performing a major life activity or significantly restricts the condition. manner, or duration
    under w hich an individual can perform a major life activity.
          Students requesting accommodations under th e provisions of Section 504 or th e ADA (e.g .. academic, housing.
    etc.) must consult Dot Mishoe, director, Student Disability Access Office, 919-684-8231 or 919-668 -1329 TTY. to explore
    possible coverage. Students wi th medical cond itions not covered under the provisions of ADA must consult Duke
    Student Hea lth Services at 919-681-9355 for further information.
         Duke University recognizes and utilizes electronic mail as a medium for official comm unications. The university
    provides all students w ith e-mail accounts as well as access to e-mail services from public clusters if students do not
    have personal computers of their ow n. All students are expected to access their e-mail accounts on a reg ular basis to
    check for and respond as necessary to such comm unications. Students are also required to provide an accurate local
    physical address and a cell phone number through DukeHub.
        Information th at the university is requ ired to m ake available under the Student Right to Know and Campus Security
    Acts may be obtained from th e Office of News and Communications at 919-684-2823 or in w ritin g to 614 Chape l Drive,
    Box 90563, Du ke University, Durham , North Carolina 27708.
         Duke University is accredited by the Commission on Colleges of the Southern Associa ti on of Colleges and Schools
    to award baccalaureate, masters. doctorate, and professional deg rees. Contact the Commission on Colleges at 1866
    Southern Lane, Decatur. Georg ia 30033-4097 or call 404-679-4500 for question s about the accreditation of Duke
    University.
         This publication may be accessed online at registrar.duke.edu/universi ty- bulletins.




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                            ACADEMIC CALENDAR 2017-2018
Trinity College of Arts and Sciences: the Pratt School of Engineering: the Nicholas School of th e Environment: the Graduate
School: the Sanford School of Public Policy: the School of Nursing. Consult the calendars of the various schools for additional
information.


SUMMER 2017
Monday, February 20                    Registration begins for all Summer sessions
Wednesday, May 17                      Term I classes begin. The Monday class meeting schedule is in effect on th is day.
                                       (Therefore, all summer classes meet this day.) Regular class meeting schedule begins
                                       on Thursday, May 18: Drop/Add continues
Thursday, May 18                       Regular class meeting sched ule begins
Friday, May 19                         Drop /Add for Term I ends
Monday, May 29                         Memorial Day holiday. No classes are held.
Wednesday, June 14                     Last day to wi thdraw w ith W from Term I classes (Undergraduates)
Monday, June 26                        Term I classes end
Tuesday, June 27                       Reading period
Wednesday, June 28                     Term I final examinations begin
Thursday, June 29                      Term I final examinations end
Monday, July 3                         Term II classes begin
Tuesday, July 4                        Independence Day holiday. No classes are held.
Thursday, July 6                       Drop/Add for Term II ends
Monday, July 31                        Last day to withdraw with W from Term II classes (Undergraduates)
Thursday, August 10                    Term II classes end
Friday, August 11                      Reading period (Until TOO PM)
Friday, August 11                      Term II final examinations begin, TOO PM
Sunday, August 13                      Term II final examinations end




FALL 2017
Tu esday, August 22                    New graduate student orientation begins
Tuesday,August22                       New undergraduate student orientation begins
Wednesday,August23                     11:00 AM. Convocation for new undergraduate students:
                                       4:00 PM. Convocation for graduate and professional school students
Monday, August 28                      8:30 AM. Fall semester classes begin : Drop/Add continues
Monday, September 4                    Labor Day. Classes in session
Friday, September 8                    Drop/Add ends
Thursday or Friday, October 5 or 6     5:30 PM. Founders' Day Convocation
Friday, October 6                      Last day for reporting midsemester grades
Friday, October 6                      TOO PM. Fall break begins

Sunday, October 8                      Founders' Day
Wednesday, October 11                  8:30 AM. Classes resume
Monday, October 23                     Bookbagging begins for Spring 2018
Wednesday, November 1                  Registration begins for Spring 2018




                                                                                                                                  7

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    Friday, November 10                   Last day to w ithdraw w ith W from Fall 2017 classes (Underg raduates Only)
    Wednesday, November 15                Registration ends for Spring 2018
    Thursday, November 16                 Drop /Add begin s for Spring 2018
    Tuesday, November 21                  10:30 PM. Thanksgiving recess begins
    Monday, November 27                   8:30 AM. Classes resume
    Friday, December 1                    Graduate classes end
    Saturday - Tuesday, December 2 - 12   Graduate reading period
    Friday, December 8                    Undergraduate classes end
    Saturday - Tuesday, December 9 - 12   Undergraduate reading period
    Wednesday, December 13                Final examinations begin (9:00 AM.)
    Monday, December 18                   10:00 PM . Final exam inations end




    SPRING 2018
    Sunday - Tuesday, January 7 - 9       Undergraduate W inter Forum
    Wednesday, January 10                 8:30 AM. Spring semester begins: The Monday class meeting schedule is in effect on
                                          this day; Regular class meeting schedule begins on Thursday, January 11;
                                          Classes meeting in a Wednesday/Friday meeting pattern begin January 12;
                                          Drop /Add continues
    Thursday, January 11                  Regular class meeting schedule begins
    Monday, January 15                    Martin Luther King, Jr. Day holiday classes are rescheduled on Wednesday, January 10
    Wednesday, January 24                 Drop /Add ends
    Monday, February 19                   Registration begins for Summer 2018
    Friday, February 23                   Last day for reporting midsemester grades
    Friday, March 9                       TOO PM . Spring recess beg ins

    Monday, March 19                      8:30 AM. Classes resume
    Monday, March 26                      Bookbagging begins for Fall 2018
    Wed nesday, March 28                  Last day to w it hdraw w ith W from Spring 2018 classes (Undergraduates Only)
    Wednesday, Apri l 4                   Registration beg ins for Fall 2018: Summer 2018 registration continues
    Friday, April 13                      Registration ends for Fall 2018; Summer 2018 registration continues
    Saturday. Apri l 14                   Drop/Add beg ins for Fall 2018
    Wednesday, April 18                   Graduate classes end
    Thursday - Sunday, April 19 - 29      Graduate reading period
    Wednesday, April 25                   Undergraduate classes end
    Thursday - Sunday. April 26 - 29      Undergraduate reading period
    Monday, April 30                      Final examinat ions begin
    Saturday. May 5                       10:00 PM . Final exam inations end
    Friday, May 11                        Commencement begins
    Sunday, May 13                        Graduation exercises; conferring of deg rees
    April 27 - 30                         Thursday-Sunday. Undergrad uate reading period
    May 1                                 Monday. Final examinations begin
    May6                                  Saturday. 10 p.m. Final examinations end
    May12                                 Friday. Commencement beg ins
    May14                                 Sunday. Graduation exercises: co nferring of degrees




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                                  UNIVERSITY ADMINISTRATION
GENERAL ADMINISTRATION
Vince nt Price, PhD, President
Sally Kornb luth , PhD, Provost
Tallman Trask Ill , MBA. PhD. Executive Vice Presiden t
A Eugene Washington. MD, Chancellor for Health Affa irs and the President and
          Chief Executive Officer of the Duke University Health System
Pamela J. Bernard , JD, Vice President and General Counsel
Kyle Cavanaug h, MBA. Vice President for Ad ministration
Tracy Futhey, MS, Vice President, Information Technology and Chief Information Officer
Michael Merson, MD, Vice President and Vice Provost. Global Strategy and Programs
Larry Moneta, EdD, Vice Presiden t. Student Affa irs
John J. Noonan, MBA. Vice President. Facilities
Benjamin Reese, PsyD, Vice President. Office for Institutional Equity
Ri chard Riddell, PhD, Vice President and University Secretary
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Ti mothy Walsh. MBA Vice President for Finance
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Elaine A Heath, Ph D, Dean, Divinity School
Mary E. Klotman, MD, Dean, School of Medicine
David F. Levi, JD, Dean, School of Law
Paula B. McClain, PhD, Dean, Graduate School
Stephen Now icki. PhD. Dean and Vice Provost. Undergraduate Education
Valerie S. Ashby, PhD, Dean, Trinity College of Arts and Sciences
Luke A. Powery, ThD. Dean of Duke Chapel
Jeffrey Vincent. PhD, Interim Dean, Nicho las School of th e Environment
Nancy Allen, MD. Vice Provost. Faculty Diversity and Faculty Development
Edward J. Balleisen, PhD, Vice Provost for Interdisciplinary Studies
Lawrence Carin, PhD, Vice Provost for Research
Deborah Jakubs, PhD, Vice Provost for Library Affairs
Scott Lindroth. PhD, Vice Provost for the Arts
James S. Roberts, PhD, Executive Vice Provost for Finance and Ad ministration
Jennifer Francis , PhD, Vice Provost for Academ ic Affairs
Neal F. Triplett. MBA. President and CEO, Duke University Management Corporation


GENERAL ACADEMIC ADMINISTRATION
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Edward J. Balleisen , PhD, Vice Provost for Interdisciplinary Studies
Abbas Benmamoun, Vice Provost for Faculty Advancement
Lawrence Carin, PhD. Vice Provost for Research
Jennifer Francis, Vice Provost for Academic Affairs
Deborah Jakubs, PhD, University Librarian and Vice Provost
Scott Lindroth, PhD, Vice Provost for the Arts
Susan Lozier, PhD, Vice Provost for Strategic Planning
Michael Merson, MD, Vice Provost for Global Strategy and Programs




                                                                                         9

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     Stephen Now icki. PhD, Dean and Vice Provost for Undergraduate Education
     James S. Roberts, PhD, Executive Vice Provost for Finance and Ad ministration
     Search in Progress, Vice Provost for Innovation & Entrepre neurship Initiative


     ARTS AND SCIENCES
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     Arlie Petters, PhD, Dean of Academic Affairs ofTrinity College and Associate Vice Provost for Undergraduate Education
     Gennifer Weisenfeld. PhD, Dean of the Humanities
     Lind a M. Burton, PhD, Dean of the Social Sciences
     Daniel P. Kie hart, PhD, Dean of the Natural Sci~nces
     Robert F. Barkhau, BS, Director, Arts and Sciences Facilities
     Chris Clark. MS, Senior Assistant Vice President for Trinity College and Graduate School Development
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     Milton A Blackmon, EdD, Associate Dean and Graduate Business School Advisor
     John Blackshear. PhD, Assistant Dean
     Paula E. Gilbert, PhD, Senior Associate Dean an d Director of Continuing Studies and Summer Session
     Donna Kostyu , PhD, Assoc iate Dean and Director of the Health Professions Advising Center
     Rachel Murphey-Brown, PhD, Ass istant Dean
     Ka ren Murphy, PhD, Assistant Dean and Director of the Undergraduate Research Support Office
     Minna Ng, PhD, Assistant Dean
     Alyssa Perz , PhD, Assistant Dean and Director of the Cardea Fellow s Program
     David Rabiner, PhD, Senior Assoc iate Dean and Director of the Acade mic Advising Center
     Sarah Russell, PhD, Ass istant Dean
     Jesse Summers. PhD, Ass istant Dean
     Sabrina L. Th omas, PhD, Senior Associate Dean , Risk Management and Title IX Accommodations and
               Director of the Office of Student Returns
     Jennifer Wood Crow ley, PhD, Assistant Dean


     EDMUND T. PRATT JR. SCHOOL OF ENGINEERING
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     Linda Franzon i, PhD, Associate Dean for Undergraduate Education
     James Gaston, MPM, Assistant Dean for Advising and Undergraduate Research
     Lupita Temiquel-McMillian, MEd , Assistant Dean for Advising and Student Affairs
     Carmen Rawls, PhD, Assistant Dean for Advis ing and Outreach


     STUDENT AFFAIRS
     Larry Moneta, EdD, Vice President for Student Affa irs
     Zoila Airall, PhD. Associate Vice President of Student Affairs for Campus Life
     Robert Coffey, Executive Director, Dining Services
     Joe Gonzalez, MA, Interim Assistant Vice President, Housing and Resid ence Li fe
     Caroline Nisbet, MA, Associate Vice President of Student Affa irs for Resource Adm inist ration
     Christopher Roby, MS, Assistant Vice President and Exec utive Director, University Center Activities & Events
     Suzanne Wasiolek, JD, LLM , EdD, Associate Vice President of Student Affa irs and Dean of Students
     Wi lliam Wright-Swadel, MEd, Assistant Vice President and Fannie Mitchell Executive Director, Career Center


     ADMISSIONS AND FINANCIAL AID
     Christoph 0 . Guttentag , MA, Dean of Undergraduate Admissions
     Alison Rabil. EdD. Assistant Vice Provost and Director of Financial Aid



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                       DUKE COMMUNITY STANDARD
                      Duke University is a community dedicated to scholarship, leadership, and service and to the principles of
                      honesty, fairness. respect. and accountability. Citizens of this community commit to reflect upon and uphold
                      these principles in all academic and nonacademic endeavors, and to protect and promote a culture of
                      integrity.
                      To uphold the Duke Community Standard:
                           •    I will not lie, cheat. or steal in my academic endeavors:
                           •    I will conduct myself honorably in all my endeavors: and
                           •    I will act if the Standard is compromised.




       STUDENTS' OBLIGATION TO ACT WITH RESPECT
       TO THE DUKE COMMUNITY STANDARD
       The Duke Community Standard (DCS) stresses the commitment that students share w ith all members of the community to
       enhance the climate for honesty. fairness, respect. and accountability at Duke University. Students affirm their commitment
       to foster this climate by signing a pledge that includes taking constructive action if th ey witness or know about behavior they
       perceive to be inconsistent w ith the DCS. which may include violation of university policies. Although there are no disciplinary
       sanctions associated with the failure to act. students are noneth eless expected to take action-to do something-as a
       responsibility of membership in the Duke community.
       The university recognizes that it is not always easy to act in these situations, but several alternatives are available to suit a
       student's level of comfort and confidence. These alternatives are not mutually exclusive.
           •    Speaking directly with the individual exhibiting the behavior, both to gain clarity about the situation and to inform the
                ind ividual about the concern .
           •    Publicly calling attention to the behavior as it is occurring.
           •    For incidents involving social behaviors, alerting residence hall, Student Affairs, or other university staff. The information
                provided wi ll give staff an opportunity to address th e matter informally or throug h appropriate formal channels.
           •    For cases involving academic integrity, alerting the instructor that cheating may be occurring in the course. Thi s alert
                can be in any form, including anonymous notification, and th e reporting student w ill not be identified. The information
                provided w ill allow the faculty member to consider corrective measures, in consultation with the Office of Student
                Conduct. and to address the topic with the class or suspected student(s).
           •    Directly alerting staff in the Office of Student Conduct (919-684-6938: conduct@duke.edu), who w ill confer w ith the
                faculty member involved, if an academic issue, or with the reporting student(s), strategizi ng next steps. Maintaining the
                confidentiality of the source is possible, but may limit the extent of action that can be taken.



       THE CONTEXT OF THE DUKE COMMUNITY STANDARD
       The honor code at Duke is named the community standard because community is at the center of our conception of what
       it means to act honorably. Community entails a sense of connectedness to others and their welfare, feeling part of Duke
0      University every day and being responsible for its continual improvement. Community refers as well to a feeling of connection
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(ll    to the city in w hich we are located. It posits the counterbalancing of group benefit with individual needs and wants, and a Duke
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       identity with the many personal identities based on demographics and interest. The kind of environment we strive to achieve is
3      one in w hich civility (but not docility) reigns: an environment in w hich ideas are promulgated, and challenged, in a stimulating
3      give and ta ke: an environment in which learning (whether from peers, faculty, administrators, or others in the Duke and broader
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       communities) is accomplished w ith openness, honesty, and respect.

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Citizens of the Du ke community com mit to acting w ith pu rpose, civility, and intention. both w ith personal decision- making and
w ith interactions with each member of this commun ity. Choosing to be a citizen of the Duke com munity means acknowledging
the value of each member, participating in active reflection and asking the question: "How do my actions impact others?"
Th e honor code at Duke is named the com mun ity standard because it expresses our institution's core values and a
concom itan t set of expectations for behavior. Because behavior is derivative of fu ndamental values, the standard applies
off cam pus as well as on. The principles it articulates, w hile lofty in one sense, are firmly grounded in ind ivid ual decisions
made on the g round every day about every aspect of undergraduate life. in academic and co -curricular activities alike: in the
classroom , residence halls. K-ville, off-campus apartment complexes, Myrtle Beach, Paris, and w herever else students may go.
In addition, t he standard asks t hat stud ents not only reflect on their own behavior, as important as that is, but that they also act
to encourage the integrity of their peers. By inspiring and supporting each other, students can shape their environment so that
it reflects t he ideals expressed in the Du ke Com munity Standard.
The Standard, t herefore, expresses o ur goals fo r underg rad uate education in the broadest sense and is fo undational to
undergraduate life at Duke. It is fo llowed by an equally important pledge that students sign as mem bers of the com mu nity.
Duke University seeks to engage all students in its tradition of honor, a tradition that defines the institution and helps to
guide students during their co llege careers and beyond. The students here today, w ho are th e beneficia ries of the efforts of
th ose who preceded th em. have an ext raord inarily important role to play in perpetuating and strengthening thi s trad ition. We
welcome, and count on, your involvement.




THE HISTORY OF THE DUKE COMMUNITY STANDARD
In 1999-2000, Duke partici pated in a national survey through the Center fo r Academic Integ rity. Throug h responses from
undergraduate students, as well as fro m fac ulty and staff, the survey assessed the climate of academ ic integ rity at Duke in
comparative context with other institutions. As a result of t he fi ndings, the provost formed the Academ ic Integrity Counci l (AIC)
in 2001 by appointing representatives from across the community whose charge was and remains to review academic integrity
policies and practices and make recommendati ons to im prove th e climate of integrity on campus.
An early goal of the AIC was to review the existing Honor Code, which had been in effect for the undergraduate community
since 1993. The AIC determined t hat the Honor Code needed revision to make it shorter whi le embracing all aspects of a
student's life at Duke. A major element of the revision was the inclusion of the fundamental values that must inform the
definition of a community of honor.
This Duke Community Standard was proposed to the faculty counci ls of Trinity College of Arts and Sciences and the Pratt
School of Engineering. as w ell as to the Duke Student Government. It was approved for the underg raduate com munity and
im plemented in the fall of 2003. The Standard was also incorporated into the code of each g raduate and professional school of
the university and, t hus, represents the values we uphold as an institution.
Duke University is committed to ongoing evaluation of principles, policies, and practices, and to lively conversation abou t
issues of integrity. Thus, Duke participated again in a national survey o n academic integrity in the fall of 2005 and in intensive
discussions of academ ic and social integ rity from summer 2006 th roug h spring 2007 Th e result of these continuing and
broadened discussions was a revised Community Standard. put before the undergraduate student body in a student
government referend um of Apri l 2007 and overwhelm ing ly approved. Im plemented in summer 2007, th e new Duke Community
Standard differs fro m its predecessor c hiefly in its level of commitment to taking action (see "Students' Obligation to Act with
Respect to the Duke Com munity Standard" on page 12).
In the spring of 2011, Duke University again surveyed undergraduate students about integrity. thi s time expanding beyond an
academ ic focus to additional questions about integrity in other domains (i.e., social. work, and civic) inside and outside th e
classroom. In-depth foc us interviews were also conducted w ith a sample of g raduating seniors. Results showed a marked
reductio n in acad emic d ishonesty in three key areas that were identified as prob lem areas in th e 2005 survey: fabricati ng or
fa lsifying a bibliography, falsifying or fabricating lab data, and copying or paraphrasi ng a few sentences without appropriate
attribution. One area of concern that emerged from the 2011 survey was an increase in reported unaut horized collaboration.
There was also a gap between students' perceptions of the prevalence of dishonesty across th ese mu ltiple domains and
students' self-repo rted rates of engag ing in d ishonest acts w ithin these domains. Duke University w ill continue efforts to narrow
students' perception of th e frequency of academic d ishonesty and actual self-reported rates of cheat ing and other dishonest
acts.




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                     GET INVOLVED

                     The Undergraduate Conduct Board is a pool of students, faculty and staff who are selected/appointed
                     to hear referred cases of potential violations of university policy. A three- or five-member panel. typically
                     chaired by a student. hears each case. About 10% of th e total caseload of the Office of Student Conduct
                     is referred to a hearing of the Undergraduate Conduct Board. The Board has the ability to issue any
                     sanction available through the undergraduate disciplinary process for a finding of responsibility, including
                     suspension or expulsion. Rising juniors and seniors are eligible to apply. See studentaffairs.duke.edu/
                     conduct.

                     Disciplinary Advisors are students and staff trained in the undergraduate disciplinary process. They offer
                     information about how the process works. advice on how to approach each stage of the process, and
                     can support students in attendance at a formal Underg raduate Conduct Board hearing. Students of any
                     undergraduate class year, including first-year students, may apply. See studentaffairs.duke.edu/conduct.

                    The Duke University Honor Council is a student-led organization focused on promoting the Duke
                    Community Standard throughout campus. The Honor Council achieves this through outreach campaigns
                    to familiarize students w ith the Standard as well as through discourse-focused events allowing students
                    to discuss the Standard and its principles in the context of their own personal Duke experience. The
                    Honor Council works closely with administration, the Kenan Institute of Ethics, and prominent student
                    organizations to best create a campus community and culture that highlights values and ethics. For
                    additional information, contact 2017-18 Honor Council Chair Kushal Kadakia T '19 at
                    kushal.kadakia@duke.edu.




      A STATEMENT OF PRINCIPLES
      The Duke Community Standard expresses a standard for behavior-a set of expectations of students who claim membership
      in Duke's learning community. All incoming undergraduates, upon admittance to Duke, are required to sign a pledge to adhere
      to these values and to conduct themselves in accordance w ith these values throughout their undergraduate careers. Likew ise.
      upon completion of each academic assignment. stud ents may be asked to reaffirm their commitment to the Duke Community
      Standard by signing a statement indicating that they have adhered to the Duke Community Standard in completing the
      assignment.
      The Duke Community Standard, thus, is a statement of principles. The specific policies. or rules and regulations of the
      university, define the conduct for which students can be held accountable.




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       Duke University has high expectations for students' scholarship and conduct. In accepting admission, students indicate
       their willingness to subscribe to and be governed by the ru les and regulations of the university, w hich flow from the Duke
       Community Standard. These policies reflect the Duke Community Standard's fundamental values-honesty, fairness, respect,
       and accountability.

       Undergraduates acknowledge the right of the university to take disciplinary action, includ ing suspension or expulsion , for
       failure to abide by th e regulations or for other conduct adjudged unsatisfactory or detrimental to the university community.
       Students and groups may be held accountable for any violation of university policy that may or may not be included in this
       guide, w hether on or off campus. In addition to loca l ordinances and state and federal laws, the following policies govern the
       undergraduate community.




       ACADEMIC DISHONESTY

       LYING
       Lying is communicating untruths or misrepresentations in order to gain an unfair academic or employment advantage. !Wording
       adopted from the Duke Fuqua School of Business code.I
       It includes, but is not limited to:
           •    falsifying information on a resum e:
           •    misrepresenting one's own research:
           •    providing false or misleading information in order to be excused from classes or assignments: or
           •    intentionally underperforming on a placement exam.



       CHEATING
       Cheating is th e act of w rongfully using or attempting to use unauthorized materials. information, study aids, or the ideas or w ork
       of another in order to gain an unfair advantage. It includes, but is not limited to:
           •    plagiarism on any assignment:
           •    giving unauthorized aid to another student or receiving unauthorized aid from another person on tests, quizzes.
                assignments, or examinations:
           •    using or consulting unauthorized materials or using unauthorized equipment or devices on tests, quizzes,
                assignments. or examinations:
           •    altering or falsifying any information on tests, quizzes, assignments, or examinations:
           •    using any material portion of a paper or project to fulfill the requirements of more than one course unless the student
                has received prior faculty permission to do so:
           •    working on any exami nation, test. quiz. or assignment outside of the time constraints imposed;
           •    the unauthorized use of prescription medication to enhance academic performance:
           •    submitting an alte red examination or assignment to an instructor for re-grading : or
           •    failing to adhere to an instructor's speci fi c directions w ith respect to the terms of academic integrity or academic
                honesty.
       "Plagiarism" occurs whe n a student, with intent to deceive or with reckless disregard for proper scholarly procedures, presents
       any information, ideas, or phrasing of another as if they were his/her own and/or does not give appropriate credit to the original
       source. Proper scholarly procedures require that all quoted material be identified by quotation marks or indentation on the
       page. and the source of information and ideas. if from another. must be identified and be attributed to that source. Students are
C      responsible for learning proper scholarly procedures.
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(1)    The term "assignment" includes any work, required or volunteered, submitted for review, academic credit, and/or disciplinary
a      sanction.
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C      All academic work undertaken by a stud ent must be comp leted independently unless the faculty member or other responsible
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ro     authority exp ressly authorizes collaboration with another.
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STEALING
Stealing is the act of intentionally taking or appropriating the property of another, including academic work, without consent or
permission and w ith the intent to keep or use the property without the permission of the owner or the rightful possessor.




              INFORMATION ABOUT PLAGIARISM
              AT DUKE

              INTRODUCTION: OUR IDEAS EMERGE AGAINST THE BACKDROP OF
              PREVIOUS FORMULATIONS
              Rarely, if ever, do we develop ideas in our individual minds, free of the effects and influences of others'
              previous findings, claims, and analyses. This is not to suggest that writers never forge new ideas: rather,
              the majority of one's thoughts-and certainly the intellectual thinking that we do in university settings-is
              prompted, shaped. and changed in response to and in light of w hat has already been stated by others. Our
              ideas emerge in response to reading others' texts, in sites of conversation and verbal exchange, with and
              against the grain of the words and formulations of others.
              It is appropriate to think of the university as a vast society of influences, composed of various formal sites
              of critical discussion, reporting , and debate. both verbal and written. University persons-both scholars and
              students-gain status and authority by dint of their intellectual involvement in written and verbal exchange
              (detailing their findings , casting written arguments, offering careful analyses of their objects of study). Since
              the university values the public thinking of its faculty and students, it requires that its members formally
              recognize who has made which sorts of statements in what settings. Scrupulously citing the origin of
              quotations, summaries, and other borrowed material included in your paper enables the social value of
              respect to exist within intellectual circles of research and scholarship around the globe. Not to formally
              recognize the work and influences of others in your writing is to plagiarize. violating an ethic of mutual
              regard.



              THE ACADEMIC COMMUNITY'S GUIDELINES: THE PRACTICE OF
              DOCUMENTATION
              It has become commonplace to envision the verbal and written exchanges between speakers and listeners,
              readers and writers, researchers and their sources, as interactions constituting communities of discourse.
              Discourse communities share interpretive, analytic, and argumentative conventions. Academic discourse
              communities (often shaped as "disciplines" or "fields of inquiry") agree to refer scrupulously to one another's
              writings and research findings by explicitly linking quoted materials to the name of the person or persons
              w ho uttered or wrote them, and by carefully describing the influence others have had upon them.
              In fact. a mark of strong academic writing is the practice of situating one's claims and findings within
              a tradition of inquiry into the subject. detailing the nature of the exchanges that have preceded the
              present foray into the ongoing conversation, at times indicating one's affinities or disagreement with one
              or another avenue of thought. Ethos and authority are enhanced when writers demonstrate their uses
              of others' statements, texts, and representations, and when they appropriately identify these sources in
              their arguments and analyses. This practice is called documentation. Guidelines for how to correctly cite
              materials used within your writing and rules for assembling the list of works that you cite in your paper are
              compiled by academic organizations which produce style manuals. Information from these style manuals
              can be accessed in the Citing Sources section of the Library web page.



              PLAGIARISM DEFINED
              Academic communities, then, demand that writers credit others for their work, and that the source of
              their material clearly be acknowledged. Not to do so is to plagiarize, to intentionally or unintentionally
              appropriate the ideas, language, key terms, or findings of another without sufficient acknowledgment that
              such material is not one's own. As the Modern Language Association defines this transgression:




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              Scholarly authors generously acknowledge their debts to predecessors by carefully giving credit to each source.
              Whenever you draw on another's work, you must specify what you borrowed whether facts, opinions, or quotations
              and where you borrowed it from. Using another person's ideas or expressions in your writing without acknowledging
              the source constitutes plagiarism. Derived from the Latin plagiarius ("kidnapper"), plagiarism refers to a form of
              intellectual the~. .. . In short, to plagiarize is to give the impression that you wrote or thought something that you in
              fact borrowed from someone, and to do so is a violation of professional ethics. (Joseph Gibaldi. MLA Style Manual
              and Guide to Scholarly Publishing. 2nd. ed., New York: MLA. 1998: 151).
           Plagiarism encompasses a range of errors and violations. Though the charge of plagiarism can be leveled against
           writers who incorrectly or neglect to cite borrowed materials. it most often tempts students who find themselves in
           the dire straits of having to complete a written assignment withou t previously having undertaken the laborious and
           time-consuming process of research, read ing. note-taking. interpretation. and analysis. Wholesale copying from
           sources is an easy way to fill up the page and to turn something - anything-in on time. In all cases. it is far better
           to contact one's instructor and honestly to discuss with him or her a strategy for completing an assignment rather
           than to risk humiliation and disciplinary consequences. Instructors wi ll. within reason and to the best of their abilities,
           help you to get your papers started and help you to make progress with your work. You w ill do yourself and your
           instructors justice if you openly and squarely discuss the circumstances of your progress or lack thereof.
          On occasion. students accused of plagiarism have claimed that their plagiarism has occurred without their
          knowledge or intent. Since ignorance of convention is not a reasonable defense, it is best to become thoroughly
          acquainted both with the various ways in which plagiarism is construed, and with the conventions of source
          attribution and proper documentation. Some students seem to believe that there are different degrees of plagiarism,
          some not as a bad as others. No distinctions are made between any of the following acts. All constitute instances
          of plagiarism as outlined in The Duke Community Standard in Practice: A Guide for Undergraduates, and all constitute
          transgression of the university's Community Standard. You will be charged with plagiarism if you:
              •     Copy from published sources without adequate documentation.
              •     Purchase a pre-written paper (either by mail or electronically).
              •     Let someone else write a paper for you.
              •     Pay someone else to write a paper for you.
              •     Submit as your own someone else's unpublished work, either with or w ithout permission.
          If the work you submit is not yours. it does not matter how you came by it. If you use another person's work to further
          your own understanding of a subject, you must credit the source. (Adapted from Hillard, V. Plagiarism: Its Nature and
          Consequences. Duke Libraries: Citing Sources.}




      ACADEMIC FREEDOM
      Freedom of inquiry and the free exchange of ideas are essential for the fulfi llment of the university's mission. Academic
      freedom is a right and responsibility of students as well as faculty. Students who believe that their academic freedom has
      been abrid ged should submit a w ritten complaint to their academic dean. The dean may enlist the faculty in establishing the
      merits or extent of the complaint by appointing a disinterested two-person subcommittee of the Faculty Hearing Committee to
      provide advice. Cases not resolved by the dean may be brought to the attention of the provost. Students may also seek advice
      of the student ombudsperson in resolving a comp laint.



      ADVERTISEMENTS
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0     Banners on the exterior or interior of the Brodhead Center, East Union Building, Bryan Center, and the Plaza are approved and
al    installed by University Center Activities and Events. Housing and Residence Life approves banners on the exterior/interior of
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C     residence halls (contact the appropriate Residence Coordinator). Banners attached to residential buildings are limited to five
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co    feet by five feet in dimension (or smaller) and may not cover the windows of a room in a manner that impedes egress. Banners
cl    may not have objects hanging from them (normally used to weigh banner down). Only banners or flags can be hung outside
g,    of w indows. Requests for hanging banners on all other university buildings and light poles must be approved by Facilities
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Management located at Smith Warehouse, Bay 1 (919-684-2122). Contact Facilities Management. University Center Activities
and Events. or Housing and Residence Life for specific guidelines. All exterior banners (including flags) in residential areas must
be removed by the last day of classes each semester.



CHALKING
Chalking is prohibited on any surface, including, but not limited to, sidewalks, archways, and benches.



POSTERS, ANNOUNCEMENTS, AND BULLETIN BOARDS
The following is a checklist of procedures with reference to the posting of notices on university bulletin boards, building doors,
containers. lig ht posts, trees. and sidewalks:
        Posters/flyers must provide information regarding student activities. give information of an academic nature, make
        announcements pertinent to the business of the university, or supply information to members of the Duke community
        regarding available campus services or products.
        Posters/flyers must state the name of the sponsoring organization , business, department. or person responsible.
        As appropria te for the surface, staples, thumbtacks, magnets, masking tape. or transparent tape may be used to
        attach posters/flyers to approved bulletin boards or posting areas. The use of glue, nails. and duct tape or any other
        heavy-duty tape is prohibited.
        Posters/flyers must never be attached to doors, w indows, trashcans, entryways, exteriors of building s, interior walls,
        stairway ra ilings. floors, benches or ceilings, nor may they be placed on the windshields of parked automobiles or on
        sidewalks.
        Posters/flyers may NOT be attached or affixed to any tree or utility pole.
   •    Posters/flyers (and the fasteners used to attach them) must be removed within three days after the advertised event.
   •    All posters/flyers may be periodically removed from bulletin boards as part of routine maintenance.



ALCOHOL

UNIVERSITY-WIDE POLICY
As a community of scholars and learners. Duke University expects those w ithin its community to be responsib le with the use
of alcohol. This policy shall guide th e role of alcohol everywhere on the Duke campus and at all events sponsored by Duke
organizations. schools, or ad ministrative units. Students, staff, and faculty members are encouraged to learn about the social,
physiological. and psycholog ical consequences of drinking and alcohol abuse. Excessive and high-risk drinking can lead to
negative consequences for the Duke community, including assault. illness. injury, litter, noise, property damage, and drivi ng
under the influence. All members of the Duke community share responsibility for creating an environment that li mits dangerous
drinking behaviors and. therefore, reduces the likelihood of these negative outcomes.
The following shall guide the role of alcohol in the Duke community:
   •    All possession, consumption, and distribution of alcohol at Du ke University shall be in accordance w ith applicable
        North Carolina state laws.
   •    Members of the Du ke community are responsible for behaving in a manner that is not disruptive or endangering to
        themselves or others. Being under the influence of alcohol shall not be a mitigating factor for an individual's behavior.
        When persons under 21 years of age can reasonably be expected to be present at an event. proper precautions must
        be taken to restrict d istribution and consumption of alcohol to persons of legal drinking age. Student organizations
        shall also adhere to the specific guideli nes for events outlined in The Duke Community Standard in Practice: A Guide
        for Undergraduates (for student organizations that cater primari ly to undergraduates) or the Graduate and Professional
        Student Alcohol Policy (for student organizations that cater primarily to graduate/professional students).
        Advertising or other communication that references the availability of alcohol at a function may neither promote
        alcohol as the focus of the event nor promote excessive drinking.
        Each community (e.g., Undergraduate, Fuqua. Law) may establish additional g uidelines and policies governing the
        possession, consumption. and distribution of alcohol that reach beyond these minimal expectations. Violations of
        policies shall be adjudicated using existing procedures wi thin each segment of the university.




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      UNDERGRADUATE POLICY
      The remainder of this policy, specifically for undergraduates, augments Duke's university-wide alcohol policy. For individuals as
      w ell as groups, w hether on campus or off, prohibited behavior includes:
          •    underage possession/consumption:
          •    unsafe/irresponsible behavior;
          •    violation of community expectation s;
          •    general provisions violation; and,
          •    violati on(s) of expectations for group-sponsored social functions.
      Sanctions for violations of any of these prohibited behaviors are outlined in thi s Guide (see "Sanctions" on page 60). Parents
      of students under the age of 21 may be notified of alcohol-related disciplinary violations when a student's health or safety has
      been/is at risk.

      See "Appendix F - Information and Resources Concerning Substance Use" on page 72 for health effects associated w ith
      alcohol and other drug use, helpful resources for assistance, and legal ramifications of illicit possession, use, or distributi on.



      UNDERAGE POSSESSION/CONSUMPTION
      Students under 21 years of age are not permitted to purchase, possess, or consume alcoholic beverages. Being under the
      influence of any amount of alcohol w hile underage is considered a violation of this provision. Groups are considered in violation
      of this provision if they facilitate the acquisition of alcohol by anyone under the age of 21.



      UNSAFE/IRRESPONSIBLE BEHAVIOR
      Unsafe or irresponsi ble behavior is defined as actions that are harmful or potentially harmfu l to one's self or others involving the
      use of alcohol. Such behavior includes. but is not limited to:
          •    consum ing an excessive quantity in a short amount of time, including, but not limited to, shotgunning, shots, and
               chugging:
          •    participating in or facilitating drinking games or progressive parties;
          •    consuming through beer bongs:
          •    use or attempted use of fraudu lent identification or another's identification to obtain alcohol: and
          •    making alcohol available to underage drinkers.



      COMMUNITY EXPECTATIONS VIOLATION
      It shall be a violation of th e alcohol policy to engage in an action w hile under the influence of alcohol that is disruptive to the
      community. Such behavior includes, but is not limited to:
          .    drivi ng;

          •    exhibiting disorderly conduct. damaging property, and/or fighting ;

          •    littering:
          .    running away or hiding from university or public officials, including law enforcement:
          .    vomiting and/or urinating in public: and
          .    cursing and/or shouting at others .

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               HEALTH AND SAFETY INTERVENTION
              Because health and safety of students are of primary importance, students are encouraged not only to look
              out for their own health and safety but also for that of their peers. When a person's health and/or safety is/
              are threatened or appear(s) to be in jeopardy, immediate action should be taken to prevent injury/illness/
              danger. Dial 911 (or 919-684-2444 if you are on campus) for help. Whatever the particular need/problem, it is
              important to respond in a responsible and timely manner.
              Formal disciplinary action for a violation of the alcohol policy will not be taken against students for w hom
              medical assistance is sought, or against those who seek medical assistance for themselves or for others,
              provided that the student/group has not violated other university policies that warrant formal disciplinary
              action.

              A student who receives medical assistance may be required to meet with a substance abuse specialist in
              DuWell for education, assessment. and possible referral for treatment. The student may also be required to
              complete an educational assignment. Parents of such students under the legal drinking age may also be
              notified. A group that facilitates the acquisition of alcohol may also be required to notify its advisor, provide
              an educational program for members, and/or change its processes for hosting events.
              In the event that a student fails to meet w ith the specialist. chooses not to participate in the treatment
              program outlined, or exhibits a pattern of abusive behavior w ith alcohol. the student may be subj ect to
              forma l disciplinary action and/or placed on a Medical Leave of Absence or Administrative Action until he/
              she produces documentation that appropriate treatment has been successfully sought.
              A panel of the Undergraduate Conduct Board will be informed of a studen t w ho has received "amnesty"
              under this provision of the Alcohol Policy should the student be subsequently found responsible for a
              violation of policy related to substance use for purposes of effective sanctioning.




GENERAL PROVISIONS VIOLATION
Duke University has established the follow ing general provisions regarding alcohol on campus:
   •    No kegs or other common -source containers are permitted on campus in private rooms, student apartments,
        commons rooms, or other public space. (University-approved bartenders. w ho will be responsible for carding, may
        distribute alcohol from kegs in public space at events.) Common-source containers. include, but are not limited to,
        trashcans. recycling bins, kiddie pools, cases of beer, and coolers.
   •    Only university-approved bartenders are permitted to distribute alcohol on campus. including alcohol from common-
        source containers.
   •    Except at events in a licensed facility providing a cash bar. no spirituous liquor or fortified w ines may be served to
        undergraduates.
   •    All students on university property consuming or possessing alcohol must carry a valid driver's license, state
        identification card, military identification card, or passport.
   •    Alcohol may not be brought in glass containers to on-campus Bring Your Own Beverage ("BYOB") events.
   •    No individual may possess more than six cans at a BYOB event. Each can may not exceed 12 ounces.
   •    Containers holding more than 24 ounces are prohibited from BYOB events.
   •    No alcoholic beverages are permitted in first-year houses (or t he surrounding grounds) on East Campus.
   •    No alcoholic beverages are permitted w ithin th e confines of campus athletic facilities during sporting events.
        The use of alcoholic beverages as a prize is prohibited.
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       EXPECTATIONS FOR GROUP-SPONSORED SOCIAL FUNCTIONS
       Recog nized groups may be held accountable for vio lations of the alcohol policy that occur during a group-sponsored event on
       campus. To ensure that such violations do not occur, a group w ill be held accountable if the group fai led to take appropriate
       precautions. Appropriate precautions must include:
           •    a trained, sober party monitor for every 25 persons expected to attend the event:
           •    adequate and accessible non-alcoholic beverages and food:
           •    compliance with all fire safety reg ulations:
           •    adequate control of access to event:

           •    enforcing occupancy limits for the venue, including commons rooms, hallways, and stairwells:
           •    calli ng for medical/police assistance as needed: and
           •    serving of alcohol by university-approved bartenders only.
       Expectations for and obligations of student party monitors are communicated online th rough DuWell. Duties of party monitors
       include, but are not limited to, preventi on of alcohol policy violations, intervention and care of inebriated, at-ri sk individuals,
       elimination of safety hazards, and attention to group precautions. Checking identification will be the respon sibility of un iversity-
       approved bartenders. Groups may be held accountable for the actions of individual party monitors.
       Party monitors and university officials may deny access to events to anyone who is visibly intoxicated and/or d isruptive.
       Socia l events that fail to meet any of th ese expectations may be shut dow n immediately.




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               All student events at w hich alcohol will be present. whether there is a university-approved bartender or
               the party is BYOB. are required to have trained party monitors.
               Party monitor trainings allow students to talk w ith other student leaders and learn:
                   •    The goals of hosting events
                   •    The roles of the party monitor
                   •    The risks associated w it h alcohol use
                   •    How to promote safe social behaviors
                   •    Resources and support for your g roup
                   •    How to develop skills to address potentially dangerous and quest ionable behavior among your
                        guests. including overconsumption of alcohol
               Register fo r trainings at bit.ly/dukepartymonitor.




ANIMALS ON CAMPUS
Any animal brought on campus by students or guests may not be unrestrained. W ith the exception of service animals. animals
are prohibited inside any university fac ility. unless authorized by the space manager respo nsible for that faci lity/space. Any
type of animal abuse is prohibited, including but not lim ited to abandonment of or failure to properly care for an animal.
Anima ls. live or dead. may not be used in pranks or otherwise for amusement or ceremony in connection with any institutional
or student group function or activity. For purposes of this policy. the term "animal" includes any wi ld or domesticated. warm-
blooded or cold-blooded animal.
Animals may not be brought to campus for large-scale student events and activities including. but not lim ited to. Homecoming.
Duke Reunions, Last Day of Classes. Springternational. Joe College Day. Old Duke Concert. etc. For rnore information. contact
University Center Activities and Events at 919-684-4741.



BRIDGE PAI NTING
The purpose of this policy is to ensure an aesthetically pleasing campus. protect un iversity faci lities. and allow for students to
use the "Free Expression" bridge/tunnel without damaging neighboring property. Individuals and groups may express opi nions
w ithin this area that are not restricted by content. except by legal standards.
The surface of the "Free Expression" bridge/tunnel (located on Campus Drive under Main Street) may be painted within
the span of the ceiling of the tunnel (but not the ceiling itself), as well as on the outer edge of the Pettigrew Bridge fac ing
Campus Drive and, the exterior (inner) face of the concrete Campus Drive tu nnel walls. However. pain tin g is not allowed on t he
sidewalks or roadways inside or outside the tunnel. Supplies are the responsibility of the painter(s) and are not provided by the
universi ty. Painter(s) may not impede t he flow of traffic. Any ladders used may not exceed six feet.
There is no restriction regarding painting over the sections of the tunnel that other people or organizations have painted-no
matter how recently they have been painted. However. an imosity is often generated toward groups who paint over sections t hat
are advertising events not yet held or sections painted very recently. Please use courtesy and common sense w hen selecting
an area of the tunnel to paint.
Any person may remove non-conforming material. Policy violations resulting in the need for restoration should be reported to
Duke University Police. Reimbursement for any restorati on costs (i.e .. paint removal. cleaning, removal of resid ual substances.
and so on) will be the responsibility of the violating party.
No painting will be allowed at any other locations on the campus of Duke University. including these areas near the tunnel:




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       Painting is permitted on the outer edge of th e Pettigrew Bridge facing Campus Drive and the exterior (inner) face of the
       concrete Campus Drive tunnel walls.


          •    the Main Street bridge and th e railroad trestle
               (see right):




          •    t he Duke stone walls (see right):




          •    the Pettigrew Street Bridge (side of
               the bridge on Pettigrew Street not
               overlooking Campus Drive: see right):



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         on any light poles, signs or sign posts (see
         right):




         the steps and hand rails from Campus
         Drive to Pettigrew Street (see rig ht);




        any handrails, roadways or sidewa lks,
        even if located inside the tunnel (see
        right); or




    •    fencing along the Main Street bridge.


Students w ho violate these expectations w ill be held accountable th roug h the university's disciplinary process and may also be
arrested and/or cited for violation of NC law. Note that defacement of any public property (i.e. , property not owned by Duke) is a
violation of North Carolina law.




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                       Although there is no restriction on the content painted on the Free Expression tunnel and the Pettigrew
                       Bridge (except by legal standards), painters should consider the broad effect of w hat is depicted /written on
                       the walls on the overall campus climate.
                       Consider these questions as you plan to paint:

                           •    Is t he content in generally good taste?
                           •    Does the content offend or target a specific person or group of people?
                           •    Is the content something that could be taken out of context and appear harmful?
                           •    Is it something that visitors to Duke can appreciate?




       CLASSROOM DISRUPTION
       Students w ho behave in the classroom in such a way that th e educational experiences of other students and/or th e instructor's
       course objectives are d isrupted are subject to d isci plinary ac tion, inc lud ing possible exclusion from a course. Suc h behavior
       impedes students' ability to learn or an instructor's ability to teach. Disruptive behavior may include. but is not limited to:
       non-approved use of electronic devices (including cellular telephones): cursing or shout ing at others in such a way as to be
       d isruptive: or. other violations of an instructor's expectations for classroom conduct.



       COMPUTING AND ELECTRONIC COMMUNICATIONS

       SECURITY AND PRIVACY
       The purpose of this policy is to establish and promote th e ethical. legal. and secure use of computin g and elect ro nic
       commun icati ons for all members of the university communi ty.
       The university cherishes freedom of expression, the diversity of values and perspectives inherent in an academic institution,
       the right to acknowledgment and t he value of privacy for all members of the Duke comm unity. At the same time, the university
       may find it necessary to access and disclose information from computer and network users' accounts to the extent requi red by
       law, to uphold contractual obligations or other applicable university policies, or to diag nose and correct technical problem s. For
       t his reason, the ultimate privacy of messages and files cannot be ensured. In addition, system fai lures may lead to loss of data,
       so users should not assume that their messages and fi les are secure.
       Neither t he university nor its agents restrict th e content of material transported across its networks. W hile th e university
       does not position itself as a censor, it reserves th e rig ht to limit access to its networks o r to remove material stored or pos ted
       o n university computers when applicable university policies, contractual obligations, or state or federal laws are violated.
       Alleged violations will receive the same academic d ue process as any other alleged violation of university policy, contractual
       obligation s, or state or federal laws.



       ACCEPTABLE USE
       In maki ng acceptable use of reso urces you must:
           .    Use reso urces only for authorized purposes .
           .    Protect your userid and system from unauthorized use. You are responsible for all activities on your userid or that
                o ri ginate from your system . Your userid and password act toge ther as your electronic sig nature.
           .    Access only information that is your own. that is publicly available, or to w hich you have been given authorized access .
C
:::;
0..        .    Use only legal versions of copyrig hted software in compliance w ith vendor license requirements.
           .
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a               Be considerate in your use of shared resources. Refrain from monopolizing systems, overloading networks w ith
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C               excessive data, degrading services, or wasting com puter time, connection time, disk space, printer paper. manuals, or
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         Seek pre-approval from OIT before deploying/using code that potentially impacts server resources or automates
         processes (e.g., in registering for classes).
In making acceptable use of resources you must not:
         Use another person's system, files , or data w ithout permission (note that permission from an individual user may not be
         sufficient- some systems may require additional authority).
         Give your password to another person (including to your parents). Contact the OIT Help Desk if you need assistance
         with giving other people authority to access your files or e-mail.
         Use computer programs to decode passwords or access-control information.
         Attempt to circumvent or subvert system or network security measures.
         Engage in any activity that might be purposefully harmful to systems or to any information stored thereon , such as
         creating or propagating viruses, worms, or "Trojan horse" programs: disrupting services: damaging files: or making
         unauthorized modifications to university data.
         Make or use illegal copies of copyrighted software or other copyrighted works, store such copies on university
         systems, or transmit them over university networks.
         Use mail or messaging services to harass another person.
         Waste shared computing o r network resources, for example. by intentionally placing a program in an endless loop,
         printing excessive amounts of paper, or by sending chain letters or unsolicited mass mailings.
         Use th e university's systems or networks for commercial purposes: for example. by selling access to your userid or by
         performing work for profit w ith university resources in a manner not authorized by the universi ty.
Th e above list only addresses some of the most common issues that arise with regard to computing. All prohibitions found in
applicable law and other university policies also apply to the computer systems.



GROUP E-MAIL
Large-scale e-mail communications within groups or units. including surveys, announcements, etc .. requ ire the implicit or
explicit prior approval of that group or unit. In the case of such communications from outside the unit. the approval must always
be explicit. Visit the OITweb site for full information at oit.duke.edu/about/policies/group-email-policy.
Note that the above computing policies are subject to change. For current policies. visit oit.duke.edu.



DISORDERLY CONDUCT
Disorderly conduct is contrary to th e mission of the university and w ill be addressed th rough the disciplinary process. Disorderly
conduct is defined as:
    •    any unreasonable or reckless conduct by an individual or group that is inherently or potentially unsafe to other persons
         or their rea l or personal property: and/or
    •    any behavior by an individual or group that disrupts the peace or interferes w ith the normal operation of th e university
         or university-sponsored activities.
Disorderly conduct includes. but is not limited to: reckless drivi ng: interrupting or interfering w ith the carrying out of th e duties
of a university or public official, including law enforcement; vomiting and/or urinating in public: and. indecent exposure.



DRONES
Unman ned Aerial Systems (UAS), or "drones," have emerged as a new technology of interest both for hobbyists, and more
importantly for possible research, academic. and commercial uses at Duke. For the full and latest Duke policy on drones. visit
drones.duke.edu/policies.




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      DRUGS AND DRUG PARAPHERNALIA
      Duke University prohibits members of its community. both individuals and groups. from manufacturing. selling. delivering,
      possessing . using. or being under the influence of a controlled substance without legal authorization. A controlled substance
      includes any drug , substance or immediate precursor covered under the North Caroli na Controlled Substances Act, including
      but not limited to opiates, barbiturates, amphetamines, marijuana. and hallucinogens.
      The possession of drug paraphernalia is also prohibited under North Carolina state law and university policy. Drug
      paraphernalia includes all equipment, products and material of any kind that are used to fac ilitate. or intended or designed to
      faci litate, violations of the North Carolina Controlled Substances Act.
      In addition to d isciplinary action, the conduct officer, or designee, may require a student to take a lea1e of absence, and return
      to campus may be conditional upon proof of completion of a substance abuse treatment program.
      (See "Appendix F - Information and Resources Concerning Substance Use" on page 72.)




                     Did you know t hat a finding of responsibility for a student's first-time possession or use of marijuana
                     may result in a sanction of disciplinary probation? This could prevent a student from studying abroad or
                     participating in programs such as DukeEngage.




      DUKECARD
      As stated on the back of the DukeCard, the card "should be carried at all times and presented upon request to any university
      official. lltl is not transferable. The transfer of an ID card to another person. or the possession of another person's ID card. may
      resu lt in confiscation of the card and [disciplinary I action."



      FAILURE TO COMPLY
      A student or group may be held accountable for failure to comply with:
          •    d irections, requests. or orders of any university representative or body acti ng in an official capacity. or impeding with
               the carrying out of such directives:
          •    instructions of law enforcement officials acting in an official capacity:
          •    specified protocols and policies for protected researc h data: and/or
          •    sanctions rendered during the disciplinary process (including sanctions issued by a residentia l staff member).



      FALSIFICATION/FRAUD
      Honesty and integrity are critical components of the Duke Community Standard. A student or group may be subject to
      disciplinary action for any of the follow ing actions:
          .    any intentional misrepresentation of fact (by action or concealment). including furn ishing false information. to any
               university official:

C         •    any intentional misrepresentation of fact (by action or concealment) to obtain or attempt to induce another to
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          .    forgery, alteration. or m isuse of any official document, record, key, access code or instrument of identification. or
               possession of such forgery.
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FIRE SAFETY
It is a violation of university policy to light any material on fire on campus. Candles, other open flame devices, and incense
are strictly forbidden for use inside university facilities except during official religious ceremonies such as the observance of
Chanukah. Those individuals or groups w ishing to utilize candles in observance of a relig ious holiday or any other event shall
contact OESO-Fire & Life Safety Division to obtain permission and information concerning fire prevention. Students and groups
w ill be held financially accountable for any damage they cause as a result of violating this policy and w ill be referred to the
disciplinary process. Additiona lly, students may be subject to a revocation of their Housing License for any vio lation of the Fire
Safety policy.
Electrical Wiri ng /App liances. Tampering with electrical wiring, including, but not limited to, the installation of direct-wired
cei ling fans and unauthorized entry into electrical panel boxes, is prohibited. Residents are responsible for any damages
caused by electrica l appliances that are not owned by Duke University.
All electrical appliances shall be UL approved and maintained in good condition. Numerous electrical devices plugged into
one outlet through an outlet cube or extension cord may cause a circuit overload or may cause overheating of the electrical
appliances, resulting in a fi re. Therefore, the use of outlet cubes or extension cords is prohibited. Use a power strip with a built-
in circu it breaker.
Heat-producing appliances (e.g .. hair dryers, coffee pots, irons, etc.) should never be plugged into multi-plug adaptors,
extension cords, or power strips, and should never be left unattended.
Fire Alarms/Drills. Never assume that a fire alarm is a drill or false alarm. Remain ca lm and evacuate the facility. Evacuation
is mandatory for all individuals when th e fire alarm is sounding. Anyo ne who fai ls to evacuate may face disciplinary action.
Remember to follow the instructions of the emergency responders. Do not re-enter the facility until authorized. If you have any
information regarding the alarm, present that information immediately to the responding emergency personnel.
Fire Extinguishers, Sprinklers, and Other Fire-Fighting / Detecting Equipment. Relocating, removing , tampering w ith, or
destroy ing smoke detectors or fire-fighting equipment is strictly prohibited. Damage and/or theft of fire equipment also is
punishable under North Carolina state law.
Fireworks. Students may not possess/use fireworks of any kind on campus. Anyone who sees a person w ith these materials
should immediately report it to Duke Police.
Flammable/Co mbustible Materials in the Residential Areas, Flammable/combustible materials, including but not limited to
gasoline, lighter fluid , and propane lanterns, are not permitted in residential areas.
Grills. North Carolina state law prohibits the use of portable charcoal. gas, or electric grills within 10 feet of all residence halls/
apartments. Storage of grills not in use, which are cool, is permitted on t he exterior of the structu re or in approved locations.
Failure to abide by this ordinance may result in a fine as determined by the Durham Fire Marshal in addition to disciplinary
action.
Halogen Lamps. Fire & Life Safety and Housing and Residence Life (HRU prohibit halogen lamps in residential areas. Th e very
high temperatures reached by their bulbs constitute a fire hazard and a potential source of burns. In addition , the geometry of
the floor model lamp tends to make them very unstable and easily tipped over.




               Duke takes matters of fire safety very seriously. Please contact Duke Police, Fire Safety, residence hall team
               members. or other university staff if you spot any of the following :
                    •    broken or beeping smoke detectors
                    •    fire extinguishers that have been removed from their posts
                    •    brush or other uncontained fires
                    •    downed electrical wires
                DUPO: 919-684-2444
                Fire Safety: 919-684-5609
                RC on-call: 919-970-4466
               Tampering with fire safety equipment often results in revocation of a student's Housing License.




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       Obstruction of Hallways, Stairwells, Sidewalks, and Lawns. North Carolina fire safety codes prohibit the obstruction of hallways
       and stairwe lls. The Durham Fire Marshal mandates the immediate remova l of all items obstructing hallw ays and stairwells. HRL.
       Facilities Management, Fire & Life Safety, or Duke Police w ill remove without wa rning or reimbursement furniture. bicycles.
       lumber, and all other items found obstructing hallways or stairwe lls. University furniture w ill be removed from hallways and
       stairwells and residents m ay be charged for missing furniture. Sidewalks. stairways, and entryways must not be used for
       purposes other than ingress or egress. Bicycles may not be left in these areas or other locations w here they may cause harm to
       persons or groundskeeping equipment.
       Motorcycles must be parked in parking lots. Delivery trucks, automobiles. motorcycles, scooters, and mini-bikes are not
       permitted on lawns and wa lkways, patios, or stairwells. These vehicles must be parked in legal parking spaces.
       Open Fires on Campus. Open fires , including bonfires. are not permitted on Duke University property except as approved by
       the OESO Fire & Life Safety Division and the Durham Fire Marshal. Students w ho either provide or contribute materials to burn
       or who ignite or attempt to ignite flammable materials w ill be considered in violation of this policy. Students also should realize
       that such actions vio late state law and may result in a citation for unlaw ful burning.
       Open Flames. It is a vio lation of university policy to light any m aterial on fire on campus. Candles, other open flame devices,
       grills, incense, and any other flame/heat producing items are strictly forbidden for use inside university facilities except during
       official religious ceremonies. such as the observance of Chanukah. Permission for use of any open flame devices (including
       those used for religious ceremonies) must be obtained from OESO Fire & Life Safety Division prior to use. A copy of the signed
       approval letter must be maintained at the location approved for an open flame device.
       Students wi ll be held financially accountable for any damage they or the open flame device causes as a result of violating th is
       policy and may be referred for disciplinary action.
       (See "Appendix H - Theme Parties and Decorations" on page 78.)




       GAMBLING
       It is against North Carolina state law and Duke University policy to gamble, with the exception of the state lottery. A person/
       organization is gambling if he/she/it operates, plays, or bets at any game of chance at wh ich any money. property, or other
       thing of value is bet. Raffles of any kind. including those sponsored by student groups. are also prohibited. A "raffle" is defined
       as "a game in w hich the prize is won by random drawing of the name or number of one or more persons purchasing chances"
       (N .C.G.S. §14-309.15). Poker nights and casino games are permitted only if no admission is charged, no buy-in is required. and no
       real money is wagered.




       GUESTS
       Students and groups are responsible for notifying their guests of university rules and regulations and may be held accountable
       for the conduct of their guests. Guests can be Duke University stud ents or non-students. Guests on campus who do not abide
       by university policies are subject to being trespassed.
       Students are responsible for the behavior of visitors to their room/apartment and may be found responsible for behavior that
       occurs there w hether or not the occupant(s) is/are present.




       HARASSMENT
       Harassment of any individual for any reason is not acceptable at Duke University. Harassment is unw elcome verbal or physical
       conduct that because of its severity. pervasiveness, and/or persistence. interferes significantly with an individua l's work or
       education, or adversely affects an individual's living conditions. (See the "Student Sexual Misconduct Policy and Procedures"
       on page 42 for the definition of and procedures related to sex/gender-based harassment by an undergraduate or graduate
C      student.) The Office for Institutional Equity responds to allegations of harassment in which an accused is not an undergraduate
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(1)    student: see oie.duke.edu /we-can-help/complaints-and-concerns/harassment for the university's full Harassment Policy.
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HAZING
Hazing is a serious infraction of university regulations. The potential for hazing typically arises as part of a student's introduction
to or initiation in an organization (fraternity, sorority. athletic team, or other group) in which there is often a perceived or real
power differential between members of the organization and those newly joining it.
Hazing defined. Hazing is defined as any action taken or situation created, whether on or off university premises, that is
harmful or potentially harmful to an individual's physical, emotional, or psychological we ll-being , regardless of an individual's
willingness to participate or its bearing on his/her membership status. Such activities and situations include, but are not limited
to:



LEVEL I VIOLATIONS
    •    marching in line
    •    road trips
    •    wearing apparel which is conspicuous and not normally in good taste, and/or inappropriate for the time of year
    •    calisth enics
    •    line-ups
    •    pledge/signature books
    •    periods of silence
    •    standing for a length of time
    •    personal servitude
    •    activities that would not normally construe hazing but because of time, place, or manner make them inappropriate



LEVEL II VIOLATIONS
    •    sleep deprivation or interruption of consecutive sleep hours
    •    expected or forced consumption of food. drink (including alcohol), or other substance
    •    acts of humiliation or degradation (including streaking or wearing degrading or humiliating apparel)

    •    restrictions on eating or bathing
    •    acts that disrupt academic instruction or learning of others
    •    interruption or interference of academic commitments



LEVEL 111 VIOLATIONS
    •    branding
    •    paddling in any form
         compromising (sexual) situations


Any individual or group found responsible for hazing will be subject to sanctions outlined in the disciplinary process, including,
but not limited to: disciplinary probation. social suspension, suspension of charter, restrictions on member recruitment and/or
group activi ty, removal of the individua l from the group. loss of housing privileges. suspension. and/or expulsion. Sanctioning
w ill increase with the leve l of violation and any previous hazing violations. (Levels of vio lation listed above are guidelines only
and may change given particular circumstances of a violation.) Students should also be aware that hazing is a misdemeanor
under North Carolina state law.
Acts or potential acts of hazing may be reported to the Office of Student Conduct (919-684-6938) or Duke Police (911 or 919-
684-2444). In addition, concerns may be reported confidentially via voicemai l to the university's Hazing Hotline at 919-684-5766.
Maintaining the confidentiality of the source is possible, but may limit the extent of action that can be taken.




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     WHAT IS HAZING? WHAT IS NOT HAZING?
     ROAD TRIPS
     Zeta Gamma fraternity plans a group outing to enhance the sense of brotherhood among its associates and new
     members during the pledging period. The new member educator uses the group listserv to announce a weekend
     camping trip three weeks in advance. In the email. all members are notified that the group w ill spend two nights
     sleeping in tents at Jordan Lake, and the email includes details such as departure/return times and a list of planned
     activities. The email asks the members to respond with their availability and invites them to pitch in $10 for food and
     non-alcoholic beverages. The email makes explicit that no alcohol will be served on this trip, and that all members
     are encouraged to attend but that attendance is not required.
     This is NOT a violation of the Hazing Policy. All members of the Zeta Gamma fraternity are invited to participate in
     the camping trip and contribute an equal amount of money. The trip includes a specific agenda and sets detailed
     expectations for a member's time commitment.
     The recru itment chair of the Lambda Pi Psi fraternity planned a surprise getaway for its new members. A few
     associates were asked to help plan the event, and the recruitment chair secured the DukeCard of a first-year student
     in order to enter the East Campus residence halls. At 3 o'clock on a Saturday morning, current members stormed
     into the new members' rooms and yelled at them, stating they had 15 minutes to get dressed and meet at the East
     Campus Bus Stop, but that this was an optional activity. Th ey were not given any further instructions. New members
     put their clothes on and ran to the bus stop, where cars were waiting for them. After they got into the cars, the new
     members were blindfolded and were driven approximately 20 minutes to an undisclosed location. They were made
     to get out of the car and hand in their cell phones and wallets to an associate. The new member educator then told
     the new members that they needed to make their way back to campus by 10 o'clock in th e morning for mandatory
     physical training.
     This IS a violation of the Hazing Policy. Regardless of the new members' willingness to participate, the activity was
     harmful to their physical and emotional well-being. The new members engaged in this activity under the watch of
     associates. In addition to Hazing, the group may be charged with potential policy violations of Noise, Disorderly Conduct.
     and Property/Facilities/Services - Unauthorized Access. Lambda Pi Psi's president. new member educator. and current
     members who participated in the activity by driving or waking up the new members may also be held individually
     accountable for policy violations.



     SCAVENGER HUNTS
     The business fraternity Epsilon Delta Omega has developed a scavenger hunt to help create a sense of belonging
     and brotherhood. Teams consisting of both new and associate members are given a list of tasks to be completed on
     the Quke campus that engage them in learning more about the university and each other. Such tasks include visiting
     the Duke Chapel crypt and getting the names of the former Duke presidents who are buried there, finding out w ho
     the "Griffith" is in the name "Griffith Board Room" and what his role was at Duke, and meeting one of the directors of
     academic engagement at th e Academic Advising Center. A specific time limit is set for the scavenger hunt during the
     day. and the members of the team who have completed the most tasks each win a gift certificate to The Parlour in
     Durham.
     This is NOT a violation of the Hazing Policy. There is no penalty for not completing tasks. Members are not required to
     complete ridiculous or dangerous tasks. Current members are asked to participate equally in the activity.
     A highly regarded a cappella group has auditioned a large number of students and is ready to accept a few new
     members, but wants to make sure they are committed to the long practice hours and tight-knit friendship. They
     distribute a list of requ ired tasks the new members must complete between the hours of 10 PM and 8 AM the
     following morning. The new members are split into teams based on which students have access to cars, and the
     returning members gather at a member's off-campus house to watch a basketball game. The task sheet. which
     includes activities like stealing a parking gate arm, taking a selfie w hile riding the mechanical bull at a local bar, and
     bringing a pizza to the house, also notes that for each task the team does not complete, a team member will have to
     run a circuit around the East Campus loop.




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This IS a violation of the Hazing Policy. The new members are subjected to absurd requirements that offer no substantial,
meaningful engagement with either the group members or the university. New members are put under additional
pressure with physical penalties. and the current members are not participating equa//y in the event. Further, the new
members are required to violate university policy by taking a parking gate arm. which may result in additional disciplinary
charges for the group.



COSTUMES/APPAREL
The Marketing Club is considering creative ways to market its annual Library Party to the Duke community. One
member suggests that during the week before the party, members dress up during the day in costumes that lend
themselves to t his year's theme. "Heroes and Villains." The group asks for volunteers from the planning committee
to participate. and gives them flyers to pass out on the Bryan Center Plaza and around campus to passersby.
Throughout the week before the party, Superman, Darth Vader. Black Widow. and Buffy the Vampire Slayer are
spotted on campus talking to people about the party.
This is NOT a violation of the Hazing Policy. Students are invited to volunteer to dress up to promote the party, and
wearing a costume is not a condition of membership or joining the group.
Th e women's gymnastics team is trying to gather interest from the Duke community in attending its only home meet
of the season. Each year. the freshman members of the team are required to don silly costumes such as a cow with
udders. a monkey suit. and a cowgirl. The older members of the team instruct the freshmen to ride the East-West
campus bus for hour-long shifts wearing their costumes and handing out flyers for the meet.
This IS a violation of the Hazing Policy. First-year team members are singled out and are made to promote the meet
without the older members of the team. Even if upperclassmen had to do the same activity when they were freshmen
(which sti/1 is considered a violation of the Hazing Policy), new members may not be required to do so.
Making an activity optional does not change the fact that it may be construed as hazing. The culture of joining
new groups creates a tacit understanding that those who want to join w ill participate in any way possible to gain
acceptance. Consent to being a participant in or perpetrator of hazing is not justification for violating this policy.



OTHER EXAMPLES OF HAZING:
    •    Physical training. calisthenics. exercise (Level ll: New members may neither be asked nor required to
         participate in any physical activity except in the context of club sports, intramurals. etc.
    •    Being required to have on one's person specific objects. food, or beverages (Level I)
    •    Texting or calling new members at various times of day and night in order to run errands (Level I)
    •    Requiring new members to clean up following group parties (unless all members of the group are asked to
         participate) (Level I)
    •    Mandatory study hours at unusual times or that interrupt a student's academic schedule (Level Ill
    •    "Kidnapping" new members at any time of the day (Level I or Ill
    •    Torturing animals (Level II or Il l)
    •    Requiring new members to serve as designated drivers (Level I or Ill



COMMON ACTIVITIES THAT ARE NOT CONSTRUED AS HAZING:
    •    Requesting that new members wear more formal attire, such as blazers and ties. on a certain day of the
         week (apparel that is not conspicuous or inappropriate)
    •    Requesting that new members wear a specific color to an event for members of the group (apparel that is                <I
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         not conspicuous or inappropriate)                                                                                     :;:;
                                                                                                                               ca.
    •    Tenting in Krzyzewskiville. Students who sign up to participate in tenting are given explicit instructions and
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         expectations for attendance before getting involved. Tent checks and sleeping in cold weather are not
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         construed as hazing: those who choose to tent are not seeking membership or initiation into an organization           i:
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       NOISE
       Students and groups are expected to res pect the rights of others at all times. During specified hours. higher noise levels are
       perm itted but must remain at a level considerate of those students who w ish to study or sleep:



       CENTRAL AND WEST CAMPUSES:
       Quiet hours are in effect at all tim es other than as noted below. w hen reasonable levels of noise w ill be permitted:
                5:00 p.m. -7:00 p.m. Monday-Thursday
                5:00 p.m.-2:00 a.m. Friday
                1:00 p.m.-2:00 a.m. Saturday
                1:00 p.m.-6:oo p.m. Sunday
       Additionally, amplified sound is permitted on the Plaza between noon and 1 p.m. on weekdays.



       EAST CAMPUS:
       Quiet hours are in effect at all times other than as noted below. w hen reasonable levels of noise w ill be permitted:
                5:00 p.m. -midnight. Friday
                Noon-midnight. Saturday
                Noon -6:oo p.m. Sunday



       ALL CAMPUSES:
       From reading day(s) th rough the end of finals. quiet hours are in effect 24 hours a day.
       Students w ho are disturbed by noise should attempt to resolve the si tuation by contac ting th e other party(ies) involved: or,
C      if needed, seek the assistance of living group officers. resident assistants. graduate residents, or residence coordinators. If
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CD     necessary. persistent comp laints may be registered by calling Duke Police at 919 -684-2444. Students are responsible for
a      the actions of th eir guests: cohesive units. as a w hole. may be held responsible for violations of this policy by their individual
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Q.     members or their guests. Initial complaints w ill be referred to appropriate residential staff. Depending on the nature and severity
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a,     of th e vi olation. as well as the existence of prior violations. the comp laint may be forwarded to the Office of Student Conduct for
co     disciplinary action.
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PHYSICAL ABUSE, FIGHTING, AND ENDANGERMENT
Any physica l abuse, fighting , and/or endangerment to an individual or group is specifically prohibited. Thi s behavior includes,
but is not limited to:
    •    physical violence (initiating or responding to) or attempted physical violence against a person or group. This includes
         fighting.
    •    threat of physical violence against a person or group.
    •    any action that endangers the health, safety, or welfare of a person or g roup.
/Wording adopted from Eastern Michigan Student Conduct Code.I




PICKETS, PROTESTS, AND DEMONSTRATIONS
Statement of Policy. Duke University respects the ri ght of all members of the academic community to explore and to discuss
questions w hich interest t hem, to express opinions publicly and privately, and to join tog eth er to demonstrate their concern
by orderly means. It is th e policy of th e university to protect the right of voluntary assembly. to make its facilities avai lable fo r
peaceful assembly, to welcome guest speakers, to protect the exercise of these rights from disruption or interference.
The university also respects th e right of each member of the academic community to be free from coercion and harassment.
It recognizes that academic freedom is no less dependent on ord ered liberty than any other freedom, and it understands that
the harassment of others is especia lly reprehensible in a community of scholars. The substitution of noise for speech and force
for reason is a rejection and not an application of academic freedom. A determination to discourage conduct w hich is disruptive
and disorderly does not threaten academic freedom: it is rather, a necessary condition of its very existence. Therefore. Duke
University wi ll not allow disruptive or disorderly conduct on its premises to interrupt its proper operation. Persons engaging
in disruptive action or disorderly conduct shall be subject to disciplinary action, including expulsion or separation, and also
c harg es of violat ions of law.
Students planning a picket. protest, or demonstration should contact University Center Activities and Events (919-684-4741) for
guidance and further information.
Rule. Disruptive picketing, protesting , or demonstrating on Duke University property or at any place in use for an authorized
university purpose is prohibited.
While Duke University recognizes the right to voluntary assembly, members of the university community must recognize that
the Medical Center provides care for individuals needing uninterrupted medical services in tranquil surroundings. According ly,
all pickets. demonstrations. mass assemblies, and protests shall be confined to campus areas and are st rictly prohibited in or
around any Medical Center building .
Hearing and Appeal. Cases arising out of violations of the Pickets and Protests Regulations wi ll be heard by the Universi ty
Judicial Board, in accordance with the procedures outlined herein. The University Judicial Board shall have jurisdiction over
members of th e student body, members of the faculty, and ad ministrative personnel of t he university not subject to th e
personnel policy handbook. Hearings wi ll be conducted with regard for academic due process. The decision of the University
Judicial Board shall be final if the accused is exonerated or if there is no appeal. In other cases, students may appeal to the
president. or, in his/her absence. the provost. in w hich case such appeal shall be solely on the record of the proceedings
before the Hearing Committee of the University Judicial Board. Argumen t on appeal shall be on written submission, but the
president may, in addition, require oral argument.
A Hearing Committee w ill consist of two fac ulty members, one dean. and two students. These students will be selected from
members of th e judicial boards or governments in the undergraduate, graduate, or professional colleges or schools. The
chair of the Hearing Committee w ill be designated by its members. Th e Hearing Comm ittee w ill conduct its proceedings in
accordance with academic due process.
Am endments. Th ese regulations on pickets. protests, and demonstration s may be changed or amended by the university
at any tim e but any such change or amendment shall be effective on ly after publication or other notice. These regulations
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supersede any regulations heretofore issued on the subject.                                                                                  a.
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                      Students may be held accountable by the university for their behavior off campus, from Durham to Dubai.
                      Undergraduates are commonly issued citations by local law enforcement for such behavior as possessing a
                      container of alcohol while under the age of 21 and playing loud music and/or having loud guests after 11:00
                      p.m. (the time at w hich the Durham Noise Ordinance goes into effect each night).
                      St udents w ho live off campus are encouraged to meet their Durham neighbors and be considerate of
                      them. All undergraduates should become familiar with local ordinances and laws before leaving the Duke
                      campus.




       PROPERTY/FACILITIES/SERVICES
       Students and groups are expected to respect the property of oth ers (including that of the university) and may be subject to
       disciplinary action for the following:
           •    theft of th e property and/or services of another;
           •    damage. destruction. or defacement of t he property of another, includi ng litteri ng or chalki ng of un iversity property;
           •    wrongful appropriation of t he property and/or services of another:
           •    unauthorized possession and/or use of th e property of another, including knowingly being in possession of stolen
                goods (this includes unauthorized use of vehicles. equipment. services, the Duke University name and logo);
           •    unauthorized access, entry, and/or use of university or non-university faci lities or property, including but not limited to
                buildings, classrooms, residential rooms, athletic areas, Central Campus pool. parking areas, roofs, ledges, and tunnels;
                and/or
           •    violation of any policy or guidelines pertaining to specific usage of a university facility.
       [Wording adopted from Eastern Michigan Student Conduct Code.I




       SEXUAL MISCONDUCT
       See "Student Sexual Misconduct Policy and Procedures" on page 39.



       SMOKING
       Duke University seeks to preserve a living and working environment supportive of behaviors that contribute to the physical
       health and well-being of all community members. Smoking any substance is not permitted in any university building,
       including residence halls and apartments. Examples of prohibited smoking devices include, but are not limited to, cigarettes,
       e-cigarettes, and vaporizers.
       Smoking is neither perm itted w ithin 10 feet of residential buildings, academic buildings, and dining facilities, nor anywhere
       on the campus of the Medical Cen ter. Smoking is prohibited in specifically designated outdoor areas as determined by the
       manager of those spaces (e.g .. the Plaza).




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SOLICITATION
Recognized student organizations may use the Plaza for the purpose of sales, distribution, or promotion of events (also known
as "tabling"). Tabling is administered by University Center Act ivities and Events (UCAE). Contact UCAE at 919-684-4741, 036
Bryan Center, or visit studentaffairs.duke.edu/ ucae for more information and detailed guidelines.
Solicitation is prohibited within a 200 -foot rad ius of the West and East Campus bus stops.
Commercial or outside solicitors (including student employees of outside vendors) are prohibited withou t permi ssion of the
approp ria te space manager.



STALKING
Stalking is a course of conduct (including cyberstalkingl di rected at a specific person that would cause a rea sonable person to
fear for her, his, or others' sa fety, or to offer substantial emotional distress. Sex/gender- based stalking falls under th e Student
Sexual Misconduct Policy (see page 43).




UNAUTHORIZED SURVEILLANCE/PHOTOGRAPHY
Capturing or recording audio, video, or photographic images of an individual in a location or under circumstances in w hich that
person has a reasonable expectation of privacy, including , but not limited to, shower/ locker room s, residence hall rooms. and
restrooms, is prohibited. Also prohibited is the storing , sharing , and/or other distribution of such unauthorized surveillance/
photography (no matter w heth er direc tly or indi rectly obtained) by any means, electronic or non-electronic.
/Wording adopted from Rice University.I




     Alumni or current students who are applying to law school. medical school or other graduate programs. or, who
     want to work for the government. will likely be asked to report their disciplinary history. If you have a form for us to
     complete as part of the application (often called a "Dean's Certification" form), send it to us at:
     Office of Student Conduct
     Box90893
     Durham. NC 27708-0893
     conduct@duke.edu
     fax: 919-681-7390
     Please allow 5 - 7 business days for your request to be processed. Because of the volume of requests received, we
     cannot guarantee a response earlier than five business days, though we do our best to process requests sooner.
     It is critically important that students/alumni be honest in sharing information about their disciplinary history, as
     universities/the government do follow up with us. Perhaps the worst thing you can do is minimize or even lie about
     an incident in which you were involved. Often, a student's forthrightness about an incident. and an explanation of what
     he/she has learned from the incident, can be a plus factor for a student.




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       WEAPONS/FIREARMS/EXPLOSIVES
       Although North Carolina law permits wea pon s on public university campuses under certain parameters, Duke University policy
       has not changed and continues to prohibit weapons on campus.
       It is against university policy to possess and/or use a gun, rifle, pistol. or other firearm of any kind , or any powerful explosive on
       university property. Add itionally, other than w hen permitted by the Vice President for Student Affairs (or his/her designee) for
       legitimate educational purposes, students are not permitted to possess and/or use on campus any weapon. including but not
       limited to pepper spray. mace, BB gun, stun gun, paintball gun, potato gun, realistic-looking toy gun, air rifle. air pistol. sword.
       bowie knife, dagger, slingshot. switchblade knife, blackjack. and metallic knuckles.




       OTHER VIOLATIONS
       Other violations for w hich students or groups may be subject to discip linary action include, but are not limited to:
           •    violating any other published or posted university regulation not specifically mentioned in this section, including the
                Housing License, Housing and Residence Life regulations, student activities regulation s, guidelines for organizations,
                parking regulations. etc.:
           •    acting as an accomplice th ro ugh action or negligence to the commission of any prohibited act
           •    attempting or intending to comm it any violation of laws and/or university policies: and
           •    violating local ordinances or state or federal laws (as determined through the university's disciplinary process),
                including those related to noise, housing occupancy, and/or the use or distribution of alcohol.




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         STUDENT SEXUAL
         MISCONDUCT POLICY
         AND PROCEDURES:
         DUKE'S COMMITMENT
         TO TITLE IX


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       I. INTRODUCTION
       Duke University is committed to encouraging and sustaining a learning and living community that is free from harassment.
       violence. and prohibited discrimination. In that regard and consistent w ith federal law (e.g., Title IX of the Education
       Amendments of 1972 and the Violence Against Women Act), Duke has developed this comprehensive Student Sexual
       Misconduct Policy, applicable to all students (undergraduate. graduate, and professional. or any studen t enrolled in any Duke
       program). Further. Duke conducts extensive education and awareness programs with the goal of preventing and discouraging
       sexual/gender violence and other forms of sexual misconduct.
       As discussed more fu lly below, thi s Studen t Sexual Misconduct Policy prohibits all forms of sex/gender-based harassment.
       sexual/gender violence, sexual exploitation, relationship violence (domestic violence and dating violence). and stalking.
       Collectively, these terms are referred to in this policy as "Sexual Misconduct." They are defined below under "Prohibited
       Conduct." (Note that non-sex/gender-based harassment is also a violation of university policy, as described under the
       university's Harassment Policy, ava ilable at bit.ly/dukeharassm ent.l
       The Student Sexual Misconduct Policy serves three principal purposes. First. it establishes conduct standards-namely,
       prohibited sexual misconduct- for all Duke students. Note that a violation of this policy may also constitute a crime. w hich can
       be independently reported to Duke Police, Durham Police. or other appropriate law enforcement agency.
       Second, the Student Sexual Misconduct Policy outlines reporting , investigation, and complaint resolution procedures in cases
       w here it is alleged that a Duke student has engaged in sexual misconduct. This policy refers to the individual who is the alleged
       victim of t he behavior(sl in question as th e "complainant" and the student alleged to have committed th e violation of the policy
       as the "respondent." Both the complainant and the respondent will be treated fairly and w ith respect throughout the process.
       Respondents are enti tled to a presumption that there is not a violation of thi s policy throughout the disciplinary process unless
       and until they are found respon sible for a violation of this policy.
       In the paragraphs that follow, the Student Sexual Misconduct Policy specifies to whom violations of this policy should be
       reported, the availability of confidential reporting. adm inistrative actions available to the complainant and the respondent. how
       the university w ill investigate and resolve alleged violations. possible sanctions. and appeals.
       The Office of Student Conduct is primari ly responsible for implementing these procedures: the Office for Institutional Equity
       assists by investigating reports that the Office of Student Conduct refers to it. Anyone with concerns about a possible violation
       of the Student Sexual Misconduct Policy by a student is encouraged to contact t he Office of Student Conduct at 919-684-6938,
       conduct@duke.edu, or via studentaffairs.duke.edu/conduct/report-incident.
       Third. the Student Sexual Misconduct Policy describes resources available on campus and in the community to assist
       students in dealing with the impact of sexual misconduct. w heth er it happened recently or in the past. Such services include,
       for example. the Office of Gender Violence Prevention and Intervention (GVPll in the Women's Center, Counseli ng and
       Psychological Services (CAPS), DukeReach, Duke Police (for possible criminal conduct), and administrative actions arranged or
       issued by the Office of Student Conduct. the Office for Institutional Equity, GVPI. and/or the Vice President for Student Affairs (or
       designeel. In addi tion, resources are available to respondents during and, in some cases, after the complaint process.
       Dr. Benj amin D. Reese (919-684-8222, ben.reese@duke.edul. Vice President of the Office for Institutional Equity (oie.duke.
       edul, is the individual respon sible for th e coordination and administra tion of Duke's nondiscrimination and harassment policies
       generally. Howard Kallem (919-684-1437, howard.kallem@duke.edu), also in th e Office for Institutional Equity, is th e Director
       ofTitle IX Compliance (Title IX Coordinator). In this role. Mr. Kallem is responsible for overseeing the university's Ti tle IX
       compliance, including this policy and its complaint-resolution procedures: as such . Mr. Ka llem receives comments/concerns
(/)
       from students about this policy's implementation. The Office for Institutional Equity is located in Smith Warehouse, 114 S.
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       Buchanan Blvd., Bay 8, Durham. North Carolina, 27708.
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       CONFIDENTIALITY
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;;;·   A student may discuss an alleged violation of thi s policy w ithout the information being reported to the Office of Student Con-
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       duct w ith those w ho serve in a professional role in which communication is privileged under North Carolina law and to those
::s    whom the university has designated as a confidential resource consistent wi th Title IX. Those person s include:
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""(J       •    Student Health staff
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()         •    Counseling & Psychological Services (CAPS) staff
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::s        •    Women's Center staff
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Students should be aware that. w ith the exception of these confidential resources, all employees who become aware of
conduct that might fa ll under this policy are expected to notify the Office of Student Conduct w ith the names of t he parties
involved and the details of the report. Students w ho serve in an ongoing peer-advising role (such as Resi dent Ass istan ts) are
also expected to file such reports w ith the Office of Student Conduct.




INFORMATION FOR COMPLAINANTS
Complainants will be treated w ith respect before. during . and after the disciplinary process. During an initial meeting , the Office
of Student Conduct will inform the complainan t of th e university's disciplinary process and possible outcomes. The Office of
Student Conduct will communicate substantive and, when warranted , procedural developments regarding an investigation.
Th e alleged conduct may also be criminal in nature, and complainants have the right to report- or not to report-the conduct
to Duke Police, Durham Police, or other appropriate law enforcement agency. A criminal report does not preclude university
d iscipli nary action.
Complainants are strong ly encouraged to seek counseling and support avai lable throug h resources such as Gender Violence
Prevention and Intervention (GVPI) in the Women's Center. Counseling and Psychological Services (CAPS), and Durham
Crisis Response Center (DCRC). For more information on these resources, please see "Support Services and Options for
Complainants" on page 48.
Regardless of whether a complainant pursues a criminal complaint and/or the university's complaint process throu gh this
policy, the university may investigate th e incident(s) in question and wi ll take appropriate respon sive action to ensure that the
educational environment is free of harassment and to prevent the recurrence of a hostile environment- and , if appropriate,
remedy the effects of the alleged harassment on the complainant. As discussed later in the policy. remed ies available to a
complainant may include. but are not limited to: reasonable academic accommodations, on-campus housing reassignment.
a "no contact" directive between the respondent and the complainant. and disciplinary action against the respondent as
determi ned through th e disciplinary process outlin ed in thi s policy. Mediation is not appropriate for any allegation of sexual
violence.
A complainant may request or the university may issue administrative actions and supports such as a "no contact" directive and
changes to academic and living situations through the Office of Student Conduct, GVPI in the Women's Center, and/or the Title
IX Coordinator regardless of whether a complainant files a formal report. A complainant w ill be notified as to what changes are
reasonably available and/or are being implemented.




INFORMATION FOR RESPONDENTS
Respondents w ill be treated w ith respect before, duri ng, and after the discipli nary process. During an initial meeting, the Office
of Student Conduct wi ll inform the respondent of the university's disciplinary process and possible outcomes. Th e Office of
Student Conduct w ill communicate substantive and, w hen warranted, procedural developments regard ing an investigation.
Note that alleged behavior may also be criminal in nature, and a resp ondent may be subject to a crim inal investigation by th e
appropri ate law enforcement agency at the same time as an investigation by the university under thi s policy; th e respo ndent
may w ish to consult w ith a criminal lawyer as the Office of Student Conduct does not provide advice as to th e criminal process.
Respondents are entitled to a presumption that there is not a violation of this policy throughout the disciplinary process unless
and until they are found responsible for a violation of this policy.
Respondents have the right to (and are strongly encouraged to seek) counseling and support available throug h resources such                If

as CAPS, DukeReach , or other university and local reso urces.
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A respondent may requ est. or the Office of Student Conduct and/or the Title IX Coordinator may change, academic and living                 L
situations and will be notified as to w hat changes are reasonably available and/or are being implemented.                                  ~
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II. SCOPE                                                                                                                                 c0.
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This Student Sexual Misconduct Policy applies to any instance in w hich any Duke student (undergraduate, graduate,                        i:
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professional. or any student enrolled in any Duke program) is alleged to have engaged in sexual misconduct against anyone                   C
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(e.g .. a student. employee, or third party such as a visiting athlete, guest speaker, or contractor), regard less of the complainant's    2
or respondent's sex, gender, sexual orientation, or gender identity.' Th e university w ill respond to any complaint of sexual

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 The Office for Institutional Equity (Smith Warehouse. Bay 8, 919-684-8222) receives reports and handles complaints alleging
sexual m isconduct by employees and all other non-Duke students under the Duke Universi ty Harassment Policy, oie.duke.
edu/we-can -help/complaints-and-concerns/harassment.




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        misconduct. including conduct alleged to have occurred during breaks, leaves of absence, or periods of dismissal, whether
        on or off campus. The disciplinary process is availab le as an option while a respondent remains a student at Duke. With the
        agreement of the Vice President fo r Student Affairs and the dean of the responde nt's college or school. d isciplinary action may
        be taken against a student w ho has graduated and is alleged to have comm itted a violation w hile a student.



        Ill. PROHIBITED CONDUCT
        Rule. Duke University proh ibits all forms of sex/gender-based harassment. sexual/gende r violence, sexual exploitation,
        relationship violence (domestic vio lence and dating violence), and stalking.
        Sex/Gender-Based Harassment. Sex- or gender-based harassment may take two forms:
        One form of harassment is unwelcome verbal or physical conduct based on sex that. because of its severity, persistence. and/
        or peNasiveness, creates a hosti le environment by interfering significantly w ith an individual's work or education, or adversely
        affec ting an individual's living cond itions.
        The other form of harassment is a student's use of a position of authority (e.g., as a TA, RA. team captain, or officer in a fraternity
        or sorority) to engage in unwelcom e sexual advances, requests for sexual favors, or other verbal or physical conduct of a sexual
        nature w hen:
            •      submission to such conduct is explicitly or implicitly made a term or condition of an individual's employment or
                   education: or
            •      submission to or rejection of suc h conduct is used as a basis for decisions affecti ng an individual's education or
                   employment.
        The conduct alleged to con stitute harassment under this policy must be sufficiently severe, persistent. and/or peNasive to
        actually interfere with the complainant's work, education, or living conditions to a significant degree. The severity, persistence,
        and/or pervasiveness of the alleged conduct w ill also be evaluated from the perspective of a reasonable person similarly
        situated to t he com plainant and in consideration of the context of the behavior.
        Harassment must be distinguished from behavior that. even though unpleasant or disconcerting, is appropriate to the carrying
        out of certain instructional. advisory, or supervisory responsibilities or to leg itimate academ ic and related discussions.
        Sexual Violence. Sexual violence is a particularly severe form of harassment defined as any physical act of a sexual nature
        based on sex and perpetrated against an individual w ithout consent or w hen an individual is unable to freely give consent. See
        Section IV of thi s policy (page 43) for more informati on about consent.
        Physical acts of a sexual nature include, but are not limited to, touching or attempted touching of an unwi lling person's breasts,
        buttocks, inner thigh s, groin, or genitalia, either di rectly or indirectly; and/or sexual penetration (however slight) of another
        person's oral. anal. or genital opening with any body part or object.
        Sexual Exploitation. Sexual exploitation includes taking sexual advantage of another without consent for one's benefit or the
        benefit of another party.




(fl             Examples of conduct that may constitute sex/gender-based harassment include:
ca.                •    Continued unwelcome questioning about intimate or personal matters
(D
~                  •    Unwelcome touching, or other physical acts of a sexual nature
(fl

\!!C               •    Severe, persistent. or peNasive comments or jokes of a sexual nature
~
3::                •    Severe, persistent. or peNasive unwelcome comments or conduct regard ing an individual's sexual
;:;;·                   orientation or gender identity
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:::l
a.                 •    Sending emails that contain extreme or persistent sexual messages, images, or language
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~                  •    Repeated derogatory comments of a non-sexual nature relating to a particular sex/gender generally and
'"CJ
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                        targeted to (a) specific individual(s) of that sex/gender
n
<                  •    Sex/gender-based violence-non-sexual physical assault of an individual because of the individual's sex or
ru
:::l                    gender
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'"CJ
0               Harassment may be verbal, nonverbal. or physical and the above list is not exhaustive, but intended only to provide
()
(D              general examples of possible prohibited conduct.
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Relationship Violence. Relationship violence is any act of violence or pattern of abusive behavior in an intimate relationship
that is used by one partner to gain or maintain power and control over another partner. Relationship violence can be physical.
sexual. emotiona l. economic, or psychological actions or threats of actions that influence another person. Relationship violence
includes domestic violence and dating violence (adapted from the Office on Violence Aga inst Women, U.S. Departm ent of
Justice, justice.gov/ovw / domestic-violence).

         Domestic violence is any act of violence or pattern of abusive behavior committed by a student against the student's
         current or former spouse/cohabitant. person similarly situated under domestic or fa mily violence law, or anyone else
         protected under domestic or family violence law.
         Dating violence is any act of violence or pattern of abusive behavior committed by a student w ho has been in a social
         re lati onshi p of a roman tic or intimate nature w ith th e comp lainant. Wheth er th ere was such relationship will be gauged
         by its length , type, and frequency of interaction.
Sex/Gender-Based Stalking. Sex/gender-based stalking is a course of conduct (including cyberstalking) directed at a specific
person that would cause a reasonable person to fear for her, his, or ot hers' safety, or to suffer substantial emotional distress.
Stalking by a studen t not based on sex or gender is addressed under the Stalking Policy.




RETALIATION
Retaliation is prohibited under Title IX and this policy and is adjudicated under this policy and procedures. Retaliation is defined
as words or acts taken in res ponse to a good-faith reporting of sexual m isconduct, or to an individual or group's participation
in Du ke's complaint process or the follow up to a Duke complaint. The policy's prohibition against retaliation also protects
individuals who oppose through w ords or acti ons w hat they reaso nably believe to be sexual misconduct. Retaliation w ill be
a violation of this policy w hen it is sufficien tly serious (e.g., severe, persistent, and/or pervasive) to discourage a reasonab le
person from fu rther such activity. Th e protection against retaliation applies to the parties and to all witnesses. All persons who
believe they have been subjected to misconduct under this policy are encouraged and have the option to seek support, utilize
available resources, and come fo rward w ith their concern or complaint.




     Fear of retaliation should never be an obstacle to reporting an incident of alleged sex/gender-based harassment,
     sexual/gender violence, sexual exploitation, relationship violence, or stalking.




IV. CONSENT
Consent is an affirma tive decision to engage in mutually acceptable sexual activity freely given by clear actions and/or words.




     Consent is an informed decision made freely and actively by all parties. Relying solely upon nonverbal                                  <J

     communication can lead to miscommunication. It is important not to make assumptions; if confusion or ambiguity on                       ~
     the issue of consent arises anytime during a sexual interaction, it is essential that each participant stops and clarifies,            "C
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     verbally, willingness to continue.
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Students should understand that consent may not be inferred from si lence, passivity, or lack of active resi stance alone.                  c0.
Furtherm ore, a c urrent or previous dating or sexual relationship is not sufficient to con stitute consent, and consent to one form
of sexual activity does not imply consent to other forms of sexual activity.                                                                t
                                                                                                                                            "C
                                                                                                                                             C
Conduct is "without consent" if no clear consent, verbal and/or nonverbal, is given. An individual is "unable to freely give                 C
                                                                                                                                             L
consent" when the individual is incapacitated (arising, for example. from the use of alcohol or other drugs or when th e individual         .'!.
is passed out, asleep, unconscious, or mentally or physically impaired). An individual is also unable to freely g ive consent               2
w hen the individ ual is coerced into sexual activity, such as, for example. through the use of physical force, threat of physical or
emotional harm. undue pressure. isolation , or con finement.
The perspective of a reasonable person w ill be the basis for determining whether a respondent knew, or reasonably should
have know n, w hether a complainant was able to freely g ive consent and w heth er consent was g iven. Add itionally, being




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        intoxicated or incapacitated does not diminish one's responsibility to obtain consent and will not be an excuse for sexual
        m isconduct.




             THE IMPACT OF ALCOHOL OR OTHER DRUGS
             The use of alcohol or other drugs can impair effective communication about sexual activity and can hinder one's
             ability to pick up on danger cues and resist an assault. Alcohol or other drugs can also lower inhibitions and create an
             atmosphere of confusion over whether consent is freely and effectively g iven.




        V. COMPLAINT RESOLUTION
        A flowchart illustrating the complaint resolution process can be found on page 52.




        REPORTING
        Students are encouraged to report violations of this policy to the Office of Student Conduct, 200 Crowell Hall. cond uct@
        duke.edu. 919-684-6938, studentaffairs.duke.edu/conduct/report-incident.
        Once a report is rece ived, an investigation and possible immediate and/or interim measures may occur, including adjudication
        through the disciplinary process described below. administrative actions (e.g .. a "no contact" directive, trespass from campus,
        interim suspension), reasonable academic or housing modifications, or other measures designed to reasonably min imize the
        possible recurrence of, and mitigate the effects of, the alleged conduct.




             The Office of Student Conduct handles an alleged violation of t his policy when the person alleged to have committed
             a violation is a student. (The Office for Institutional Equity. Smit h Warehouse, Bay 8, 919-684-8222. receives reports in
             which the person alleged to have committed a violation is an employee or third party.) Reports involving an alleged
             student respondent may be filed at any time while the respondent remains a student at Duke: prompt reporting can
             aid an investigation.




        A complainant may request that t he Office of Student Conduct not reveal the complainant's identity in responding to a report.
        (In some situations, it may be possible to proceed fully w ith an investigation w ithout disclosing the name of the complainant.) A
        complainant may also request that the university take lim ited or no action in response to a report.
        A request to preserve the confidentiality of any party involved in a report or that no action be taken shou ld be made to the
(fl     Office of Student Conduct. 919-684-6938, conduct@duke.edu. Staff in the Office of Student Conduct will confer with the Title
2
Q.      IX Coordinator about the request and inform the party of the extent to w hich confidentiality may be maintained. The university
(1)
;::!.   w ill attempt to preserve t he confidentiality of the complainant and/or respect a request for limited or no action in response to a
(fl     report except w hen, in the university's judgment. doing so would jeopardize the safety of members of the university community
(1)
X       (including the complainant) or where the university is required by law to disclose the information (such as in response to a legal
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~       process).
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Q.
C       IMMEDIATE AND/OR INTERIM MEASURES
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"'CJ    The Office of Student Conduct may issue administrative actions immediately and/or on an interim basis as deemed
Q_
o'      appropriate, including but not limited to restrictions on contact between t he complainant, the respo ndent. and/or other
<       involved parties: exclusion from areas of campus: and, remova l or relocation from residential areas. The Office of Student
a,
:::l
Q.      Conduct adjudicates alleged violations of such t hrough its policies and procedures. The Vice President for Student Affairs, or
"'CJ    designee. may impose an interim suspension.
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(1)
Q.
C
(D
Vl




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TIME FRAMES
The Office of Student Conduct seeks to resolve complaints under this policy within 60 business days from receipt of a report ,
excluding days classes are not in session (see additional information about Appea ls, on page 47, for additional tim e frames).
An investigation typically takes 21 to 45 business days to complete. Generally, wi thin 15 business days after completion of
an investigation, an administrative or panel hearing. if applicable, is scheduled. During this time. staff in the Office of Student
Conduct may seek clarifying information and/or meet with a complainant, respondent, investigator, or others.
Circumstances may require the university to extend this overall time frame or any individual time frame discussed in this policy.
Examples of reasons why time frames may need to be extended include the complexity of the case. delays due to fall/spring /
summer/holiday breaks, inclement weather, and other extenuating circumstances. Exceptions to these time frames will be
communicated to the complainant and respondent.




ADVISORS
A complainant and a respondent have access to trained Disciplinary Advisors to g uide them through the disciplinary process.
Complainants and respondents may consult with anyone they wish (including an attorney) during any stage of this process.
One advisor of the complainant's/respondent's choice (either the university-appointed Disciplinary Advisor or another advisor
of their choice) may accompany the complainant/respondent to any meeting with Office of Student Conduct staff, the
investigator. or to a hearing. The advisor's role in any meeting or hearing is limited to quietly conferring with the complainan t or
respondent through written correspondence or whisper, and the advisor may not address any other participant or the hearing
panel. An advisor may not also be a witness.




INVESTIGATION
After it receives a report. the Office of Student Conduct typically meets w ith a compla inan t and respondent separately in order
to review the disciplinary process and to hear an overview of each party's account of the incident. Immediate, interim, and/or
long-term measures may also be discussed. The Office of Student Conduct may use any information g leaned through this and/
or subsequent meetings w ith the complainant/respondent in the disciplinary process.
If the Office of Student Conduct determin es further investigation is warranted, it w ill refer the report to the Director ofTitle
IX Compliance. who wi ll assign the case to an investigator from the Office for Institutional Equity. The investigator inteNiews
w itnesses, collects additional information. and submits a written report of relevant info rmation to the Office of Student Conduct.
The Office of Student Conduct will review the report for completeness and re levance (as that term is defined in Section VD. and
direct further investigation as necessary before the report is shared with the complainant and respondent.
The investigator's final report w ill be shared w ith the complainant and respondent, who then have five business days to respond
in writing to the report with any clarifications, witness statements, or other information. The complainant and respondent
must also submit in writing by that time the names of any material witnesses the complainant/respondent w ishes to testify
(should the matter proceed to a hearing) and a summary of information each w itness would provide through his/her testimony.
(Character w itnesses are not permitted.) Names of w itnesses provided by the complainant/respondent w ill be shared with the
other party. After th e five-business-day deadline, the complainant and respondent may not provide any additional information
for the hearing packet (defined on page 46) and may not produce any additional material at the hearing, unless that information
was not reasonably available prior to the closing of th e five-day w indow. The hearing panel or the Office of Student Conduct, as
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appropriate, determines whether to grant exceptions to this five-day deadline.                                                           e:
The Office of Student Conduct wi ll determine w hat. if any. changes or additions are made to th e investigator's report based           i:
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                                                                                                                                          L
upon its review of th e report and feedback as described above from the complainant and respondent.                                       ~
                                                                                                                                         Cl
The Office of Student Conduct will determine w hether to proceed to a hearing based on its assessment of whether there                   t
                                                                                                                                         C
is sufficient information to believe that a policy violation may have occurred. The Office of Student Conduct will convey                n:
this decision in w riting to the complainant and respondent as applicable, who may ask that the Office of Student Conduct                ,Q
recon sider its decision.                                                                                                                cCl
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       VI. HEARING PROCEDURES
       When the Office of Student Conduct decides that a case should proceed to a hearing, the case may be reso lved either through
       an admin istrative resolution or a hearing panel. Under both types of proceedings, the university w ill use a "preponderance of
       the evidence" (more likely than not) standard.




       ADMINISTRATIVE HEARING
       At the discretion of the Office of Student Conduct. and w ith the agreement of both the complainant and respondent. a report
       may be resolved t hrough an administrative hearing . The parties wi ll be notified (typically via email) of the specifi c violations of
       the Student Sexual Misconduct Policy under consideration in advance of an administrative hearing. A designee of the Office of
       Student Conduct w ill review the information gathered during the investigation separately and in private w ith each party and
       give each party an opportunity to respond. Th e designee w ill determ ine if the respondent is respo nsible for the alleged policy
       violation(s), and. if so, issue (an) appropriate sanction(s). The parties will be notified in w ri ting of the outcomes concurrently. If
       the respondent or compla inant does not accept the administrative hearing resolution, either party may request by the stated
       deadline (typically 72 hours after notification of the outcome) a hearing before a hearing panel. as descri bed below. If such
       a request is made, the Office of Student Conduct will then proceed in scheduling a hearing panel. The proposed outcome
       from t he adm inistrative heari ng will not be disclosed to the hearing panel unless the complainant or respondent shares such
       information.




       HEARING PANEL
       If the Office of Student Conduct decides th e case should be resolved through a hearing panel. the Office of Student Conduct
       w ill appoint a specially trained three-person hearing panel (typically including two faculty or staff members and one student
       and, w hen possible, at least one representative of th e complainant's and respondent's schoollsl) to resolve a compla int under
       this policy. A finding of responsibi lity must be based on a unanimous vote. Sanctions of suspension or expulsion must also be
       supported by a unanimous vote. A majority vote is required for all other sanctions.
       The following procedures apply to a complaint that proceeds to a hearing panel:
           •    Notice. Both the complainant and the respondent w ill be notified at least 120 hours in advance of the date and time of
                the hearing and th e names of th e hearing panelists.
           •    Hearing Packet. In advance of the hearing. the Office of Student Conduct finalizes a packet with information it deems
                relevant to the case to be shared wi th the hearing panel. Th e heari ng packet typically includes the investigator's
                report (if applicable). The Office of Student Conduct will share a copy of that packet w ith both the complainant and the
                respondent at least 120 hours in advance of the hearing.
           •    Conflict of Interest. A complainant and /o r respondent may challenge the participation of a panelist because of
                perceived conflict of interest. bias, or prejudice. Such challenges. including rationale. must be made to the Office
                of Student Conduct at least 72 hours prior to the commencement of the hearing. At its discretion. the Office of
                Student Conduct will determine w hether such a conflict of interest exists and whether a panelist should be replaced.
                Postponement of a hearing may occur if a rep lacement panelist cannot be immediately identifi ed.
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           •    W itnesses. Th e hearing panel may, at its discretion, exclude witnesses or w itness testimony the panel considers
(IJ             irre levant or duplicative.
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(IJ
           •    Electronic Devices. A respondent. complainant. advisor, and/or witness may not bring electronic devices that capture
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C               or facilitate communication (e.g., computer. cell phone. audio/video recorder, etc.) into a hearing room. unless
~               authorized by the hearing panel. The Office of Student Conduct w ill make an audio recording of the hearing to be
~               kept on file for three years. Reasonable care w ill be taken to create a quality aud io recording and minimize technical
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0               problems; however, technical problems that resu lt in no recording or an inaudible one w ill not be a valid argument for
:::i
Q_              appeal.
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~          •    Hearing Procedure. A hearing panel has general authority over the conduct of the hearing (e.g .. it may set time
cl
g,              frames for witness testimony and it may limit opening/closing statements or their length, etc.>. The general course of
()              procedure for a panel hearing is as follows: introductions: respondent's statement accepting or denying responsibility;
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                opening comments from the complainant: opening comments from the respondent: questions from the panel;
Q_              testimony/questions of other material w itnesses (if applicable); closing comments from the complainant: and, closing
cl
0               comments from the respo ndent. A complainant or respondent may not question each other or other w itnesses directly,
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(l)             but may raise questions to be asked of that party through the hearing panel. w hich will determine w hether to ask
Q_
C               t hem. The hearing panel determines the relevancy of any information presented/submitted at the hearing and can
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/J)
                exclude irreleva nt information.




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    •    Hearing Facilitator. A staff member from the Office of Student Conduct w ill serve as the non-voting hearing facilitator.
    •    Relevance.
         •    In evaluating the relevance of information . the Office of Student Conduct. the investigator from the Office for
              Institutional Equity, or the hearing panel. as appropriate, co nsiders. among other things, whether the information
              bears on a fact at issue in the case. is more prejudicial than probative, or is duplicative.
         •    Polygrap h examinations and/or their results are neither admissible nor considered in any part of the d isciplinary
              process.
         •    A comp lainant's or respondent's prior or subsequent sexual activity is typically not relevant and w ill only be
              considered as evidence w hen the previous or subsequent behavior was substan tially similar to the co nduct at
              issue or indicates a pattern of beh avi or and substantial conformity w ith that pattern.
The complainant and respondent w ill receive verba l notification of the decision of a hearing panel no later than five business
days aner the hearing. Notification will be individually g iven to the respondent and comp lainant at approximately the same
time. A written hearing report outlining the decision and rati onale of the hearing panel wi ll be delivered to the respondent and
the comp lainant typically w ithin 10 busi ness days of the hearing .




SANCTIONS
Sanctions for a find ing of responsibi lity include, but are not limited to. expulsion, suspension, d isciplinary probation ,
recommended counseling, and/or other educational sanctions. The hearing body will determine the sanctions, first
considering w hether expulsion (permanent removal) from th e university is appropriate. While expulsion is the starting point for
consideration, the hearing body has d iscretion to decide that (a) different sancti on(s) is (are) appropriate. Factors pertinent to
the determination of what sanction applies include. but are not limited to, the nature of the conduct at issue, prior disciplinary
history of the respondent (shared wi th a panel only upon a finding of responsibility for the allegation), previous university
response to similar conduct, and university interests (e.g., in providing a safe environment for all).




LONG-TERM/INDEFINITE MEASURES AND/OR REMEDIES
Th e Director ofTitle IX Compliance and/or staff in the Office of Student Conduct wi ll wo rk w ith the comp lainant and respondent
as applicable to identify and implement any appropriate/necessary long-term or permanent measures/remedies. The
Director of Title IX Compliance and/or staff in the Office of Student Conduct w ill also identify appropriate remedies/measures
to address any effects of substantiated co nduct on the university community. Long -term remedies/measures may include
extending or making permanent any interim protective measures or implementing additional measures. The Director of Title
IX Compliance and/or staff in the Office of Student Conduct wi ll consider whether there is a need for additional measures/
remedies, w hich may include "no contact" directives and reassignment or removal from a class or on-campus living area.




APPEALS
A respondent or complainant may appeal the heari ng panel's decision by submitting a written appeal statement within five
business days of the date the hearing report is sent to the parties. Appeals are limited to five pages (12 -point fon t. 1-inch          CJ

marg ins). The two grounds for appeal are:                                                                                               ~
                                                                                                                                        "C
    1.   New information not reasonably avai lable at the time of th e hearing that is material to the hearing panel's decision:         a.
                                                                                                                                         L
         and/or                                                                                                                          ~
                                                                                                                                        Cl
                                                                                                                                        "'C
    z.   Procedural error(s) that materially impacted the hearing panel's decision.                                                      C
                                                                                                                                         re
The appeal statement must identify the ground(s) for appeal. Note that an appeal is not a re-hearing of the case.                       -~
                                                                                                                                        cCl
The composition of the Appellate Board for cases arisi ng under this policy includes specially trained members of the university
community appointed by the Vice President for Student Affairs. Th e cha ir of the Appellate Board or the chair's designee is            I
responsible for selecting three-person panels from membership of the Appellate Board to consider appeals.                               "C
                                                                                                                                         C
                                                                                                                                         C
                                                                                                                                         L
If, by majority vote, the appellate panel determines that a ground of appeal is substantiated, th e panel w ill return the case to       CJ

the Office of Student Conduct. Otherwise, th e decision of the hearing panel stands. W hen a case is returned to the Office of          'i
Student Conduct. the Office of Student Conduct may decide to drop the case (e.g., based on insufficient information to believe          ~
that a policy violation may have occurred), send the case to the original hearing panel for reconsideration, send th e case to a         ~
                                                                                                                                        <f.
new hearing panel with the same or different charges, and/or (re)implement any aspect of the disciplinary process. A d ifferent         ca.
decision (i.e., the decision of responsibility and/or sanctions) may subsequently resu lt.
                                                                                                                                        -i:;
                                                                                                                                        fj



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        Procedures
        The Appe llate Board's role is limited to reviewing the hearing panel record. the appealing party's ("appellant") written appeal
        statement, any response to that statement by th e other party ("appellee"), and information presented at a meeting of th e
        Appe llate Board, if convened.

        The appellate panel will typically noti fy the parties of its decision regarding an appeal in writing w ithin 20 business days from
        receipt of th e appeal statement. If the decision wi ll take longer, the chair w ill inform the parties.
        The following proced ures guide the Appellate Board process:
                 Appeal Statement. The written hearing report will include instruction s for submitting an appeal. Th e chair may
                 summarily deny an appeal if it is not based on one or both grounds of appeal.
                 Composition of Panel. If th e appeal is not summarily denied by the chair, the chair w ill convene a three-person panel
                 and notify the appellant and appellee of the names of th e panel members. When possible, the chair w ill select at least
                 one Appellate Board member from the school community of the complainant and respondent. The appellant and/
                 or appellee may challenge the participation of an appellate panelist because of perceived conflict of interest. bias, or
                 prejudice. Such challeng es, including rationale, must be submitted in w riting to the chair no later than 24 hours after
                 notification of the names of the appellate panel members. Th e chair will determine wheth er such a conflict of interest
                 exists and whether a panelist should be rep laced.
                Response to Appeal. The chair will provide written notice to the appellee that an appeal has been submitted and
                will give th e appellee an opportunity to review the appeal statement. The appellee may submit a w ritten response to
                the appeal ("response"). Th e response is due five business days from the date the chair provides w ritten notice of the
                appeal to the appellee and is limited to fi ve pages (12-point font, 1-inch margi ns). The chair w ill provide the appellant
                an opportunity to review the respon se, thoug h no additional opportunity to respond in w riting will be provided to th e
                appellant.
                Exception s. The appellant and appellee may submit to the chair requests for exceptions to page limits or deadlines.
                Exceptions must be requested in advance of any deadline by sending an emai l to appeals@duke.edu, w ith justification
                fo r such request(s). If either party fails to meet a deadline or exceeds page limits w ithout receiving an exception , the
                chair has the discretion to summarily rej ect an appeal or the appellate panel may disregard the response.
                Meetings. On its own or at the request of the appellant or appellee, the appellate panel may convene a meeting to
                g ive th e parties an opportunity to amplify the reason(s) for the appeal or the response. If a meeting is convened, the
                appellate panel w ill invite both the appellan t and appellee, w ho may bring an advisor of their choice to th e meeting.
                The advisor's role is limited to quietly conferring w ith th eir advisee, and may not address the appellate panel. In the
                event an appeal alleges a procedural error, the appellate panel may request that (a) staff member(s) in the Office of
                Student Conduct. the Office fo r Institut ional Equity, and/or member(s) of the hearing panel attend the meeting to
                gather more information about the alleged procedural error.
                Written Decision. The Appellate Board w ill provide written notification of the final decision to the appellant and
                appellee at approximately the same time.




             GETTING HELP
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cQ.          Any student at Duke University who experiences sexual/gender violence-regardless of sex/gender-may
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;:;.         contact the Women's Center at 919-684-3897 or email WCHelp@duke.edu. See 'Support Services and Options for
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             Complainants" below for additional information. In case of emergency or immediate threat. call 911 or Duke Police at
~            919-684-2444,
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Q.
             SUPPORT SERVICES AND OPTIONS FOR COMPLAINANTS
C            A variety of support resources are available on campus and in the community to assist students in dealing with
~            sexual misconduct, whether it happened recently or in the past. The following is a list of helpful resources. Additional
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~            resource information is available at studenta1fairs.duke.edu/wc.
n
<            Information, advocacy, counseling, and emotional support. The Office of Gender Violence Prevention and
OJ
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Q.           Intervention (GVPll provides education, advocacy, and support for students who experience sexual and relationship
lJ           violence. sex/gender-based harassment, and sex/gender-based stalking, as well as for their friends and families.
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Students of any gender can receive information, support, and accompaniment regarding medical treatment. reporting
options, academic and residential accommodations. referrals, legal options, and trauma-focused therapy. Walk-in
or scheduled appointments with the GVPI Coordinator are available during business hours by calling 919-684-3897,
emailing womenctr@duke.edu, or by visiting the Women's Center located at 001 Crowell Building (underneath the
Coffeehouse) on East Campus. Emergency after-hours assistance is available via pager at 919-970-2108. All services
are free and confidential and do not require making a formal report to the police or the university.
Counseling and Psychological Services (CAPS) also offers ongoing counseling services; call 919-660-1000 for an
appointment. For 24-hour crisis information and referral. contact the GVPI information line at 919-681-6882, the Dean
on-Call (pager number 919-970-4169), or the Durham Crisis Response Center at 919-403-6562 (for 24-hour hotline). All
services are confidential and do not require making a formal report to the police or the university.
Medical concerns. Students should seek medical attention immediately to have the most options for the prevention
of pregnancy and sexually transmitted infections. Even if physical injuries are not apparent. one may have injuries
as a result of sexual assault that are not easily seen. For immediate and urgent medical concerns. students may go
directly to the Emergency Department (ED) of Duke Medical Center (off Erwin Road near Trent Halll. Duke Police (911
or 919-684-2444 from non-campus phones) can provide transportation without students having to make a report.
Services available at the Emergency Department are: medical care. evidence collection. emergency contraception,
and sexually transmitted infection prevention.
Evidence can be collected anonymously. Evidence is best collected within 120 hours of the assault. Pursuing a
criminal case is not necessary in order to have the evidence collected anonymously A blind report can be filed that
includes no identifying information other than a case number. A student may decide later whether to file a police
report. Health insurance and the State of North Carolina may cover portions of the costs of medical care. The GVPI
coordinator in the Women's Center will help students address any concerns they have about covering the costs of the
medical exam or other related expenses. Both the Emergency Department and Student Health have Sexual Assault
Nurse Examiners (SANE), who are specially trained to work with individuals who have been sexually assaulted.
For less immediate medical concerns. students may schedule an appointment at Student Health (919-681-WELU.
The services available are: medical care. emergency contraception, and sexually transmitted infection prevention.
The student health fee covers all services, except for a minimal charge for emergency contraception. Staff from GVPI
can accompany students to the ED or Student Health.
Reporting to the police. Sexual misconduct may be criminal in nature, and a student may choose to file a report with
law enforcement. Duke Police (911 or 919-684-2444 from non-campus phones) will respond to emergencies and
non-emergencies to provide assistance by intervening in cases of assault. providing transportation to the Emergency
Department. taking reports of an assault. and/or investigating and participating in legal or disciplinary action. They
are responsible for notifying the community in a case of continuing danger. issuing a trespass order that requires
an individual to stay away from campus or a particular area of campus when needed, and providing referrals and
information including how to obtain a restraining order. Assaults that occur off campus may fall under the jurisdiction
of the Durham Police Department or other law enforcement agency. Students may contact the Durham Police
directly (911 off campus or 919-560-4427/560-4609) or the GVPI office or Duke Police can help facilitate reporting.
Blind reporting-filing a report without one's name attached to it-is an available option with both Duke Police and
Durham Police. Regardless of whether a complainant pursues a criminal complaint, the university will investigate the
incident in question and take appropriate responsive action to ensure that the educational environment at Duke is
free of harassment and to prevent the recurrence of a hostile environment. and, as appropriate, to remedy the effects
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of the harassment.
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        EXAMPLES OF SEXUAL MISCONDUCT
        Angela and Aaron have been in an ongoing relationship for a year and a half and have engaged in consensual sexual
        intercourse. One night while becoming intimate, Angela stops and says she doesn't feel like having sex that night.
        Aaron continues to touch her. saying that she got him excited and it wasn't fair of her to lead him on like that. Again.
        Angela tells him she does not want to have sex, and then is silent. Aaron decides she has given in. and proceeds to
        have sexual intercourse with her.

        This is a violation of the Student Sexual Misconduct Policy. Aaron had sexual intercourse with Angela against her will. The
        fact that Angela has freely consented to sexual intercourse with Aaron in the past does NOT mean he has her consent in
        this situation.

        Erin is talking to several of her friends in the hallway at a crowded party. Ryan. a student she knows from chemistry
        class. comes up behind her and places his arms around her waist. She says hi to Ryan and continues her
        conversation. Ryan gradually moves his hands up to her breasts. She turns to him and tells him to stop. saying she
        doesn't want to be touched in that way and that he should have more respect for her. He laughs. tells her she takes
        herself too seriously. and again begins to grope her.
        This is a violation of the Student Sexual Misconduct Policy. Ryan touched Erin in a sexual way without her consent, and
        continued to do so after she told him to stop. This behavior is a form of sexual/gender violence.
         Kristen and Myra have been intimate for a few weeks. One night, Myra calls Kristen and asks her to come over. When
        she arrives, Myra kisses Kristen passionately and leads her into the bedroom. They each express their excitement and
        desire to "hook up." and are soon making out heavily in Myra's bed After a while. Kristen tries to engage in oral sex
        w ith Myra. Myra tells Kristen that she really likes her, but that she doesn't feel ready for that. Kristen tells Myra she's
        just being shy, and ignores her when she repeats that she doesn't feel ready. Finally. Kristen threatens to reveal on the
        Internet that Myra is a lesbian. Because Myra has not yet come out to her friends and family. she becomes frightened
        and silent. Kristen proceeds wi th oral sex.
        This is a violation of the Student Sexual Misconduct Policy. Because of Kristen's manipulative and threatening arguments,
        Myra was afraid and unable lo freely give her consent. Kristen did not receive consent from Myra and has committed
        sexual/gender violence.
        Liz and Tom have been together for six months. Liz often tells her friends stories of Tom's sexual prowess. and
        decides to prove it to them. One night. she and Tom engage in consensual sexual intercourse. Without Tom's
        knowledge, Liz sets up her digital camera to videotape them having sex. The next evening. she uploads the video to
        an on line video-sharing site and discusses it with her friends on line.
        This is a violation of the Student Sexual Misconduct Policy. Tom's consent to engage in sexual intercourse with Liz did NOT
        mean Liz had obtained his consent to videotape it. This is a form of sexual exploitation.
        Andrew and Felix have been flirting with each other all night at a party. Around 12:30 a.m .. Felix excuses himself to
        find a bathroom. Andrew notices Felix slurring his speech. Andrew wonders if Felix went to the bathroom to vomit.
        When Felix returns, the two begin flirting more heavily and move to a couch. As the conversation continues, the two
        become more relaxed and more physically affectionate. Andrew soon suggests they go back to his room. and Felix
        agrees. As they walk down the stairs, Andrew notices that Felix looks unstable and offers his arm for support and
¼1      balance. When they get back to his room, Andrew leads Felix to the bed and they begin to become intimate. Felix
C
Q_      becomes increasingly passive and appears disoriented. Andrew soon begins to have sexual intercourse with him. The
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;::!.   next morning, Felix thinks they had sex but cannot piece together the events leading up to it.
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        This is a violation of the Student Sexual Misconduct Policy. Felix was passive, and the Policy states that consent may
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C       not be inferred from silence. passivity, or lack of active resistance. Moreover, Felix was clearly incapacitated by alcohol,
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        and thus unable to freely consent to engage in sexual activity with Andrew. Although Andrew may not have known how
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;;;·    much alcohol Felix had consumed, he saw indicators from which a reasonable person would conclude that Felix was
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        incapacitated, and therefore unable to give consent. Andrew in no way had consent from Felix.
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C       Denise is a graduate teaching assistant in Paul's economics class. She notes that he has not been performing well on
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        take-home assignments and exams. Both of them have come to a party, each with their own group of friends. Denise
0       has consumed one can of beer, while Paul is rather intoxicated. Denise sees Paul and approaches him. She flirts
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<       with him, telling him that she can help him improve his grades if he will hook up with her. As Paul turns to walk away,
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::::s   Denise grabs his buttocks and squeezes them.
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This is a violation of the Student Sexual Misconduct Policy. Denise, in a position of power over Paul as his teaching
assistant. attempted to arrange a quid pro quo sexual relationship. Additionally, she did not seek consent from Paul to
touch him. even if a reasonable person could conclude that Paul was not too intoxicated in order to provide consent.
A student had recently visited another country; on his return, he wrote an article for The Chronicle in which he
used sexually explicit terms and examples to describe the treatment of women in that country. Other students are
offended by the article.
This would not be a violation of the Student Sexual Misconduct Policy Sexual harassment is unwelcome conduct of
a sexual nature that. because of its severity and/or persistence. interferes significantly with an individual's work or
education. The conduct is evaluated from the perspective of a reasonable person and in consideration of the context of
the behavior. It is not enough that other students are offended by the article for it to be a violation of the policy Duke is
committed to principles of academic freedom and conduct with a legitimate educational or related purpose will not be
considered a policy violation.
Abby and Mike are graduate students working in the same lab. They have been dating for a year. Abby often calls
Mike names and damages his belongings when she's upset. She once poured a soda over his laptop after she saw
him talking to another woman. Last week. she threw a cell phone at his head when he was late picking her up from
work
This would be a violation of the Student Sexual Misconduct Policy. Relationship violence, including domestic and dating
violence. includes physical. sexual, emotional, economic. or psychological actions or threats of actions that reasonable
person in similar circumstances would find intimidating, frightening. terrorizing. or threatening.
Monica filed a complaint w ith the Office of Student Conduct alleging that. after she broke up with Marcus. Marcus
has been stalking her. Marcus has told his friends about the complaint and several of them have launched a Twitter
campaign threatening Monica and the witnesses supporting her claim if Monica doesn't drop the complaint.
The conduct by Marcus's friends would be a violation of the Student Sexual Misconduct Policy. The policy prohibits
retaliation against anyone who files a complaint or participates in the investigation of a complaint.




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                                   STUDENT CONDUCT PROCESS FOR
                                  SEXUAL MISCONDUCT ALLEGATIONS
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               Student complainant        '
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                                                                       OSC sends the student          '                             Student complainant is informed                    '
               or thi rd party reports                                   complainant a letter                                         of discip linary option through
                 incident of Sexual                                    requesting to meet and                                           the university. Student may
              Misconduct to a) Office
                of Student Conduct
                                                              -
                                                              ,         outlines resources for
                                                                        support. including the
                                                                                                                    ,-
                                                                                                                                       participate in the disciplinary
                                                                                                                                        process or decli ne to do so.
            (OSC) orb) to a universi ty                                 option to file a report                                           In some cases, if enough
              employee, w ho in forms                                  wi th the appropriate law                                         information is available to
                 OSC and provides                                       enforcement agency.                                             investi gate or initiate some
               names of the parties                               \.                                  ,/                               intervention w ith an accused
             involved, if known. Note:
              Employees designated
                  as a confidential                      /
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                                                                                                                                         student, the university w ill
                                                                                                                                        proceed even if the student
                                                                                                                                    declines to participate, keeping
              resource (e.g .. medical                        OSC forwards to Office of Gender                                           th e complainant's request
               providers, therapists,                         Violence Prevention & Intervention                                        for confidentiality to extent
               clergy acting as such                            (GVPI) in the Women's Center a                                       possible. Campus environment
                in their professional                          copy of the report. GVPI reaches                                      is evaluated w hen appropriate.
              role at Duke, university                        out to the complainant to provide                                     OSC wi ll discuss the matter w ith
                ombudsperson) are                               confidential support. A student                                     the stud ent compla inant (if he/
              exempt from reporting                            w ho declines to meet with OSC                                       she chooses to meet with OSC)
                        toOSC.                                   may still meet w ith GVPI staff.                                       before deciding w hat to do.
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       /                                                                     An investigation
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             A determination w ill be
                                      '                                  may be conducted by                                             A 'no contact" directive may
                                                                       the Office for Institutional                                       be put into place between
             made by OSC whether
              sufficient information               -
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                                                                         Equi ty and a report of
                                                                           findings submitted
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                                                                                                                                           the complainant and the
             exists to move forward                                                                                                     respondent. Additional interim
                                                                        to OSC. DukeReach w ill                                         measures may be considered.
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            At th e discretion of OSC.
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                                                                                                                                               business days fo llowing
~           an adm inistrative heari ng                                                                                                       the hearing, outcome w ill
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Ul            may be conducted to                                                                                                             be conveyed individually
~                                                                        OSC, a th ree-perso n
C:             resolve the matter. If                                                                                                            to respondent and
                                                                        specially trained panel
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              both complainant and                i--- ➔                wi ll consider the case.                                   -
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;;;·            respondent accept                                                                                                                 approximately the
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0            resolution , th e matter is                                                                                                         same time. Written
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                                                                       complainant are invited
             resolved. If one or both                                                                                                          notification w ill typically
C:                                                                     to participate in hearing.
~           do not, a heari ng panel is
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Q_                  convened.                                                                                                                        business days.
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        FILING A REPORT INVOLVING A STUDENT OR GROUP
        Reports regarding student or group behavior may be filed with the Office of Student Conduct. Duke Police, the Office for
        Institutional Equity, academic deans, and offices w ithin Student Affairs offer additional resources for students to address
        concerns. These offices work together in order to determine the most appropriate venue for resolution. In any situation where a
        party is unsure of w hom to call. he/she may contact the Office of Student Conduct.
        Any alleged violation of university policy, including academic dishonesty, is w ithin the scope of the Office of Student Conduct.
        If the Office of Student Conduct determines that another office is more appropriate to handle the situation , the case may be
        referred to that office. (Violations that occur w ithin residential areas w ill often be referred to Housing and Residence Life [HRLl.l
        The Office of Student Conduct coordinates a mediation program, which may be accessed upon referral or at the request of a
        student to resolve disputes between students.
        In general. residence life staff will handle complaints of conduct within residential areas unless the alleged behavior is of a
        serious nature or the student has had prior violations, in which case the case may be referred for disciplinary action through th e
        Office of Student Conduct: 919-684-6938; studentaffairs.duke.edu/conduct.



        TYPES OF RESOLUTION

        MEDIATION
        Mediation is a process that empowers stud ents to resolve their own disputes. Through mediation, a neutral third party assists
        students in coming to a peaceful and agreeable solution. The university encourages informa l mediation w henever practical or
        appropriate. Students interested in utilizing the mediation program to resolve a conflict should contact the Office of Student
        Conduct. Staff w ithin the Office of Student Conduct may also refer cases to mediation as appropriate. Ultimately, all parties
        involved must ag ree to mediation. If one party does not agree to mediation, or if the mediation fails, the Office of Student
        Conduct may refer a case to arbitration and/or d isciplinary resolution. Failure to comply w ith the results of mediation may be
        cause to commence the disciplinary process.



        ARBITRATION
        Arbitration is a process by which students are given an opportunity to present informat ion about a dispute to a neutral third
        party who renders a decision. Arbitration may be used in roommate conflicts or other relationship conflicts w here residen tial
        status or participation/access privileges are at issue and mediation is not appropriate. The Office of Student Conduct or HRL
        may choose to send any case to arbitration. Arbitration will not result in a disciplinary record, but the arbitrator(sl may alter
        students' living status, limit privileges, or invoke restri cti ons on participants. Failure to comply with the results of arbitration may
        be cause to commence the disciplinary process.



        INFORMAL RESOLUTION
        Generally, staff in Housing and Residence Life will resolve misconduct in the residence halls. Informal resolutions may include
        residential warnings or probation, relocation, community service, restitution, or educati onal initiatives. Students w ho are alleged
        to have committed serious infractions (e.g .. drug or safety violations) or who repeatedly violate any residential and/or university
        policy will be subject to formal disciplinary action through the Office of Student Conduct. Staff within the Office of Student
        Conduct may also choose to utilize the informal resolution process to resolve minor issues of student behavior. Resolutions
        resulting from this process may include an educational assignment or community service. Failure to comply with the resolution
        may be cause to commence the disciplinary process. Records of informal resolution w ill be kept internally and will not be
        considered part of a student's externally reportable disciplinary record, unless otherwise specifically stated.
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        DISCIPLINARY ACTION
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        Any case involving an alleged violation of commun ity standards, Greek organization policies, or university rules and regulations
c0.     by an undergraduate student or group may be resolved through the undergraduate disciplinary system.
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THE UNDERGRADUATE DISCIPLINARY SYSTEM
The purpose of the undergraduate disciplinary system is to promote honesty. fairness, respect. and accountability w ithin the
university community and to provide a fair and effective mechanism for resolving cases in w hich an undergraduate student (or
group) is alleged to have violated the standards or policies of the university.
All reports of inappropriate student behavior may be filed with or forwarded to the Office of Student Conduct. Staff within the
Office of Student Conduct w ill determine the most appropriate means by which to handle a report. Resolution may include
mediation. arbitration, informal resolution, or d isciplinary action.



ORGANIZATION
   •    The Office of Student Conduct is designated to oversee the disciplinary system for undergraduates. It also oversees
        and implements the procedures of the Student Sexual Misconduct Policy for all students, and responds to alleged
        violations of student conduct policies that could be bias -/hate-related for all students.
   •    Hearing officers are designated to resolve disciplinary matters through informal or forma l disciplinary resolution.
   •    The Undergraduate Conduct Board (UCB) is designated to resolve formal disciplinary matters that involve complicated
        circumstances, serious infractions of university policy, and/or repeated misconduct. The UCB is comprised of
        students, faculty, and staff. Consideration shall be given to th e appoi ntment of a board reflective of the population of
        the university community. Rising juniors and seniors are selected each spring semester to serve as studen t members.
        (Once selected. student members w ill serve for the remainder of their undergraduate careers, as long as they meet
        expectations.) Student co-chairs are elected by the board. Faculty members are appointed/approved by the Dean
        of Arts and Sciences or the Dean of the Pratt School of Engineering , or designee(s). Staff members are appointed /
        approved by the Vice President for Student Affairs.
   •    The Appellate Board considers appeals of students/groups found responsible and sanctioned through a panel
        hearing. and/or complainants in harassment-related cases. The Vice President for Student Affairs appoints the chair
        and other members of the Appellate Board. consisting of faculty, staff, and students.
   •    Disciplinary Advisors are available to assist students/groups through the disciplinary process. Advisors include
        students and staff who have been tra ined and are familiar with the disciplinary system. A list of advisors is available
        from the Office of Student Conduct.



SCOPE
   •    The un iversity may respo nd to any complaint of behavior that occurred w ith in a stud ent's undergraduate career, from
        application to graduation.
        Any undergraduate student is subject to disciplinary action. This includes students w ho have matriculated to, are
        currently enrolled in, are on leave from, or have been readmitted (following a dismissal) to programs of the university.
   •    With the agreement of the Vice President for Student Affairs and the dean of the college or school, disciplinary action
        may be taken against a student who has graduated and is alleged to have committed a violation during his or her
        undergraduate career.
   •    The accused (also referred to as the respondent) may also be a cohesive unit of the university. such as a living group,
        athletic team, or other recogni zed organization.
   •    The university reserves the right to respond to any report of alleged m isconduct on or off campus.
   •    Student group leaders most directly responsible may be held accountable for acting as an accomplice through action
        or negligence to the commission of prohibited acts at a group-identified event.
        In cases of alleged policy violations by a student enrolled in a joint degree program or interdisciplinary coursework            !c;::
        within Duke. each school or unit (the home unit and the host unit) may have a stake in the adjudication. Thus, an ad hoc          C:
                                                                                                                                          C
        process shall be developed and an ad hoc panel may be formed with representatives from both institutions/units to                C
        handle the case. The sanctions may be different for each school or unit.                                                         ca.
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        For students doing inter- institutional coursework at other institutions, w hether domestic or international. or for visiting
        students enrolled in classes at Duke, the home and the host institutions should confer and decide the process to be              t:
        followed, wh ich may include combined or separate elements. The sanctions may be different for each institution.                 cC:
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        The Office of Student Conduct exercises jurisdiction over any student alleged to have violated the Student Sexual                '.f
        Misconduct Policy.                                                                                                               c(/
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            •    Alleged violations of Duke student conduct policies wh ich cou ld be bias - /hate -related should be communicated to
                 the Office of Student Conduct (OSC): and, for students outside ofTrinity College or the Pratt School of Engineering ,
                 to the appropriate administrator in the student's school or college as well. Reports of alleged violations by
                 undergrad uates w ill be addressed through the undergraduate disciplinary process. For all other students, whichever
                 entity-the school or OSC-learns of the allegation fi rst w ill promptly notify the other and w ill schedule a conversation
                 to determine how the allegation wi ll be handled. The general expectation is that OSC w ill handle th e case. though the
                 school or college has the authority to take the lead in investigating and/or adjudicating any alleged behavior it feels it
                 is best positioned to handle. If OSC handles the case, it will follow the investigation, hearing. and appellate procedures
                 set forth in this guide: the college or school wi ll implement any final sanction. If the case is handled by the college or
                 school. it w ill fo llow the college's/school's procedures as published and disseminated by the college/school.



        THE DISCIPLINARY PROCESS

        Reports
        Reports of behavior alleged to vio late university policy should be filed with or forwarded to t he Office of Student Conduct.


        Participation
        The university invites students/groups to participate fully in all aspects of the disciplinary process. If a student/group elects not
        to participate in any part of the process (e.g .. submitting a written statement or participating in a hearing), the conduct officer/
        hearing body may proceed w ithout benefit of that student's/group's input. A student/group w ill be held accountable for any
        sanctions issued as a resu lt of a hearing.


        Investigation
        Office of Student Conduct staff and/or designee(s) wi ll gather information regarding the alleged incident in order to determine
        the appropriate means of reso lution.
        Investigations may include interviews, a review of related documents, requests for written statements from any person involved
        in the alleged incident. and review of material available electronically. Polygraph examinations and/or their results are neither
        admissible nor considered in any part of the disciplinary process. Students and organizations are encouraged to be forthright
        and as specific as possible w hen offering information related to an investigation, but may choose the extent to wh ich they share
        information.
        Cases may be dropped for insufficient information, or referred for med iation. arbitration, informal resolution or disciplinary
        action. In order for a case to be referred for disciplinary action, there must be sufficient information to believe that a policy
        violation may have occurred and that the alleged individual/group may be responsible. See Appendix Con page 69 for the
        Administrative Actio n Policy, which may be implemented during the disciplinary process.


        Referral for Disciplinary Action
        If a case is referred for disciplinary action, the student/group will be notified of th e incident in question and the policy
        violation(s) under consideration , and w ill be given an opportunity to respond. There are several means by which to resolve
        disciplinary situations. The Office of Student Conduct will determine wh ich avenue is most appropriate to pursue.
        Disciplinary hearings are not trials and are not const rained by the same rules of procedure and evidence typically used in a
        court of law. The university disciplinary system operates under a standard of fairness, which includes an opportu nity for the
        student/group to be notified of th e alleged incident and policy violat ions under consideration and an opportunity to be heard.


        Resolution through a Disciplinary Hearing
        Any case may be forwarded directly to a disciplinary hearing if there is sufficient information to believe that a policy violati on
;o
CD      may have occurred and that the alleged individual/g roup may be responsible. Most cases will be referred to administrati ve
CJl
0       hearings. Cases th at are serious in nature, involve complicated facts, and/or involve students/g roups w ith previous disciplinary
~       violations may be forwarded to the Undergraduate Conduct Board for resolution. (See "Student Sexual Misconduct Policy and
5·
::,     Procedures" on page 39 for adjudication of allegations of sexual misconduct.)
Q,
l/l     Individ uals or groups w ho deny responsibility for serious offenses of universi ty policy and w ho face possible suspension or
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Q_
        expulsion/dissolution from the university have the right to request a hearing before a five-person panel of the UCB. Individuals
CD      or groups who accept responsibility for alleged violations of university policy, but are unable to agree on a proposed sanction.
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n       wh ich may include suspension or expulsion/dissolution, have the right to request a hearing before a three-person panel of th e
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::,     UCB. (The conduct officer may, due to the circumstances of the case, elect to utilize a five- person panel.)
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               I have received an e-mail from the Office of Student Conduct that says I have been scheduled for an
               administrative hearing. What does that mean?

               An administrative hearing is a conversati on between you and a staff member to discuss your alleged
               involvement in reported behavior. The staff member is interested in hearing your perspective on w hat may
               have happened and will discuss with you how the matter m ight be resolved. The conversation may also
               focus on what you have learned or can take away fro m the incident.

               Upon receiving the e-mail. review its contents carefully and ensure you are available at the time indicated
               in the message. If not. call the Office of Student Conduct at 919-684-6938 to schedule a new appointment.
               Next. familiarize yourself with the policies that may be at issue, which are also listed in your letter.

               During an administrative hearing. listen carefully. share your perspective on the matter. and ask questions.
               Most often. the staff member is able to resolve the matter with you d irectly.

               Following the administrative hearing. you will receive another e-mail describing the decision made by the
               staff member, sanctions (if appropriate). and details fo r having the matter reconsidered. if you wish.




Resolution through Agreement
If a student/group accepts responsibi lity for (an) alleged violation(s). t he conduct officer. or designee. may propose (an)
appropriate sanction(sl based on the specifics of the case. precedent and un iversity interests.
If the student/group accepts responsibility and ag rees to the proposed sanction(s). the student/group waives his/her/its right
to a hearing and/or appeal. the resolution becomes fina l. and the outcome is reco rded on the student's/group's discipli nary
record. If t he student/group accepts responsibility, but is unable to agree to the proposed sanction(s), the case w ill be
forwarded to a hearing to determine (an) appropriate sanction(s).
If the student/group denies responsibility. the case w ill be forwarded to a hearing to determine responsibility and (al sanction(sl
as appropriate.



DISCIPLINARY HEARING TYPES
There are two types of hearings. Most cases are decided upon through an administrative hearing . which is a discussion
between the student/group and a hearing officer. Cases that are serious in nature, involve complicated facts , and/or involve
students/groups w ith previous disciplinary violat ions may be forwa rded to the Undergraduate Conduct Board for resolution.
Students w ho face a possible sanction of suspension or expulsion may request to have his/her case heard by a panel of th e
UCB. Groups who face possible dissolution may request a heari ng by a panel of the UCB.
(See "Student Sexual Misconduct Policy and Procedures" on page 39 for adjudication of allegations of sexual misconduct.)


Administrative Hearings
An adm inistrative hearing is a discussion between a student/group alleged to be in violation of university policy and a hearing
officer. Students/groups w ill be notified (typically via e-mai l) of the specific violations under consideration in advance of an
administrative hearing. The hearing officer w ill review the report w ith the student or group and give t he student/group an
opportunity to respond. The hearing officer w ill determine w hether the student/group is responsible for the alleged policy
violation. and, if so, issue (an) appropriate sanction(s). Adm inist rative hearings are conducted in private, except under the
Student Sexual Misconduct Policy, in which a student may be accompanied by an advisor of his/her choice.
Upon proper not ice. if a st udent/group fails to attend an administrati ve heari ng, the hearing offi cer may proceed to resolve th e    Ic;:
case without benefit of t hat student's/group's input.                                                                                     C
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All decisions of responsibility are based on clear and convincing information , except for allegations arising under the
Harassment Policy and the Student Sexual Misconduct Policy. which are decided based on the standard of preponderance of
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evidence. In determining appropriate sanctions, consideration may be given to t he nature of and circumstances surround ing
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the violation, the stud ent's/group's acceptance of responsibility, prior d isci plinary violations, the impact of a sanct ion on the
student/group, precedent cases, university interests, and any other information deemed relevant by a hearing pa nel/officer.
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Should a hearing officer determine that a violation was motivated in part or whole by race, color, religion. national origi n.            ~
disability. veteran status, sexual orientation. gender identity. sex, genetic information, or age. the hearing officer may consider       c<f
this an aggravating factor that increases the stringency of the sanction(sl.                                                               a.
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       If a student/group does not accept the administrative hearing resolution, he/s he/ it may request by the stated deadline a
       hearing before a panel of the Undergraduate Conduct Board.


       Undergraduate Conduct Board Hearings
       The Undergraduate Conduct Board is a group of students, facu lty and staff appointed to hear alleged infractions of university
       policy. Th e board is charged w ith determining whether a student's/group's actions con stitute a violation of university policy
       and , if so, an appropriate response. In determining an appropriate response, consideration is given to th e student's/group's
       interests as well as the university's interest in maintaining hig h standards.
       All UCB hearings are conducted in private. Any student w hose presence is required by the conduct officer at a hearing will be
       excused from any other university responsibility.

       Respondents, complainant. advisors, and /or w itnesses may not bring devices that capture or facilitate communication (e.g ..
       computer, cell phone, audio/video recorder, etc.) into a hearing room , unless authorized by the hearing panel.
       Accused Students/Groups. Accused students/groups are entitled to the following procedural rights w hen facing a hearing
       before the Undergraduate Conduct Board:
           •    to be informed that he/she/it is under investigation:
           •    to seek advice from anyone:
           •    to seek advice from a trained advisor made available by the university;
           •    to be given an opportunity to respond to allegation s;
           •    to choose the extent to w hich he/she/it shares information:
           •    to be notified of a hearing at least 120 hours (five days) in advance (notification w ill include the tim e, date and location
                of the hearing as well as names of hearing panel members and witnesses);
           •    to challenge any panel member if there is a sign ifi can t conflict of interest;
           •    to know of and review in advance written information and allegations presented to the hearing panel;
           •    to be accompanied by an advisor to th e hearing (who must be a member of th e university community [defined belowl.
                except in cases arising under the Student Sexua l Misconduct Policy, in which case a student can select any advisor of
                his/her choice);
           •    to a fair and impartial hearing:
           •    to rebut any witness testimony presented against him/ her/ it;
           •    to prese nt additional w itnesses or information at the hearing (the re levancy of w hich may be determined by the
                hearing panel):
           •    to be found responsible only if the evidence meets a clear and convincing burd en of proof (or preponderance of
                evidence standard in cases ari sing under th e Harassment Policy or Student Sexual Misconduct Policy); and
           •    to appeal based upon clearly stated grounds.
       Advisors. Accused stud ents/g roups are encouraged to seek advice and support from w homever th ey choose throughout th e
       disciplinary process. An advisor may accompany an accused stud ent/group or a student complainant to a UCB hearing. The
       advisor may be from the designated list of trained student and staff advisors avai lable through t he Office of Student Conduct.
       or may be any member of th e university community. A member of the university community is defined as a current student. or
       a faculty or staff member currently employed by the university. For Greek organizations, the advisor may also be the chapter
       advisor. The advisor may not be a member of the UCB and may not serve as a material or expert w itness. The role of th e
       advisor is to assist and support th e student/g roup through the disciplinary process. The advisor's role in a hearing is limited to
       quietly conferring wi th the respondent through w ri tten correspondence or w hisper, and the advisor may not address any other
       participant or the hearing panel.

::0    An advisor may also accompany a complainant to a hearing in a case arising from the Student Sexual Misconduct Policy. See
CD
If)    "Student Sexual Misconduct Policy and Procedures" on page 39 for additional information.
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cr+    In a single hearing with multiple respondents and/or complainants, an advisor may attend the hearing w ith only one party (i.e.,
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::,    a unique advisor for each participant). The trained student and staff disciplinary advisors are valuable resources, thoroughly
Q,     familiar with the conduct process. In the event that a recommended advisor is unavailable, an accused student/group may ask
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ca.    for th e names of additional advisors from th e Office of Student Conduct.
CD     Hearing Panels. Hearing panels charged w ith determining an outcome and a sanction shall consist of three students and two
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()     members of the faculty or staff selected from the UCB. Hearing panels charged with determining only a sanction shall consist
0      of two students and one faculty or staff member selected from the UCB. (In some circumstances, the conduct officer may
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choose to utilize a five-person panel consisting of three students and two faculty or staff members to determine a sanction.) A
staff member fro m the Office of Student Conduct serves as a hearing facilitator and is a non-voting presence in the hearing.
(See "Student Sexual Misconduct Policy and Procedures" on page 39 for hearing panel composition of these cases.)
An accused student/group may ag ree to a smaller panel or different student-to-faculty/staff ratio in the event that a full panel
is not available. The accused student/group also may challenge any panel member if there is a significant conflict of interest.
Such a challenge must be made at least 72 hours prior to the hearing and w ill be granted only for sufficient cause.
At times of th e year when regular panels are not available (e.g .. during the summer or semester breaks), the conduct officer
may appoint a special hearing panel. w hich may include members of the university community w ho are not part of th e
Undergraduate Conduct Board or may have a different composition of stud ents/faculty/staff th an panels held during the
normal academic year.
Notice. An accused student/g roup w ill be notified of a UCB hearing at least 120 hours (five days) in advance. The notice w ill
include the date and time of the heari ng. the specific charges at issue, and the names of t he panel members. At times of
the year w hen 120 hours of notice is not practica l due to a student's pending graduation, study abroad. or participation in a
university-sponsored activity (e.g., DukeEngage), a student must either waive thi s right or not parti cipate in the pending activity
until the matter is resolved.
An accused student/group will also receive in advance of the hearing a copy of written information given to the hearing panel.
The conduct officer may include information clarifying or noting any additional information gathered through th e investigation
without expressing any personal opinion about the merits of the case. In cases not involving an alleged violation of the Student
Sexual Misconduct Policy, any additional material not included in a hearing packet that a complainant or respondent w ishes
to have review ed by the hearing panel must be submitted to the Office of Student Conduct no later than 72 hours before the
hearing. If deemed relevant by the Office of Student Conduct. that material will be shared w ith the complainant/respondent
and th e hearing panel.
The complainant w ill be notified of the hearing if his/ her presence is required. At his/her request. the complainant may also
receive a copy of the w ritten information given to the hearing panel.
Upon proper notice, if th e student/g roup fails to attend the hearing. the hearing panel may proceed in his/her/ its absence.
Witnesses. The conduct officer may request the presence of any w itness w ith pertinent information about a case. If a w itness
is unidentified or unavailable to attend the hearing. his/her statement may not constitute a sole or substantial basis for
determi ning responsibility. If he/she is necessary and unidentified or unavailable. th e conduct officer or the chair of the hearing
panel may suspend or dismiss the proceedings.
The accused student/group and~complai nant may bring relevant material w itnesses to speak on his/her/ its behalf. Absent
exceptional circumstances and for all alleged policy violations except that of the Student Sexual Misconduct Policy. the
accused student/group and/or complainant should inform the conduct officer in writing at least 72 hours in advance of the
hearing the names of the w itnesses and to w hat they w ill attest. The panel may determine the extent to which w itnesses will be
permi tted in the hearing. including relevancy of questioning and information presented.
Procedure. The general course of procedure for a UCB hearing is as fo llows: introductions: plea(sl from the accused: opening
comments from complainant(sl (if applicable): opening comments from accused: questions: testimony/questions of other
material witnesses (if applicable): closing comments from complainant (if applicable): closing comments from accused.
The panel may impose time limits on any stage of the procedure. The panel may also determine the relevance of any witness
or information to be presented and/or considered by th e hearing panel.




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       Information to be Considered by the Panel. The panel may consider any information it deems re levant. including
       documentation and expressions of opin ion. If the panel needs additional information during a heari ng , such as verification
       of a fact at issue, an expert opinion, etc .. the panel may request such information and may suspend its decision until such
       information is obtained. The accused student/group w ill have the rig ht to respond to any additional information that is to be
       used in considering an outcome.




                       What is "clear and convincing information?"
                       Two phrases that help define "clear and convincing" are "reasonably certain" and "highly probable." It
                       is information that produces a firm belief that the allegations of misconduct are true. It is a standard of
                       evidence between the standards called "preponderance of evidence" and "beyond a reasonable doubt."
                       Clear and convincing information requires proof sufficient to convince ordinarily prudent-minded people
                       that an allegation of misconduct is true. The proof need not be fully conclusive, but should cause one to be
                       convinced that the allegations are true.
                                                               - Adapted from the Indiana University Judicial Officer Manual, 2002-2003


                       What is "preponderance of evidence?"
                       A preponderance of evidence means that it is more likely than not that an allegation of misconduct
                       occurred.




       Outcome. Based on clear and convinc ing information (or preponderance of evidence in cases arising from the Harassment
       Policy and the Student Sexual Misconduct Policy) considered during the hearing. the panel may find a student/group
       responsible for an alleged violation by majority vote. (In cases ari sing from the Student Sexual Misconduct Policy, a finding of
       responsibi lity for a violation must be unanimous.) The panel, also by majority vote. may dismiss any charge.
       Upon finding a student/group responsible for a violation of university policy, the panel may determine and impose (an)
       appropriate sanction(s). Consideration may be given to the nature of and circumstances surrounding the violation, the
       student's/group's acceptance of responsibility, prior disciplinary violations, the impact of a sanction on the student/group.
       precedent cases, university interests, and any other information deemed relevant by the hea ring panel. Should a hearing panel
       determine that a violation was motivated in part or w hole by race, color, religion, national origin, d isabi lity, veteran status, sexual
       orientation. gender identity, sex, genetic information, or age, the hearing panel may consider this an aggravating factor that
       increases the stringency of the sanction(s). All sanctions must be decided by majority vote w ith the exception of suspension or
       expulsion of an individual or dissolution of a group. These sanctions must be supported unanimously by a three-person panel
       or by four members of a five-person panel.
       Notification and Record of th e Hearing Outcome. The panel chair and /or the conduct officer w ill notify the accused student/
       group of the outcome of the hearing. A written hearing report describing the outcome. w ith a brief explanation of the reasoning .
       w ill be given to the accused student/group.
       The complainant w ill be informed of the outcome of a hearing in accordance w ith federa l guidelines. Complainants in cases
       arisi ng from the Student Sexual Misconduct Policy w ill receive a written report of the hearing outcome.
       An audio recording of each hearing w ill be made by the conduct officer and kept on file for three years. Reasonable care w ill be
       taken to create a q uality recording and minimize technical problems; however, techn ical problems that resu lt in no recording or
       an inaudible one w ill not be a valid argument for appeal.




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       SANCTIONS
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~      Any disciplinary hearing may result in penalties (singly or in combination), including, but not limited to, those from the following
a'     list. In determining appropriate sanctions, considerat ion may be g iven to the nature of and circumstances surrounding th e
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       violation, the student's/g roup's acceptance of responsibi lity, prior disciplinary violations, the impact of a sanction on the
Ul     student/group, precedent cases, university interests and any other information deemed relevant by a hearing panel/officer.
2      Should a hearing panel/officer determine at any point du ring the investigation or adjudication of a violation that a violation was
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       motivated in part or w hole by race , color, religion, national origin , disability, veteran status, sexual orientation, gender identity,
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()     gender expression . sex, genetic information , or age, the hearing panel/officer may consider this information an aggravating
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::l    factor that increases the stringency of the sanction(s).
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For cases resolved through the Undergraduate Conduct Boa rd, all sanctions are decided by majority vote w ith the exception
of a suspension or expulsion of an individual or dissolution of a group. These sanctions must be supported unanimously by a
three-person panel or by four members of a five-person panel.



EXPULSION
Dismissal and permanent removal from the university without possibility of readmission or reinstatement. A permanent notation
to that effect is made on the student's permanent academic record.



DEGREE REVOCATION
A student's degree may be revoked. In such a case, a permanent notation to that effect is made on the student's permanent
academic record.



SUSPENSION
A suspension is an involuntary dismissal from the university for a specified period of time. w hich may include th e current
semester and such additional semesters as deemed appropriate by the hearing panel/conduct officer.
Readmission as an undergraduate student in good standing is coordinated through the Office of Student Returns and
is contingent upon satisfaction of any requirements stated in the original sanction. Upon a student's readmission to and
matriculation in the university, the student is placed on disciplinary probation for at least one semester or for as long as a
hearing panel/co nduct officer determines is appropriate. Readmission for graduate/professional students is coordinated
through their respective dean.
As suspension constitutes an involuntary w ithdrawal from the university, a permanent notation to that effect is made on the
student's permanent academic record.
A student w ho is suspended after having satisfied all degree requ irements must apply for readmission in accordance w ith
normal procedures. If readmitted. the student's degree wi ll be awarded at the regular conferral date for the final semester of
the suspension period. The student may not participate in commencement exercises until readmitted.
In the event that a disciplinary suspension and an academic withdrawal occur simultaneously, the two withdrawals are to be in
effect consecutively.
Students suspended twice as a consequence of having been found responsible for academic misconduct are eligible to apply
for readmission no sooner than five years after the date of the second w ithdrawal.



DISSOLUTION (GROUP)
The privilege of a group to be recogni zed at Duke University may be suspended or revoked (dissolution).



SUSPENSION OF ACTIVITY (GROUP)
Residential or cohesive units may be suspended for a specified time period from activities sponsored, cosponsored, performed
by, or attended by its members on and/or off campus. A suspension is generally followed by disciplinary probation for a
specified period of time.



DISCIPLINARY PROBATION
                                                                                                                                   I:c;::
A status imposed on a student for a specific period of tim e during which another violation of university policy or violation       C
of any of the conditions of the probation shall result in an augmented disciplinary action, includ ing the possibility of          C
                                                                                                                                    C

suspension. Disciplinary probation rest ricts a student's ability to study away from Duke through the Global Education Office      i:
for Undergraduates, participate in DukeEngage, and be released early from the three-year residency requirement. It also may         a.
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impact other opportunities in w hich a student's disciplinary record is considered as a criterion for participation.
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        DISCIPLINARY PROBATION (GROUP)
        A status imposed on a group for a specific period of time during which another violation of un iversity policy or violation of any
        of the cond itions of the probation shall resu lt in an augmented disciplinary action, including the possibility of suspension of
        activity and/or dissolution.



        FORMAL WARN ING
        A forma l written reprimand for violation of the specified policy(ies).



        ADMONITIO N
        A written notice indicating violation of the specified policy(ies). The reso lution of this case w ill not become part of the student's/
        group's external disciplinary record (i.e .. it w ill be treated as an informal resolution) un less there is a subsequent university policy
        violation.



        WITHDRAWAL OF PRIVILEGES
        This may include, but is not limited to, w ithdrawal of the privilege to have a car on campus, park on campus, attend or
        participate in university programs or activities (such as sporting events, intramurals, performances, graduation exercises, host/
        sponsor events, etc.), or maintain computer account privileges.



        HOUSING LI CENSE RESTR ICTIONS/R EVOCATION
        A student's/group's privilege to live on campus may be restricted or revoked. Th is may include re location, revocation for a
        period of time or permanent remova l from the residential community. (Refunds for revocation may be denied based on HRL
        policies.)



        EXCLUSION
        A student or group may be excluded from access to or use of specified university-ow ned premises and/or facilities.



        NO CONTACT ORDER
        A student or group may be prohibited from commun icating with a named individual.



        RESTITUTION
        Payment for all or a portion of injury or damages to person(s) or property caused by an indivi dual or a group.



        FINE
        Payment to Duke University of a reasonable sum of money by an individual or group.


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(1)
(fl     COMMUNITY SERVICE
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s:ci"   Specified length of time during which a student or group w ill perform in a service capacity at the university or in the Durham
::,     community beyond any volunteering with w hich he/she/it may already be involved. Before starting service, it must be pre-
~       approved by a conduct officer. Failure to complete community service within the specified period, and present verification, may
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        result in additional hours assigned or further disciplinary action.
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MENTAL HEALTH/MEDICAL ASSESSMENT AND/OR TREATMENT
A hearing panel/officer may recommend or require a student to seek a mental health/medical assessment from CAPS. Student
Health . or other appropriate professional. The hearing panel/officer w ill not be privy to the contents of that assessment w ithout
the permission of the student but may require verification that the assessment was completed and that the student followed
through with recommendations of the professional.



EDUCATIONAL PROJECTS/INITIATIVES
Students or groups may be required to complete a project or a written assignment. attend an educational program. or seek
assistance from the Academic Skills Instructional Program. the Writing Studio. DukeReach. or other university resources.




APPEALS
A student/group found responsible through a hearing panel ("respondent") and/or a complainant in a case involving
harassment may appeal the hearing panel's decision by submitting a w ritten appeal statement w ithin five business days of the
date the hearing report is sent to the respondent (and complainant. as applicable). Appeals are limited to five pages (12-point
font. 1-inch margins). The two grounds for appeal are:
   1.    New informati on not reasonably available at the time of the hearin g that is material to the hearing panel's decision:
         and/or
   2.    Procedural error(s) that materially impacted the hearing panel's decision.
The appeal statement must identify the ground(s) fo r appeal. Note that an appeal is not a re-hearing of the case.
The composition of the Appellate Board includes members of the universi ty community appointed by th e Vice President for
Student Affairs. The chair of the Appellate Board or the chair's designee is responsible for selecting three-person panels from
membership of the Appe llate Board to consider appeals.
If, by majority vote, the appellate panel determines that a ground of appeal is substantiated. the panel will return the case to
the Office of Student Conduct. Otherwise. the decision of the hearing panel stands. W hen a case is returned to the Office of
Student Conduct, th e Office of Student Conduct may decide to drop the case (e.g .. based on insufficient information to believe
that a policy violation may have occurred), send the case to th e original hearing panel for reconsideration, send th e case to a
new hearing panel with the same or different charges, and/or (re)implement any aspect of the disciplinary process. A different
decision (i.e .. the decision of responsibility and/or sanctions) may subsequently result.



PROCEDURES
The Appe llate Board's role is limited to reviewing the hearing panel record, the appealing party's ("appellant") written appeal
statement. any response to that statement by the other party ("appellee") as applicable, and information presented at a
meeting of the Appella te Board, if convened.
The appellate panel w ill typically notify the parties of its decision regarding an appeal in writing within 20 business days from
receipt of the appeal statement. If the decision w ill take longer, the chair w ill inform the parties.
The following procedures guide the Appe llate Board process:
    •    Appeal Statement. The written hearing report will include instructions for submitting an appeal. The chair may
         summarily deny an appeal if it is not based on one or both grounds of appeal.
    •    Composition of Panel. If the appeal is not summarily denied by the chair, the chair will convene a three-person panel
         and notify the appellant and appellee of the names of the panel members. When possible, th e chair w ill select at least
         one Appellate Board member from the school community of the respondent (and/or complainant. if applicable). The
         appellant and/or appellee may challenge the participation of an appellate panelist because of perceived conflict
         of interest. bias. or prejudice. Such challenges, including rationale, must be submitted in writing to the chair no later
         than 24 hours after notification of the names of the appellate panel members. The chair will determine whether such a
         conflict of interest exists and whether a panelist should be replaced.
    •    Response to Appeal By Appellee (In Cases Involving Harassment). The chair w ill provide w ritten notice to the appellee
         that an appeal has been submitted and w ill give th e appellee an opportunity to review the appeal statement. The
         appellee may submit a w ritten response to the appeal ("response"). Th e response is due five business days from the
         date the chair provides written notice of th e appeal to the appellee and is limited to five pages (12-poi nt font. 1-inch
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                 margins). The chair will provide the appellant an opportun ity to review the response, thou gh no additional opportunity
                 to respond in writing w ill be provided to the appellant.
            •    Exceptions. The appellant (and appellee as applicable) may submit to the chair requests for exceptions to page limits
                 or deadlines. Exceptions must be requested in advance of any deadline by sending an emai l to appeals@duke.edu.
                 with justification for such request(s). If either party fails to meet a deadline or exceeds page limits w ithout receiving
                 an exception, the chair has the discretion to summarily reject an appeal or the appellate panel may disregard the
                 response.
            •    Meetings. On its own or at the request of the appellant (or appellee. if applicable), the appellate panel may convene a
                 meeting to give the party(ies) an opportunity to amplify the reason(sl for the appeal or the response. (A complainant or
                 respondent in a case arising under the Student Sexual Misconduct Policy may bring an advisor of his/her choice to the
                 meeting w ith the appellate panel. In such case, the advisor's role is limited to quietly conferring w ith the complainant
                 or respondent through w ritten correspondence or w hisper, and may not address the appellate panel.) In the event an
                 appeal alleges a procedural error, the appellate panel may request that (a) staff member(s) in the Office of Student
                 Conduct, the Office for Institutional Equity, and/or member(s) of the hearing panel attend the meeting to gather more
                 information about the alleged procedural error.
            •    Written Decision. The Appellate Board will provide written notification of the final decision to the appellant (and
                 appellee, if applicable, at approximately the same time).



        DISCIPLINARY RECORDS/STUDENT STATUS
        When students/groups are found responsible for a violation of university policy through an administrative or panel hearing.
        or accept responsibility through an agreement the case will be recorded on a student's/group's d isciplinary record. (See
        "Admonition" on page 62 under "Sanctions" for recording of these resolutions.) The record wi ll be maintained by the Office
        of Student Conduct and kept in accordance with FER PA Individual disciplinary records are kept on file for eight years from the
        date of a student's matriculation (or four years after graduation, whichever lapses first), except in cases resulting in suspension
        or expulsion. in w hich disciplinary records are kept indefinitely.



        STATUS OF A STUDENT/GROUP PENDING FINAL RESOLUTION OF A
        DISCIPLINARY CASE
        Until a final resolution is determined, the status of a student/group wi ll not change unless administrative actions have been
        imposed to protect the health and safety of the student/group or the university community. A student with disciplinary
        action pending, however, is not elig ible to graduate and may not participate in commencement exercises until his/her case
        is resolved. A student currently on leave, suspended. or withdrawn from Duke who has a pending disciplinary matter is not
        elig ible to seek readmission until that matter is resolved.



        DISCIPLINARY HOLD
        At any time after the filing of a complaint. the conduct officer or designee, after consulting with a student's academic dean, may
        place a disciplinary hold on the academic and/or financial records of any student pending the outcome of proceedings or to
        enforce a disciplinary sanction. A disciplinary hold may prevent among other things, registration, enrollment, matriculation, the
        release of transcripts, and the awarding of a degree.



        DISCIPLINARY ACTION WHILE CIVIL/CRIMINAL CHARGES PENDING
        Students may be accountable to both civil authorities and to the university for acts that violate local. state or federal laws.
        (Students are encouraged to seek advice of legal counsel when th ey face criminal charges.) Disciplinary action through
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(1)     university processes concurren t w ith criminal action does not subject a student to "double jeopardy."
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        The university operates under different policies, procedures and standards and thus, will not be bound by the findings of a court
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ci'     of law. If the court's outcome satisfies the university's interests, such outcome may be recorded on the student's disciplinary
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        record without invoking the university disciplinary process. Should any criminal proceeding result in a felony conviction, as a
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(fl     result of an incident on or off campus, the Vice President for Student Affairs reserves the right to summarily dismiss a student.
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        University disciplinary action will normally proceed during the pendency of a criminal or civil action. A student may request.
~       however, that the university disciplinary process be placed on hold until criminal actions are resolved. The conduct officer
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        or designee will decide whether this request will be granted. In such a case, administrative actions may be imposed. The
:J      university reserves the right to proceed with the disciplinary process at any point.
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       APPENDIX A - THE JUDICIAL SYSTEM OF DUKE UNIVERSITY
       The judicial system of the university shall consist of the University Judicial Board and a judicial board for each of the
       commun ities hereafter defined. (The undergraduate jud icial system is part of the larger university judicial system.)



       AUTHORITY OVER POLICIES AND PROCEDURES
       Responsibility for prescribing and enforcing rules and regulations governing student conduct rests ultimately with the Board of
       Trustees of Duke Un iversity and, by delegation, with admin istrative officers of the university and of the college and school.
       The policies and procedures governing the conduct of undergraduate students may be amended at any time by the Vice
       President for Student Affairs and may be implemented with adequate notice to the university communi ty.



       COMMUNITY JUDICIAL BOARDS
       There shall be an undergraduate community consisting of th e undergraduates in Trinity College of Arts and Sciences and the
       Pratt School of Eng ineering : a Divinity School community: a Fuqua School of Business community: a Law School community: a
       Medical School community: an Allied Health community consisting of all degree and certificate (i.e., paramedica l. nondegree)
       students in th e School of Allied Health: a Nicholas School of the Environment and Earth Sciences community: a School of
       Nursing community: and a Graduate School commun ity. Each community shall have such judicial system as its governing body
       may provi de.



       THE UNIVERSITY JUDICIAL BOARD

       Jurisdiction
       The jurisdiction of the University Judicial Board shall be limited to cases arising out of the pickets and protests regulations and
       cases involving more than one of the communities as determined by the Vice President for Student Affairs in consultation with
       the president and the chair of the University Judicial Board.
       The University Judicial Board shall have jurisdiction over members of the student body, members of the faculty, and
       administrative personnel of the university not subject to the Personnel Policy Manual.
       However, all alleged violations of the Student Sexual Misconduct Policy in w hich a student is named as a respondent are
       handled through th e procedures outlined in "Student Sexual Misconduct Policy and Procedures" (see page 39).


       Filing of Charges; Responsibilities of Vice President for Student Affairs
           •    Th e Office of the Vice President for Student Affairs shall have responsibility for receiving complaints, conducting
                investigations. and preferring charges concerning offenses w ithin the jurisdiction of the board.
           •    The University Judicial Board shall hear no case without a finding of probable cause made by the Vice President for
                Student Affairs, whose sig nature to the charge or charges shall constitute sufficient evidence of such finding .
           •    To assist the Vice President for Student Affairs in th e investigat ion of complaints, the gathering of evidence, and the
                preparation of charges, investigative and judicial aides may be appointed by the Vice President and shall serve at his/
                her pleasure and under his/ her d irection. Th e number and specific d uties of such aides shall be determ ined by th e
                Vice President for Student Affairs, w ho shall be fully responsible for all duties performed by them in th eir capaci ty as
                aides.
           •    The Vice President for Student Affairs shall subpoena w itnesses as directed by th e University Judicial Board.
           •    The Vice President for Student Affairs may delegate all or any portion of his/her duties as regards these judicial
                procedures to an aide or aides. The Vice President for Student Affairs shall be responsible for the discharge of all
                duties thus delegated.


       Membership
)>     The University Judicial Board shall consist of a chair appoi nted by the president. five faculty members (two of whom shall be
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       from the Law School) appointed by the Executive Committee of the Acade mic Council. and two student members from each of
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       t he communities (except in the case of the undergraduate community where there should be four members) elected by each
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community's judicial board. The chair of th e board shall select.five-person panels consisting of a chair and an equal number of
students and faculty. Cases referred to th e board shall be assigned to the panels in rotation, provided that a member of a panel
may, at his/her request. be excused from sitting on a case by the c hair of the board, who may appoint a substitute from among
th e other members of the board. Each panel shall be known as a "Hearing Committee of t he University Judicial Board."


Terms of Members
Faculty members shall normally serve for two-year terms, but are eligible for reappo intment. The terms should be staggered
in order to provide continuity. Two of the initial appointees shall be appointed for one -year terms. Student members shall
serve for one -year terms, although they may be eligible for re-election. The board has the right to remove any member of the
board for cause by a vote of a two-thirds majority of all members. The vacancy shall be filled promptly according to the original
procedure.


Conduct of the Hearing
        The hearing w ill be conducted in private unless th e accused requests an open hearing. If any objection is raised to
        conducting an open heari ng in any particular case. th e Hearing Committee of the University Judicial Board w ill decide
        the issue by majority vote. If the decision is made not to hold an open hearing, the accused shall be informed in w riting
        of the reasons for the decision.
        The university and the accused may be represented by an adviser of his/her choice.
        The board shall promulgate its own ru les of procedure consistent with academic due process and all provisions of this
        document.
        The accused has the right to challenge on the grounds of prejudice any mem ber of the Hearing Committee sitting on
        his/her case. If an accused makes such a challenge, the Hearing Committee shall deliberate in private to determine
        whether cause exists. By a majority vote of the members of the tribunal (excluding the member being challenged),
        a member shall be removed from the case and replaced by a member of the board designated by the chair of the
        Judicial Board. In addition, the accused may exercise a challenge directed at the entire panel. in w hich case the
        challenge shall be made to the chair of th e University Judicial Board, who shall excuse th e panel challenged and refer
        the accused's case to the next panel in rotation.


The Right of Appeal
   •    In cases heard by the University Judicial Board, there will be no appeal when the accused is acquitted, except in cases
        of harassment or discrimination, in which case a complainant may appeal the accused's acquittal.
   •    A student or administrator w ho is not a member of the faculty convicted by the University Judicial Board may appeal
        to the president. or in his/ her absence, the provost. in w hich case such appeal shall be solely on the record of the
        proceedings before the Hearing Committee. Argument or appeal shall be on written submission, but the president
        may, in addition, require oral argument.
    •   A member of the faculty convicted by the University Judicial Board may appeal to the Faculty Hearing Comm ittee
        authorized under the provisions for Academic Freedom and Tenure of Duke University.


Status of the Accused
Charges must be prepared w ithout delay follow ing the alleged commission of the offense. Pending fina l verdict on charges
against the accused (includ ing appeal), his/her status shall not be changed, nor his/her right to be on campus to attend
classes suspended, except that the president or provost may impose an interim suspension upon any member of the
university community w ho demonstrates, by his/her conduct. that his/her continued presence on the campus consti tutes an
immediate threat to the physical well-being or property of the members of the universi ty community or the orderly functioning
of the university. The imposition of interim suspension requires that the su.s pended individual shall immediately observe any
restriction placed upon him / her by the terms of the suspension. The suspended individual shall be entitled to a hearing w ithin
th ree (3) days before the Hearing Committee on t he formal charges. If he/she requires additional tim e to prepare his/her case
before th e Hearing Committee, he/she shall be entitled to an informal review of th e decision imposing interim suspension
by a three-person committee chosen from the members of the University Judicial Board by its chair. Interim suspension is
an extraordinary remedy which will be invoked only in extreme cases where the interest of the university and members of its
community requi re immediate action before th e Hearing Commi ttee can adjudicate formal charges against the suspended
individual. If interim suspension is imposed and the accused is later found innocent, the university shall seek restitution as
provided by the Hearing Committee w ith respect to the student's academic responsibilities incurred during the period of
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       Civil and Criminal Courts
       Members of the university communi ty may be subject to civil or criminal proceedings in a local court. The president may initiate
       legal action seeking injunctive or other civil relief, or file criminal charges, when it is necessary to protect the person or property
       of members of the university community, or the orderly functioning or property of th e university. Such action may be in addition
       to the filing of formal charges before the University Judicial Board and /or interim suspension.


       Sanctions
       A Hearing Committee of the University Judicial Board shall have the power to impose the following penalties upon students:
                Expulsion. Dismissal from the university wi th the recommendation that the person never be readmi tted.
                Suspen sion. Dismissal from the un iversity and from partic ipation in all university activities for a specified period of time
                after w hich the subject may apply for readmission.
                Disci plinary Probation. Placing a student on a probationary status for a specified period of time, during which
                convict ion of any regula tion may result in more serious disciplinary action.
                Exclusion from part icipation in ext racu rricular activi ties. W ithout limiting th e generality of that penalty, such
                restrictions might involve participation in any collegiate athlet ics, or any public participation or performance in the
                name of the university. However. a hearing comm ittee may not exclude a person from performance of the duties of an
                elective office, but may make such a recommendation to th e appropriate orga nization. This penalty may be imposed
                by itself or in addition to any of the other enumerated penalties.
           •    Censure. Written reprimand for violation of th e specified reg ulation, including the possibility of more severe d isciplinary
                sanction in the event of conviction for the violation of the same or one of equal seriousness within the period of time
                stated by the reprimand.
                Admonition. By an oral statement to the offender that he/she has violated the university ru les or has been in contempt
                of the board.

                Restitution. Payment for all. or a portion of property damage caused during the commission of an offense. Th is penalty
                may be imposed by itself, or in addition to any of the other penalties.
                Fines. Payment of reasonable sums to be determined by a hearing committee. This penalty may be imposed by itself,
                or in addition to any of the other penalties.
                Exclusion from social activities w here th e nature of the violation so indicates including, but not limited to, c urfews or
                other revocation of upperclass privileges.
       A Heari ng Committee of the Universi ty Judicial Board shall have the power to impose the fo llowing penalties upon faculty
       members and administrative personnel not subject to the provisions of the Personnel Policy Manual.
           •    Dismissal. Dismissal or termination of appointment.
           •    Censure.
           •    Admon ition.
           •    Restitution.
           •    Fines.


       Other Powers
       The Hearing Committee may recommend to the university th at it seek restitution w ith respect to th e accused's university
       responsibilities incurred during a period of suspension or during the period w hen a hearing has been conducted or shall make
       such other nonpunitive recommendations w ith respect to the accused as it shall deem approp riate.


       Records
       The board shall promptly arrange a policy of keeping its own records, subject to the university policy on confidentiality.


       Excusal of Members of the University Community from University Obligations
       Any member of the university community w hose presence is requi red at a hearing shall be excused from the performance of
)>     any university respons ibilities w hich would normally be performed at the t ime w hen his/her presence is req uired before th e
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       Hearing Committee.
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APPENDIX B - OPTIONAL, ONE-TIME
FACULTY-STUDENT RESOLUTION PROCESS FOR CASES OF
ACADEMIC DISHONESTY INVOLVING UNDERGRADUATES
This option for resolving cases of academic dishonesty is reserved for first-time, minor infractions by Duke undergraduates.
The faculty member must first contact the Office of Student Conduct to discuss the appropriateness of this option with respect
to the nature of the offense, as well as to learn of any prior vio lations by the student. If there is no record of prior offenses and
the case appears to be one that, if adjudicated by a hearing panel. would result in probation or a sanction less severe than
probation, it may be resolved between the facu lty member and the student. Otherwise, the case must be forwarded to the
Office of Student Conduct.
A faculty-student resolution may result in a reduced grade on the assignment, a reduced grade in the course, additional
assig nments, an d/o r other educati onal initiatives. (Th e outcome must be agreed upon by both parties.)
The faculty member must report the outcome(s) of a facu lty-student resolution to the Office of Student Conduct for record
keeping . This resolution w ill not become part of the stud ent's external disciplinary record unless there is a second violation, at
w hich time both cases w ill be noted on th e student's disciplinary record .



PROCESS
    •    The faculty member shall first contact the Office of Student Conduct to d iscuss the appropriateness of this option wi th
         respect to the nature of the offense, as well as to learn of any prior violations. Staff in th e Office of Student Conduct
         may be reached at 919-684-6938.
    •    If the student has no record of prior offenses and the case appears to be one that, if adjudicated by a hearing panel,
         w ould result in probation or a sanction less severe than probation, it may be resolved betwee n the faculty member
         and the student.
    •    The faculty member shall meet w ith the student and present any information releva nt to the case.
    •    The student shall have an opportu nity to respond to th e allegations.
    •    If the faculty member believes that academic d ishonesty has occurred, the faculty mem ber should complete
         a Faculty-Student Resolution form , including t he proposed outcome, and present this form to the student. The
         form may be found on the website of the Office of Student Conduct we bsite at studentaffairs.duke.edu/conduct/
         undergraduate-di sciplinary-system/types-resolution / faculty-student-resolutions.
    •    Upon receipt of the proposed reso lution, the student has 96 hours to consider an d seek advice on w hether to accept
         responsibility and agree to th e resolution.
    •    If the student agrees to th e resolution, she/he should sign th e resolution form in the presence of the faculty member.
         The faculty mem ber should then fo rwa rd a copy of the form to the Office of Student Conduct (Box 90893).
    •    If the student does not accept th e proposed resolution, the facu lty member should refer t he case to the Office of
         Student Conduct.




APPENDIX C - ADMINISTRATIVE ACTION POLICY

POLICY
Th e Vice President for Student Affairs or designee may take administrative action(s) against an underg raduate student (or, if
pursuant to the Student Sexual Misconduct Policy, a graduate or professional student) and /or a student group to protect the
health, safety, or welfare of the university comm unity or any member of it. Ad m inistrative action includes. but is not limited to, a
"no contact" directive, removal of privileges, removal from or relocation w ithin the residential community, suspension of activity,
and/or suspension from the university. If administrative action is issued w hile a disciplinary action is pending , such action may
remain in effect until the discipli nary process is resolved .

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        PROCEDURE
                 Any member of the universi ty community w ho has reason to believe that a student or student group may pose a threat
                 to th e health. safety, or welfare of the university community or any member of it should contact the Vice President for
                 Student Affairs or other staff within Student Affairs as appropriate.
                 The Vice President for Student Affairs or designee w ill conduct a preliminary review of available information and. w here
                 necessary and appropriate, gather additi onal information. If feasible under the circumstances, the Vice President for
                 Student Affairs or designee w ill meet with the student in question before taking administrative action.
                 Based on the available information. the Vice President for Student Affairs or designee shall determine whether
                 administrative action is warranted. The Vice President for Student Affairs or designee will prepare a w ritten statement
                 identifying the administrative action(s), the time period such action(s) is/are in effect. and the reasons for the
                 administrative action(s).




        APPENDIX D - FRATERNITY AND SORORITY
        RECOGNITION
        Recognition is the formal process by w hich Duke University perm its a fraternity or sorority to function on campus. conduct
        membership/ intake ac tivities. and be considered part of the university. For a fraternal organization to obtain recognition
        through the Office of Fraternity and Sorority Life (FSU. it must:
            •    Operate under a constitution and bylaws that have been approved by FSL and one of the recog nized Greek Governing
                 Councils: lnterfratern ity Council (IFC), Multicultural Greek Council (MGC), National Pan-Hellenic Council (NPHC).
                 Pan hellenic Association (PanheD.
            •    Demonstrate sound finan cial standing.
            •    Be affiliated w ith an inter/national fraternity or sorority.
            •    Present an initial membership list of at least three (3) currently registered. degree-seeking students who are not on
                 academic or disciplinary probation. (While Duke recognizes that some organizations share membership w ith other
                 colleges and universities. this relationship is prohibited by FSL.)
            •    Identi fy a person, who is not an undergraduate. to serve as the chapter advisor.
            •    Maintain general liability insurance w ith minimum limits of $1,000.000 per occurrence, $3,000 ,0 00 aggregate. A
                 certificate of insurance evidencing current coverage must be provided to the Office of Fraternity and Sorority Life on an
                 annual basis as a part of maintaining university recognition.
        Th e university does not recogni ze local chapters.
        The Office of Fraternity and Sorority Life determines. w ith th e in put of the appropriate Greek governing council. the status
        of recognized fraternity and sorority chapters. If a chapter no longer meets any or all of the above-stated conditions for full
        recognition or. as a provisionally recognized group. is not making sufficient progress towards full recognition. then full or
        provisional recognition may be withdrawn or th e chapter may be placed on probation with suspended privileges. In addition.
        FSL and the governing councils support any sanctions given to chapters by their inter/national headquarters office.
        The suspension of privileges may include. but is not limited to:
            •    Reservation and free usage of campus space.
            •    Participation in new member recruitment and intake activities.
            •    Ability to host/co-sponsor events on and off campus.
            •    Participation in community-wide events. education programs, intramural sports and service/phi lanthropy initiatives.
            •    Membership in one of the recognized Greek governing councils.


        FRATERNITY AND SORORITY MEMBERSHIP RECRUITMENT/INTAKE
        Membership may be extended to students in the spring of their first year. Upperclass students may receive bids. or invitations
        to join recogni zed chapters, at any time during the academic year.
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APPENDIX E - RECOGNIZED STUDENT ORGANIZATIONS
Each student organization adds to the social. cultural, and intellectual environment of Duke. The university recognizes
the contributions that stud ent organizations make to the quality of life on campus and strives to support its ow n mission
to "attending not only to !students'] intellectual g rowth but also to their development as adults committed to high ethical
standards and full participation as leaders in their communities" (Duke University Mission Statement. 2001).
Recognition of any organization is not to be interpreted as an endorsement by the university of the purpose, activities, political
position, or point of view of the organization.



RECOGNITION SOURCES
The university identifies two (2) primary recognition sources for undergraduate student organizations: Student Organization
Finance Committee (SOFC) and departmental.

   1.   The Student Organization Finance Committee (SOFC) of the Duke Student Government (DSG) is the major student
        organization recognition source; the financ ial. risk management. and policy authority for these organizations rests w ith
        the Vice President for Student Affairs.
Standards of Recognition . All undergraduate student organizations must align with the following basic standards:
   •    Have a unique mission that d ifferentiates it from other recognized organizations.
   •    Be comprised of at least ten (10) members. All members are Duke-affiliated and at least fifty percent (50%) are
        currently enrolled undergraduate students. All leadership positions must be occupied by undergrad uate students.
   •    Have a president. who oversees th e operations and mission of the organization, and a treasurer, w ho oversees the
        financial health of the organization. These officer positions may be labeled differently within the organization but w ill be
        named as above for official university purposes. The position of the president must be voted in democratically through
        the organization. Both the president and the treasurer are responsible for attending and completing th e required
        annual trainings offered through University Center Activities and Events (UCAE).
   •    Have a full-time faculty or staff member serve as an advisor. An organization advisor helps their organization grow and
        develop its activities in the spi rit of the highest ideals of th e Duke mission.
   •    List current mission statement. officers, and advisor on the official student organization directory DukeGroups
        (dukegroups.com) annually. The Division of Student Affairs maintains the official list of student organizations regardless
        of recognition source.
   •    Create and keep a constitution that defines:
        •    The official name of the organization
        •    The recognition source of the organization (SOFC or Department)
        •    The mission of the organization (must not violate any university, local. state, or federa l policies/laws)
        •    The requirements of membership in the organization
        •    Acknow ledgment that the actions and opinions of the group are independent of Duke University and do not
             reflect the actions and opinions of the university as a whole
        •    Alignment with the Duke University equal opportunity (non-discrimination ) statement: Duke University prohibits
             discrimination and harassment. and provides equal !membership] opportun ity without regard to race, color,
             religion , national origin, disability, veteran status, sexual orien tation, gender identity, sex, genetic information, or
             age
        •    Maintain a positive balance of funds in any university-granted financial account
For more information about student organizations please visit University Center Activities and Events (UCAE) in the Bryan
Center or online at studentaffairs.duke.edu/ucae.
   2.   University schools, departments, and offices may also recognize student organizations or student ventures in
        congruence w ith their standards; the financial, risk management. and policy authority for these organizations or
        ventures rest w ith the department/program of the entity that bestows recog nition.
All student groups are required to be knowledgeable of and abide by policies in the UCAE Student Organization handbook                     ff
available on the UCAE website. UCAE reserves the right to update policies.                                                                 <l.
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       APPENDIX F - INFORMATION AND RESOURCES
       CONCERNING SUBSTANCE USE

       HEALTH EFFECTS OF ALCOHOL AND OTHER DRUGS
       Psychoactive drugs are a class of drugs most frequently used socially or recreationally (and often illegally). These drugs
       ac t on the central nervous system (CNS), or more specifically the brain, creating altered states of consciousness. They may
       increase CNS activity (stimulants, such as coca ine, crack, amphetamines), decrease CNS activity (depressants, such as alcohol.
       barbiturates, tranquilizers) , cause the creation of illusions (hallucinogens, such as LSD, peyote, mushrooms, PCP), or have a
       combined effect (marijuana). Every drug has multiple effects on the brain and the body. Addiction to any of these substances is
       a disease th at affects the sufferer mentally, emotionally, physically, and spiritually. It can also have a profound effect on those
       closest to the addicted person.



       SHORT TERM OR ACUTE EFFECTS
       Im paired judgment (violent behavior, physical injuries, acciden ts), unpredictable mood swings, acute psychotic episodes,
       ri sky sexual behaviors (un planned pregnancy, impaired sexual res ponse, sexually transmitted d iseases), sexual assault. rape,
       hangovers, increased nervousness, tremors, shortn ess of breath, anxiety/pan ic reactions, reduced energy and stamina,
       d igestive problems (nausea, vomiti ng , diarrh ea, ulcer irritation), dehydration, halitosis, cardiovascular changes, seizures, loss of
       consciousness, death.



       LONG TERM OR CHRONIC EFFECTS
           •    Systemic Disorders. Increased heart rate, increased or sudden decrease in blood pressure, hyperactivity, decreased
                oxygen in blood supply to the bra in, decreased immune system function, AIDS or hepatitis from needle sharing,
                reverse tolerance, hemorrhage, delirium tremens (D.T.s) from acute w ithdrawa l. death.
           •    Brain/Central Nervous System Disorders. Short-term memory loss, concentration difficulties, damaged nerve
                connections, d isruption of "chemical messengers."
           •    Mental Health Disorders. Sleep disorders, eating d isorders, fatigue , acute or c hronic depression, hallucinations,
                suicidal thoughts/actions, person ality changes, delusional states, anxiety d isorders, psychosis.
           •    Digestive Disorders. Ulcers in the mouth, diseases of the gums, inflammation of the esophag us, stomach, and
                pancreas, ulcers, cirrhosis, fatty liver disease, alcoholic hepatitis,
           •    Respiratory System Disorders, Painful nosebleeds, nasal erosion, tuberculosis, chro nic lung diseases including
                emphysema and chro nic bronchitis, exacerbation of si nus and asthma conditions, increased risk of lung ca ncer,
                decreased vital lung capacity.
           •    Sexual /Reproductive Disorders. Impotence, atrophy of testicles, impaired sperm production , absence of menstrual
                period, decrease in desire/arousal/performance, birth defects.
           •    Endocrine/ Nutrition/ Metabolic Disorders. Malnutrition, vitamin/mineral deficiencies, acute gout. obesity, diabetes,
                decreased testosterone levels in men , appetite d isorders, w eight gain or loss, impaired immune system.
           •    Skin and Subcutaneous Ti ssue Disorders, Skin infections, unsightly changes in the skin , dry ski n, boi ls, skin abscesses,
                itching , increase in ski n moles and ben ign skin tumo rs, spider angiomas, edema.
           •    Preg nancy and Fetal Development. Fetal Alcoho l Sy ndrome, low birth weight babies, increased risk of miscarriage,
                stillbirth, increased risk of Sudden Infant Death Syndrome, brain damage, congenital deformities, addiction in the
                newborn.
           •    Other Disorders. Prone to cross -addiction to other drugs including prescription medicati ons, laxatives, analgesics, and
                caffeine. Additionally, chronic abusers have an increased incidence of fractu res, sprains, burns, lacerations, bruises,
                concussions, and other traumas.




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FEDERAL PENALTIES AND SANCTIONS FOR ILLEGAL POSSESSION OF A
CONTROLLED SUBSTANCE (from gpo.gov/fdsys)

21 U.S.C. 844(a)
1st conviction: Up to 1 year imprisonment and fined at least $1,000 but not more than $100,000, or both.
After one (1) prior drug conviction: At least 15 days in prison, not to exceed two (2) years and fined at leas t $2,500 but not more
than $250,000. or both.

After z or more prior drug convictions: At least go days in prison, not to exceed 3 years and fined at least $5,000 but not more
than $250 ,000, or both.

Special sen tencing provision for possession of crack cocaine: Mandatory at least 5 years in prison , not to exceed 20 years and
fined up to $250,000, or both, if:

         1st conviction and the amount of crack possessed exceeds five (5) grams.
     •   2nd crack conviction and the amount of crack possessed exceeds three (3) grams .
         3rd or subsequent crack conviction and the amount of crack possessed exceeds 1 gram.


21 U.S.C. 853(a)(2) and 881(a)(7)
Forfeiture of personal and real property used to possess or to facili tate possession of a controlled substance if t hat offe nse is
punishable by more than one year of imprisonment. (See special sentencing provisions re: crack.)


21 U.S.C. 881(a)(4)
Forfeitu re of vehicles. boats, aircraft or any other conveyance used to transport or conceal a controlled substance.


21 U.S.C. 844a
Civil fine of up to $10,000.


21 U.S.C. 853a
Denial of Federal benefits, such as student loans, grants, contracts. and professional and commercial licenses, up to 1 year for
fi rst offense, up to 5 years for second and subsequent offenses.


18   u.s.c. 922(9)
Ineligible to receive or possess a firearm or am munition.


Miscellaneous
Revocation of certain Federal licenses and benefits, e.g .. pilot licenses, public housing tenancy. etc .. are vested w ithin the
authorities of individual Federal agencies. Note: The se are only Federal penalties and sanctions. Add itional State of North
Carolina penalties and sanctions may apply.


Effect on Financial Aid
Under the 2000 reauth orization of t he Higher Education Act. eligibility for federal stud ent aid is j eopardized for students
convicted of a drug possession charge. For a first convi ction. eligibility for aid may be suspended for one year; two years for
a second; permanen tly for a thi rd. Eligibility is restored once a stud ent completes a drug rehabilitation program or has th e
conviction overturned.



NORTH CAROLINA STATE LAWS REGARDING ALCOHOL AND DRUGS
For complete information regarding North Carolina state laws governing drugs, consult the North Carolina Controlled
Substances Act in the North Carolina General Statutes, Article 5, Chapter go.                                                           (/
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For complete information regarding North Carolina state laws governing alcoho l, consult the North Carolina General Statutes,           i:
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Chapter 18B. Criminal penalties for a violation of these laws include a misdemeanor conviction, community service, possible             Cl
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loss of driver's license, and/ or fi nes. Repeat violations inc ur greater penalties. The complete statutes are available online at     C
ncga.state.nc.us/gascripts/Statutes/ Statutes.asp.                                                                                      <l:




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        RESOURCES FOR ALCOHOL, DRUG, AND
        TOBACCO CONCERNS

        Emergency Phone Numbers
        Duke Emergency Medical Service and/or Police                                             911/919-684-2444
        Alcohol-related emergencies can be difficult to assess. When in doubt, contact professionals.
        Duke Hospital Emergency Department                                                       911/919-684-2413
        If an intoxicated student cannot be aroused, is breathing erratically or slowly, or appears to be in a life-
        threatening state, get the student to the Emergency Department. Duke Emergency Medical Service or
        Duke Police can assist in transporting students.
        24-hour confidential advice on alcohol or drug-related emergencies can be obtained through Holly Hill
        Hospital at 1-800-422-1840 or 1-800-447-1800.

        Local Inpatient/Outpatient Treatment Facilities
        Holly Hill Hospital                                                                           919-250-7000
        3019 Falstaff Road
        Raleigh . NC 27610
        hollyhillhospital.com

        Fellowship Hall                                                                               800-659-3381
        5140 Dunstan Road
        Greensboro, NC 27405
        fellowshiphall.com

        Local Outpatient Treatment Facilities
        Duke Child Development and Behavioral Health                                                 919-668-5559
        402 Trent Drive
        DUMC Box 2906
        Durham, NC 27710
        ipmh.duke.edu/content/cdbh

        Information, Screening, and Education
        The DuWell                                                studentaffairs.duke.edu/duwell 919-681-8421
        The DuWell enhances the education of Duke University students by environmentally addressing
        issues contributing to substance use/abuse. promoting healthy emotional and social development.
        and providing screenings for students in need of addressing high-risk patterns of behavior. The
        office provides books and assistance w ith educational programming for student living groups and
        organizations. The DuWell offers assistance and support for students interested in changing their
        substance use patterns.
        Student Health                           studentaffairs.duke.edu/studenthealth 919-681-WELL (9355)
        Student Health offers screening, evaluation, education and referral for alcohol and substance use/
        abuse.



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Individual Assessment and Counseling
Counseling and Psychological Services (CAPS)                 studentaffairs.duke.edu/caps 919-660-1000
CAPS offers evaluation, consultation, counseling . and referral for individuals with alcohol and other
substance abuse issues. A substance abuse specialist is available for personal consultation and
counseling for students who are concerned about themselves or others because of alcohol or drug use.
UNC Health Care's Alcohol and Substance Abuse Program                                         919-966-6039
  www.unchealthcare.org/site/healthpatientcare/alcoholsubstanceabuse
UNC offers a center for intensive outpatient treatment of chemical dependency and substance abuse.
Cocaine Anonymous                                                                   ca.erg 1-800-347-8998
An around-the-clock information and referral service, staffed by recovering cocaine addict counselors.
First Step Services                                                  www.firststepnc.com      919-833-8899
First Step specializes in intensive outpatient programs for individuals suffering from drug and alcohol
abuse. stressing abstinence from mind and mood altering substances during the course of treatment.
C.S.A.P.                                     1-800-662-HELP; 1-800-662-9832 for information in Spanish
A 24-hour hotline maintained by the Center of Substance Abuse Prevention offers confidential
information and referral.
N.C.A.D.I.                                                             www.samhsa.gov 1-800-729-6686
The National Clearinghouse for Alcohol and Drug Information offers free pri nt information on alcohol and
other drugs. other media may be available for rent or purchase.
Cancer Information Service                                                                  1-800-422-6237
Free telephone smoking cessation counseling, materials, support, referrals. Information in Spanish when
needed.
American Lung Association                                                                   1-800-586-4872
Self-help materials available.
Academic courses related to alcohol use, treatment, and research
See course listings through the Office of University Registrar (registrar.duke.edu) or the Bulletin of each
school.

Support Groups
Alcoholics Anonymous (AA)                     aanc32.org I aanc33.org 919-286-9499 I 1-800-662-4357
AA offers emergency support for individuals with alcohol problems in addition to group meetings. Many
have found the 12-step program to be crucial in their recovery. Meeting locations in the Durham area can
be found on the AA website.
Narcotics Anonymous (NA)                                                             na.org 919-956-5900
Similar to Alcoholics Anonymous, except focused on drug abuse/addiction issues. A variety of drugs are
addressed, including marijuana and prescription medications.
ACOA/Al-Anon                                      al-anon.alateen.org 919-403-0687 / 1-888-4AL-ANON
ACOA and Al-Anon meetings are support groups for family members dealing with the impact of living
with. or being close to an alcoholic. Meeting locations in the Durham area can be found on the Al-Anon
website.
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                              FEDERAL DRUG TRAFFICKING PENALTIES
                                  FOR MARIJUANA (SCHEDULE I)

           Drug                    Quantity                       First Offense                         Second Offense

      Marijuana     1,000 kg or more mixture; or       Not less than 10 years or more         Not less than 20 years or more
                    1,000 or more plants               than life                              than life


                                                       If death or serious bodily injury,     If death or serious bodily injury,
                                                       not less than 20 years or more         life imprisonment
                                                       than life

                                                                                              Fine not more than $20 million if
                                                       Fine not more than $10 million if      an individual, $75 million if other
                                                       an individua l, $50 million if other   than an individual
                                                       than an individual




      Marijuana     100 kg to 999 kg mixture; or 100   Not less than 5 years or more          Not less than 10 years or more
                    to 999 plants                      than 40 years                          than life


                                                       If death or serious bodily injury.     If death or serious bodily injury,
                                                       not less than 20 years or more         life imprisonment
                                                       than life

                                                                                              Fine not more than $8 million if an
                                                       Fine not more than $5 million if       individual, $50 million if other than
                                                       an individual, $25 million if other    an individual
                                                       than an individual



      Marijuana     50 kg to 99 kg mixture; or 50 to   Not more than 20 years                 Not more than 30 years
                    99 plants

                                                       If death or serious bodily injury,     If death or serious bodily injury,
                                                       not less than 20 years or more         life imprisonment
                    More than 10 kg                    than life
      Hashish
                                                                                              Fine $2 million if an individual, $10
                                                       Fine $1 million if an individual, $5   million if other than individual
      Hashish Oil   More than 1 kg
                                                       m illion if other than an individual


      Marijuana     Less than 50 kg (but does          Not more than 5 years                  Not more than 10 yea rs
                    not include 50 or more plants
                    regardless of weight)
                                                       Fine not more than $250 ,000, $1       Fine $500,000 if an individual. $2
                    1-49 marijuana plants                                                     million if other than individual
                                                       million other than individual

      Hashish       10 kg or less

      Hashish Oil   1 kg or less



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                            FEDERAL DRUG TRAFFICKING PENALTIES

     Drug / Schedule           Quantity              Penalties                   Quantity                  Penalties

Cocaine (Schedule Ill      500-4999 gms      First Offense: Not less       5 kg or more            First Offense: Not less
                           mixture           than 5 years. and not                                 than 10 years. and not
                                             more than 40 yrs. If                                  more than life. If death
Cocaine Base (Schedule                       death or serious bodily                               or serious bodily injury.
                           28-279 gms                                      280 gms or more
Ill                                          injury, not less than 20                              not less than 20 years
                           mixture                                         mixture
                                             years or more than life.                              or more than life. Fine
                                             Fine of not more than $5                              of not more than $10
Fentanyl (Schedule IV)     40-399 gms                                      400 gms or more
                                             million if an individual.                             million if an individual.
                           mixture           $25 million if not an         mixture                 $50 million if not an
                                             individual                                            individual
Fentanyl Analogue          10-99 gms                                       100 gms or more
(Schedule I)               mixture                                         mixture
                                             Second Offense: Not                                   Second Offense: Not
Heroin (Schedule I)        100-999 gms       less than 10 years. and       1 kg or more            less than 20 years. and
                           mixture           not more than life. If        mixture                 not more than life. If
                                             death or serious bodily                               death or serious bodily
LSD (Schedule I)           1-9 gms mixture   injury. life imprisonment.    10 gms or more          injury. life imprisonment.
                                             Fine of not more than $8      mixture                 Fine of not more
                                             million if an individual.                             than $20 million if an
                                             $50 million if not an                                 individual. $75 million if
Methamphetamine            5-49 gms pure                                   50 gms or more
(Schedule Ill                                individual                                            not an indivi dual
                           or 50-499 gms                                   pure or 500 gms
                           mixtu re                                        or more mixture

                                                                                                   2 or more prior offenses:
                                                                                                   Life imprisonment. Fine
PCP (Schedule II)          10-99 gms pure                                  100 gms or more         of not more than $20
                           or 100-999 gms                                  pure or 1 kg or         million if an individual.
                           mixture                                         more mixture            $75 million if not an
                                                                                                   individual

                                                    Penalties

Other Schedule I & II      Any amount        First Offense: Not more that 20 years. If death or serious bodily injury. not
substances                                   less than 20 years. or more than life. Fine $1 million if an ind ividual. $5
                                             million if not an individual
Any drug product           Any amount        Second Offense: Not more than 30 years. If death or serious bodily injury.
containing Gamma                             life imprisonment. Fine $2 million if an individual. $10 million if not an
Hydroxybutyric Acid                          individual

Flunitrazepam (Schedule    1 gm or more
IV)

Other Schedule Ill drugs   Any amount        First Offense: Not more than 10 years. If death or serious bodily injury. not
                                             more than 15 years. Fine not more than $500,000 if an individual. $2.5
                                             million if not an individual
                                             Second Offense: Not more than 20 years. Fine not more than $1 million if an
                                             individ ual. $5 million if not an individual



All other Schedule         Any amount        First Offense: Not more than 5 years. Fine not more than $250,000 if an
IV drugs (other than                         individual. $1 million if not an individual
one g ram or more of
                                             Second Offense: Not more than 10 years. Fine not more than $500,000 if an
Flunitrazepaml
                                             individual. $2 million if not an individual
                                                                                                                                 I/
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All Schedule V drugs       Any amount        First Offense: Not more than 1 year. Fine not more than $100.000 if an              C
                                                                                                                                 C
                                             individua l. $250,000 if not an individual                                          ~


                                             Second Offense: Not more th an 4 years. Fine not more than $200,000 if an
                                             individua l. $500,000 if not an individual
                                                                                                                                77

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       Highlights of State Statutes
       It is illegal for anyone less than 21 years of age to:

                Possess or consume malt beverages. unfortified or fortified wine, spirituous liquor. or mixed beverages:
           •    Purchase or attempt to purchase malt beverages. unfortified or fortified wine, spirituous liquor. or mixed beverages.
       It is illegal for anyone (regardless of age) to:

                Aid or abet another in the unlawful sale, purchase. or possession of malt beverages. unfortified or fortified w ine.
                spirituous liquor, or mixed beverages:

           •    Fraudulently use identification in obtaining or attempting to obtain alcoholic beverages .




       APPENDIX G - PATIENT PRIVACY
       The Health Insurance Portability and Accountability Act of 1996. or HIPAA. includes a privacy rule that creates national
       standards to protect individuals' personal health information. These standards were implemented by the Duke Health
       Enterprise on April 14, 2003.

       Duke Student Health. Counseling and Psychological Services. and the Office of Gender Vio lence Prevention and Intervention
       comply w ith these standards. All incoming students are asked to review and electronically sign the HIPAA notice as part of the
       immunization and health history process. Students who have not yet received the Notice of Privacy Practices brochure, which
       describes how medical informati on may be used and disclosed and how one can get access to this information. w ill receive this
       at the first visit.




       APPENDIX H - THEME PARTIES AND DECORATIONS
       Th is policy applies to all Duke University facilities to include Campus, Medical Center. Hospital and Health System. All students.
       vis itors. and employees must adhere to this policy when planning a theme party. event. meeting. or decorating any work area.
       Notify OESO-Fire & Life Safety as soon as possible but no less than 72 hours prior to the placement of decorations.



       GENERAL RESTRICTIONS
           •    The use of pyrotechnics by individuals or performers is prohibited on campus.
           •    All decorations (to include artificial greenery such as w reaths and holly) must be non-combustible, inherently flame
                resistant or treated with an approved fire retardant in accordance w ith the manufacturer's specifications that w ill pass
                NFPA 701 test.
           •    Decorative materials shall not exceed 10% of the aggregate of wa ll and ceilings.
           •    Straw, hay, corn fodder. dried flowers, bamboo. and other similar decorations are prohibited as decoration inside
                facilities w ithout writte n authorization from the OESO Fire & Life Safety Division.
           •    Combustible decorations shall be prohibited in all healthcare occupancies (Hospital. Duke Clinic. PDC. etc.) unless they
                are flame retardant. (Exception combustible decorations, such as photographs and paintings, in such limited quantities
                that a hazard of fire development or spread is not present).
           •    Fog and smoke machines may not be used inside facilities w ithout w ritten aut horization of the OESO-Fire & Life Safety
                Division.
           •    Anima l(s). regardless of size or species, are strictly prohibited to attend or participate in any event. party, or meeting.
           •    Water, waterfalls. pools. spraying water. running water. or utilizing water in any way is strictly prohibited.
           •    All doors (i.e .. exit. smoke. fire. interior, exterior), hallways. or any other means of egress may not be cove red or blocked
                in any manner by decorations.
           •    Trash must not be allowed to accumulate, but co llected in appropriate containers during the event and removed at
}>              the close of the event.
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ELECTRICAL SAFETY AND HOLIDAY LIGHTING
          Electrical lights (110 volts) and fiber optic lig hts (110 volts) may be used on artificial Christmas trees. wreaths. and
          greenery. but may not be used on any live Christmas trees or greenery.
          All electrical lig hts. electrical equipment, animated. or electrical decorations must be UL listed.
          Manufacturer's instructions and precautions shall be followed.
          Each living g roup or office should have an appoin ted represen tative to ensure that the electrical decorations are de-
          energized at the end of the day.

          Any light string w ith wo rn . frayed . broken cords. loose bulb connections. and empty sockets shall not be used.
          Use of holiday lights and light strin gs shall be limited to reduce overheating.
          Lig hts shall not have more than three strings of light connected to each other.
         The use of lights and w iring on metal Christmas trees (aluminum trees from th e '50s and '6os as defined by the NC
         Department of Insurance) is prohi bited. Fiber optic and pre-wired artificial trees are acceptable as long as they are UL
         listed.
         Only indoor lights w ill be used inside facilities.
         Light strings or electrical decorations shall be de-energized before replacing bulbs or fuses.
         Light strings must be mounted in a manner that w ill not damage the cord's insulation.
         Light string s should be plugged di rectly into an outlet or an electrical power strip w ith built-in circuit breaker.
General. All combustible party decorations shall be removed from the area immediately following the event.
Exception. During th e holiday season decoration s shall be removed no later than December 30th. Residence halls shall have all
decorations removed no later than the closing of the residence halls by Residence Life and Housing Services.
Live Greenery and Christmas Trees. Live greenery. such as Christmas trees. pine w reaths. and holly. are prohibited inside of
Hospital and Medical Center buildings. In addition. live greenery is prohi bited in assembly areas, education facilities. schools,
day cares. stores, businesses, residence halls. and hotels unless the building is protected throughout w ith an approved
automatic sprinkler system.
If a live Christmas t ree is allowed in a facility. the follow ing rules apply:
    •    Only one t ree w ill be purchased for each department, group. or living group and the tree w ill be located in a public
         area such as a commons area, reception area or lounge.
    •    All trees will be prepa red by saw ing off the trunk of th e tree at an ang le at least one-half inch or more above t he
         original cut and spraying the tree w ith an approved fire retardant in accordance with the manufacture r's specifications
         as requi red by NC State Build ing Code.
    •    The tree w ill be placed within a t ree holder/stand capable of containing water to prevent drying . Th e stand will be
         checked daily to assure th e water level is adequate. Remember: A tree w ill absorb large quantities of water w hile it is
         indoors.
    •    The tree w ill be placed in a location away from all heat sources.
    •    Smoking or open flames shall be prohibited near live greenery.
    •    Th e tree shall be removed from the facility w henever the needles or leaves fall off readily w hen a tree branch is
         shaken or if the needles are brittle and break when bent between the thumb and the index finger. or by December 30.
         whichever occurs first.
Artificial greenery may be uti lized if it meets the general and elec trical requirements as listed above.
Candle Safety. It is a violation of university policy to light any material on fire on campus. Candles. other open flame devices,
grills. incense. and any other flame/heat producing items are strictly forbidd en for use inside university fac ilities except during
official re ligious ceremonies, such as the observance of Chanukah. Permission for use of any open flame devices (including
th ose used for re ligious ceremonies) must be obtained from OESO-Fire & Life Safety Division prior to use. A copy of the signed
approval letter must be maintained at the location approved for an open flame device.
W henever possible, substitute open flame candles w ith battery operated or electrical powered candles.

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       APPENDIX I - PATENTS AND INTELLECTUAL PROPERTY
       Duke's mission lies in the creation and dissemination of knowledge through (1) recognizing and acknowledging the right of
       intellectual property ownership, (2) encouraging the pursuit of patents and licenses, and (3) ensuring sufficient records are
       maintained.

       Duke University is committed to the personal ownership of intellectual property rights by the creators of the intellectual works.
       For further information , please visit provost.duke.edu/wp-content/uploads/FHB_App_P.pdf.




       APPENDIXJ - MISSING STUDENT NOTIFICATION
       In accordance w ith the Higher Education Opportunity Act of 2008, Duke University has developed a policy for notifying the
       designated emergency contact in DukeHub for a student who is determined to be missing.
       A student may be deemed missing if it is reported to appropriate university officials (Duke Police, Residence Coordinator on-
       Call. or the Dean on-Call) that the student has been unreachable via personal contact, telephone, e-mail. or other means of
       electronic communication for 24 hours or more. If members of the Duke community believe that a student has been missing for
       24 hours, it is critical that they report that information to the Du ke University Police at (919) 684-2444. A Residence Coordinator
       on-Call or Dean on-Call w ho receives such a report wi ll immediately report it to Duke University Police. Duke University
       w ill notify any missing student's confidential contact(s), if provided, w ithin 24 hours of the determination that the student is
       missing. In the event a student is under 18 years of age and not emancipated. Duke University must notify a custodial parent or
       guardian within 24 hours of the determination that th e student is missing. in addition to notifying any additional contact person
       designated by the student. For all missing students, Duke University w ill notify the local law enforcement agency within 24
       hours of the determination that the student is missing . unless the local law enforcement agency was the entity that made the
       determination that the student is missing.
       Upon determination by Duke University Police that a student is missing . the designated missing person contact w ill be notified
       as soon as possible. but no later than 24 hours after that determination that the student has been missing for 24 hours. The
       student's custodial parent or guardian w ill also be notified if that person is not the designated missing person contact and the
       student is under 18 years of age and not an emancipated individual. Regardless of w hether the student has identified a contact
       person . is above the age of 18, or is an emancipated m inor. Duke University Police w ill inform local law enforcement (or the
       local law enforcement w ith jurisdiction) that the student is missing w ithin 24 hours.
       Duke provides the option for each student living in an on -campus student housing facility to identify. separate from an
       emergency contact. a contact person or persons to w hom Duke w ill make notification w ithin 24 hours of the determination
       that the student is missing. Students are encouraged to periodically review and update their emergency contact information in
       DukeHub. When students enter a separate "Missing Person" emergency contact or contacts in DukeHub, that information will
       remain confidential and shared only with appropriate university personnel involved with a missing person investigation and law
       enforcement, and may not be disclosed outside of a missing person investigation.




       APPENDIX K - CONSEQUENCES OF COPYRIGHT
       INFRINGEMENT
       Unauthorized distribution of copyrighted material, including peer-to-peer file sharing . may subject you to criminal or civil
       liability. Punishment for this unauthorized use or distribution can be severe: violation of federal copyright laws can range from
       imprisonment to hefty fines. For instance, online infringement of copyrighted music can be punished by up to five years in
       prison and/o r $250,000 in fines. and you may be held liable for damages up to $150,000 per infringed copyright. To learn
       more about Duke University's policy on unauthorized peer-to-peer file sharing , including disciplinary actions that the university
       may take against students who engage in unauthorized distribution of copyright materials using th e university's information
       technology system. please visit the website of the Dean of Students Office at studentaffairs.duke.edu/dos/riaa-file-sharing.
       wh ich provides additional information on the application of copyright law to peer-to-peer file sharing.



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PENALTIES FOR COPYRIGHT INFRINGEMENT
Typea: Innocent infringement (strict liability)
Minimum Penaltyb: Minimum damages of $200 per work copied
Maximum Penalty: See below
Type: "Normal infringement"
Minimum Penalty··: Minimum damages of $750 per work copied
Maximum Penalty: Maximum $30,000 per work copied
Type: "Willful infringement"
Minimum Penalty: Minimum damages of $750 per work copied
Maximum Penalty: Maximum $150.000 per work copied
Type: Criminal infringement (infringement for private financial gain or commercial advantage. or where the
total value of works infringed within a three-month period exceeds $1000)
Minimum Penalty: Fines or imprisonment up to one year
Maximum Penalty: Fines or imprisonment up to ten years


a. Kevin L. Smith, J.D.. Director of Scholarly Communications. Duke University.
b. From 17 U.S. Code 504 & 506 and 18 U.S. Code 2319 & 3571.




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